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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO

     JAMES KHALIL,
     HUGH (JOSEPH) DYER,
     JERROLD L. SOLOMON,
     JOSEPH BECHTEL,
     MICHAEL MURPHY, and                                         Case No.
     JOHN DOES 29-66

                                                                 JURY TRIAL DEMANDED
                           Plaintiffs,

            v.

     THE OHIO STATE UNIVERSITY,

                           Defendant.


                                          COMPLAINT

         Plaintiffs James Khalil, Hugh (Joseph) Dyer, Jerrold L. Solomon, Joseph Bechtel, Michael

Murphy, and John Does 29-66,1 by and through their counsel, state the following as their

Complaint against Defendant, The Ohio State University:

                   PRELIMINARY STATEMENT AND INTRODUCTION

1.       The Ohio State University (“OSU” or “University”) let a monster sexually abuse hundreds,

         perhaps thousands, of young men for two decades. OSU employed this monster. OSU gave

         him a position of authority. OSU promoted him. OSU even honored him. OSU let him

         perpetrate, at last count, “1,429 instances of fondling and 47 instances of rape.”2 This is

         perhaps the greatest sex abuse scandal in American history. It is without question the

         greatest scandal in the history of American higher education.


1
 John Does 1-28 are plaintiffs, represented by the same counsel, in a related case, Snyder-Hill, et
al. v. The Ohio State University, Case No. 2:18-cv-00736.
2
 University issues annual crime report, Ohio State News (Oct. 1, 2019),
https://news.osu.edu/university-issues-annual-crime-report/ (last visited Oct. 23, 2019).
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2.       This civil rights case is brought by 43 of the men sexually assaulted, abused, molested

         and/or harassed by Dr. Richard Strauss, the physician, athletic team doctor, and serial sex

         abuser OSU employed from 1978 to 1998.

3.       That Dr. Strauss abused Plaintiffs and hundreds of other young men at OSU is not open to

         reasonable debate: He committed 1,429 sexual assaults and 47 rapes by OSU’s admission.

         An OSU-commissioned investigative report found that Dr. Strauss “sexually abused at

         least 177 male student-patients he was charged with treating as a University physician.”3

         Report at 1. Dr. Strauss’s sexual abuse of OSU students included fondling their testicles

         and penises, masturbating men to erection and ejaculation, drugging and anally raping

         them, digitally penetrating their rectums, touching their bodies in other inappropriate ways,

         making inappropriate comments about their bodies, and asking improper, sexualized

         questions—all in the guise of providing needed medical evaluation and care.

4.       Equally undebatable is OSU’s knowledge, deliberate indifference, and culpability.

5.       From the beginning, OSU knew Dr. Strauss was abusing male students: “University

         personnel had knowledge of Strauss’s sexually abusive treatment of male student-patients

         as early as 1979.” Id. at 1. As Governor DeWine’s Working Group on Reviewing the

         Medical Board’s Handling of the Investigation Involving Richard Strauss (“Medical Board

         Report”) found, “Despite multiple supervising and colleague physicians who were aware

         of complaints/rumors about Strauss as far back as 1979, no Ohio State University physician

         reported any wrongdoing by Strauss to the State Medical Board of Ohio. More troubling,

         it appears the abuse was never reported to law enforcement by anyone at the University or


3
  Caryn Trombino & Markus Funk, Perkins Coie LLP, Report of the Independent Investigation:
Sexual Abuse Committed by Dr. Richard Strauss at The Ohio State University, (May 15, 2019)
[hereinafter “Report”].
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         the Medical Board.”4 Medical Board Report at 2.

6.       “Despite the persistence, seriousness, and regularity of such complaints [from male

         students], no meaningful action was taken by the University to investigate or address the

         concerns until January 1996.” Report at 3. For decades, Dr. Strauss’s abuse was well

         known among at least fifty OSU employees in the athletic department. Id. at 88, 100-22.

         Multiple Student Health Directors also had information about Dr. Strauss’s abuse for years.

         Id. at 115-44. Dr. Strauss’s inappropriate touching was a frequent topic of discussion and

         well known among OSU’s trainers, coaches, and athletic directors. This was reflected in

         the commonly-used nicknames for Dr. Strauss, including “Dr. Balls,” “Dr. Nuts,” “Dr.

         Jelly Paws,” “Dr. Soft Hands,” and “Dr. Cough.”

7.       Instead of stopping Dr. Strauss’s serial sexual abuse, OSU facilitated it. OSU employed

         Dr. Strauss for nearly two decades. OSU put Dr. Strauss in Student Health Services,

         exposing thousands of students to him. OSU made Dr. Strauss the official doctor for no

         fewer than five sports teams and gave him regular access to student-athletes in at least 16

         sports. OSU forced student-athletes to see Dr. Strauss for annual physicals and medical

         treatment in order to participate in university sports and maintain their athletic

         scholarships—even after student-athletes complained to their coaches about Dr. Strauss’s

         abuse. At least one coach threatened athletes with having to see Dr. Strauss if they did not

         listen to the coach.

8.       There was an “astounding failure of anyone in a position of authority to come forward to

         initiate a Medical Board or criminal investigation into Strauss’ conduct.” Medical Board


4
  Report of the Working Group on Reviewing the Medical Board’s Handling of the Investigation
Involving Richard Strauss (Aug. 30, 2019),
https://med.ohio.gov/Portals/0/Gov%20Working%20Group%20Strauss%20Report.pdf?ver=201
9-09-30-142900-270 [hereinafter “Medical Board Report”].

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      Report at 2. “Strauss’ repeated sexual abuse of his patients went effectively unaddressed

      for nearly the length of his tenure at Ohio State. Although many were aware of complaints

      or rumors about the abuse, no one advanced concerns raised by students or unraveled

      Strauss’ ‘medical’ defenses of his abuse.” Id. at 1.

9.    No OSU administrator or employee called the police. No one called 911. No one called the

      State Medical Board. No one fulfilled their duties as a mandated reporter of sexual abuse.

      This was a complete and utter collapse of OSU’s duty to protect its students.

10.   OSU administrators and employees of Student Health Services facilitated Dr. Strauss’s

      abuse in yet other ways. For example, after a student lodged a complaint detailing Dr.

      Strauss’s inappropriate sexual touching and comments during an examination, the Director

      of Student Health Services legitimized the abuse by telling the student (falsely) that no one

      had complained about Dr. Strauss before and that Dr. Strauss had said the examination was

      medically appropriate. The Director of Student Health also failed to report Dr. Strauss to

      law enforcement or to the State Medical Board, despite being required to do so.

11.   Plaintiffs, and many other young men, would have been spared Dr. Strauss’s horrific abuse

      had the University investigated and terminated Dr. Strauss when the complaints began.

12.   Yet “[d]espite the persistence, seriousness, and regularity of such complaints”—from 1979

      to 1996—“no meaningful action was taken by the University to investigate or address the

      concerns until January 1996.” Report at 3.

13.   When OSU belatedly took action in 1996, it did far too little. Although OSU removed Dr.

      Strauss as a treating physician in that year, it did little else. “[N]one of the physicians

      working with Strauss found occasion to report him to the Medical Board or to law

      enforcement – even after the University suspended him from seeing patients through

      Student Health. Nor did the University or any of its administrators involve campus or

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      outside law enforcement, even after recognizing that the severity and pervasiveness of

      Strauss’ abuse compelled the withdrawal of authority to see patients and the nonrenewal

      of his contract.” Medical Board Report at 3.

14.   Not only did OSU not report Dr. Strauss, it concealed his abuse and enabled him to continue

      seeing patients.

15.   OSU continued Dr. Strauss’s faculty appointment even after OSU determined that Dr.

      Strauss’s misconduct required removing him as a treating physician, and even after the

      State Medical Board had “brought to the attention of officials at the university” “that Dr.

      Strauss ha[d] been performing inappropriate genital exams on male students for years.” Id.

      OSU allowed Dr. Strauss to retire voluntarily in 1998. When Dr. Strauss retired, OSU gave

      him emeritus status. OSU also allowed Dr. Strauss to open an off-campus men’s clinic in

      1996, advertise for patients in OSU’s student newspaper in 1996 and 1997, and even offer

      a student discount—enabling Dr. Strauss’s continued abuse of young men in Columbus.

      Report at 5, 85.

16.   OSU’s investigation in 1996 also never sought to identify, counsel, or support Dr. Strauss’s

      victims. Even after the Medical Board told OSU in 1996 that Dr. Strauss had been

      “performing inappropriate genital exams on male students” at OSU “for years,” OSU did

      nothing to identify those whom Dr. Strauss abused. Report at 4. OSU failed to take

      “additional steps to identify other students who had previously complained about Strauss,”

      even as OSU falsely claimed to the Medical Board that it was working to do so. Id. Had

      OSU made any effort to identify others Dr. Strauss had abused, it would have had no

      difficulty identifying scores of male students. OSU’s concealment of Dr. Strauss’s

      pervasive sexual abuse meant that those students needlessly suffered for decades, alone.



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17.      Even after it knew that Dr. Strauss had been “performing inappropriate genital exams on

         male students” at OSU “for years,” Medical Board Report at 3, OSU destroyed patient

         health records of those examined by Dr. Strauss. Those records would have helped identify

         whom Dr. Strauss abused. Those records would have substantiated survivors’ complaints

         about Dr. Strauss’s unnecessary medical exams. By destroying those health records, OSU

         further concealed Dr. Strauss’s sexual abuse.

18.      OSU’s culture of institutional indifference to the rights and safety of its students has

         permitted serial sexual predators and harassers to thrive at the university for the last four

         decades. OSU has not only been indifferent to the abuse inflicted by Dr. Strauss. On

         information and belief, at least two OSU employees since Dr. Strauss systematically

         committed sexual abuse and/or facilitated rampant sexual harassment: a former Director of

         OSU’s Marching Band, Jonathan Waters, and an assistant diving coach, Will Bohonyi.

19.      In 2014, after OSU investigated a complaint against Jonathan Waters alleging a sexualized

         culture within the Marching Band, OSU found “a sexually hostile environment for students

         in the Marching Band of which the University had notice and failed to adequately

         address.”5

20.      In response to its findings of sexual harassment within the Marching Band, OSU adopted

         a new plan for combatting sexual misconduct so that it could become “a national leader”

         in preventing and responding to sexual misconduct.6


5
  Letter from Meena Morey Chandra, Regional Director, Reg. XV, Office for Civil Rights, U.S.
Dep’t Educ., to Dr. Michael V. Drake, President, Ohio State University 2 (Sept. 11, 2014),
https://www2.ed.gov/documents/press-releases/ohio-state-letter.pdf (last visited July 24, 2018)
[hereinafter “OCR Findings Letter”] (describing results of OSU’s investigation of alleged sexual
harassment within Marching Band).
6
  Ohio State announces comprehensive plan to combat sexual misconduct and relationship
violence Ohio State News (September 17, 2015), https://news.osu.edu/ohio-state-announces-
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21.       But OSU is an offender, not a “national leader.” After receiving a report during a meet in

          2014 that assistant diving coach Will Bohonyi sexually abused a minor in OSU’s Diving

          Club, OSU allegedly sent the victim, not Bohonyi, home from the meet.7 In addition, OSU

          allegedly failed to address hundreds of naked photographs Bohonyi forced a 16-year old

          victim to take of herself and that were in OSU’s possession for approximately four years.8

22.       In 2018, OSU dissolved its comprehensive sexual assault prevention and response unit

          after revelations that OSU employees within the unit had failed to handle students’ reports

          of sexual assault properly and told some victims that they were “lying” and “delusional.”9

          An independent audit found that the unit failed to report 57 potential felonies to law

          enforcement.10

23.       It is not surprising that, within this ingrained culture of institutional indifference, OSU

          succeeded in keeping Dr. Strauss’s two decades of serial sexual abuse buried until 2018.



comprehensive-plan- to-combat-sexual-misconduct-and-relationship-violence/ (last visited July
21, 2018) [hereinafter “OSU Plan”].
7
  See Complaint at ¶¶ 267-75, Pryor v. USA Diving, Inc., et al., No. 1:18-cv-2113 (S.D. Ind. July
11 2018), ECF No. 1, available at
https://www.courtlistener.com/recap/gov.uscourts.insd.85736/gov.uscourts.insd.85736.1.0 2.pdf
[hereinafter “Diving Complaint”].
8
    Id. at ¶¶ 176-80, 260-61.
9
  Jennifer Smola, Ohio State closes ‘failed’ program, takes another hard look at Title IX policies,
The Columbus Dispatch (June 24, 2018), available at
http://www.dispatch.com/news/20180624/ohio-state-closes-failed-program-takes-another-hard-
look-at-title-ix-policies (last visited July 21, 2018); see also Jeremy Bauer-Wolf, A broken
system at Ohio State, Inside Higher Ed (July 10, 2018), available at
https://www.insidehighered.com/news/2018/07/10/ohio- state-closes-sexual-assault-unit-after-
complaints-mismanagement-poor-reporting (last visited July 21, 2018).
10
   Jennifer Smola, Ohio State’s troubled sexual assault center failed to report 57 potential
felonies, audit finds, The Columbus Dispatch (July 30, 2019), available at
https://www.dispatch.com/news/20190730/ohio-states-troubled-sexual-assault-center-failed-to-
report-57-potential-felonies-audit-finds (last visited Oct. 23, 2019).
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24.    OSU has admitted the University’s “fundamental failure at the time to prevent this

       abuse.”11 Plaintiffs have filed this lawsuit in the hope that OSU will fulfill its goal of

       becoming “a national leader” in preventing and responding to sexual misconduct by

       making the systemic changes needed to ensure that students can obtain their education in

       a safe environment, free from sexual harassment and abuse by OSU employees. Plaintiffs

       also seek compensation for their injuries caused by OSU’s failure to take appropriate action

       to stop Dr. Strauss’s known sexual predation, in violation of Title IX of the Education

       Amendments of 1972.

                                 JURISDICTION AND VENUE

25.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

       and 1343 because the matters in controversy arise under the laws of the United States.

       Specifically, Plaintiffs assert claims under Title IX of the Education Amendments of 1972,

       20 U.S.C. § 1681, et seq.

26.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the events giving

       rise to Plaintiffs’ claims occurred within this district.

                                             PARTIES

27.    Plaintiffs incorporate by reference the allegations in all previous paragraphs as if fully

       stated here.

28.    Because this Complaint addresses issues of sexual harassment and abuse, which are matters

       of the utmost intimacy, with the exception of certain Plaintiffs who have agreed to be

       publicly identified, the names of the Plaintiffs have been withheld from this Complaint to


11
  See Michael V. Drake, A Message from President Drake: Strauss Investigation Report, The
Ohio State University (May 17, 2019), https://president.osu.edu/presidents/drake/news-and-
notes/2019/strauss-investigation-report-campus-wide-email.html (last visited Oct. 23, 2019).
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       protect their identities.12

29.    Plaintiff James Khalil is an adult male and a resident of Oregon. He attended The Ohio

       State University from 1989 through 1994 and was a member of OSU’s club hockey team

       in 1989, 1992, and 1993. He was sexually assaulted, abused, molested and/or harassed by

       Dr. Strauss once during an examination in 1991.

30.    Plaintiff Hugh (Joseph) Dyer is an adult male and a resident of Nevada. He attended The

       Ohio State University from 1996 through 1998 and was a member of the OSU cheerleading

       team during that time. He was sexually assaulted, abused, molested and/or harassed by Dr.

       Strauss several times during annual and other examinations in 1996.

31.    Plaintiff Jerrold L. Solomon is an adult male and a resident of Ohio. He attended The Ohio

       State University from 1984 through 1988 and was a member of OSU’s tennis team from

       1985 through 1986. He was sexually assaulted, abused, molested and/or harassed by Dr.

       Strauss once during a pre-season physical examination in 1985.

32.    Plaintiff Joseph Bechtel is an adult male and a resident of Ohio. He attended The Ohio

       State University from 1979 through 1983 and was a member of OSU’s hockey team from

       fall of 1979 through fall of 1982. He was sexually assaulted, abused, molested and/or

       harassed by Dr. Strauss numerous times during medical appointments in 1980.

33.    Plaintiff Michael Murphy is an adult male and a resident of Florida and Ohio. He attended

       The Ohio State University from 1987 through 1991 and was a member of OSU’s track and

       field team from 1987 through 1989. He was sexually assaulted, abused, molested and/or

       harassed by Dr. Strauss twice during annual and other examinations between 1987 and

       1989.


12
  Plaintiffs will file under seal a version of the Complaint that identifies each of the John Doe
plaintiffs to this Court.

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34.   Plaintiff John Doe 29 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1983 to 1987. He was sexually assaulted, abused, molested and/or

      harassed by Dr. Strauss at two medical appointments, the first in 1983, and the second

      between 1984 and 1987.

35.   Plaintiff John Doe 30 is an adult male and a resident of Ohio. He was sexually assaulted,

      abused, molested and/or harassed by Dr. Strauss once after he refereed a wrestling dual

      meet on OSU’s campus in late 1990 or early 1991.

36.   Plaintiff John Doe 31 is an adult male and a resident of Illinois. He attended The Ohio State

      University from 1986 through 1987 and was a member of OSU’s gymnastics team during

      that time. He was sexually assaulted, abused, molested and/or harassed by Dr. Strauss

      during a pre-season physical examination in 1986.

37.   Plaintiff John Doe 32 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1978 through 1980 and was a member of OSU’s wrestling and football

      teams during that time. He was sexually assaulted, abused, molested and/or harassed by

      Dr. Strauss during an examination in 1979.

38.   Plaintiff John Doe 33 is an adult male and a resident of West Virginia. He attended The

      Ohio State University from 1995 through 1997. He was sexually assaulted, abused,

      molested and/or harassed by Dr. Strauss twice during medical appointments while a student

      at OSU.

39.   Plaintiff John Doe 34 is an adult male and a resident of Ohio. He attended The Ohio State

      University as an undergraduate from 1974 through 1978, and as a medical student from

      1979 through 1982. He was sexually assaulted, abused, molested and/or harassed by Dr.

      Strauss during a medical appointment in 1979.

40.   Plaintiff John Doe 35 is an adult male and a resident of Florida. He attended The Ohio State

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      University from 1988 through 1992 and was a member of OSU’s volleyball team from

      1988 through 1989. He was sexually assaulted, abused, molested and/or harassed by Dr.

      Strauss numerous times during annual and other examinations from 1988 through 1992.

41.   Plaintiff John Doe 36 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1978 through 1985. He was sexually assaulted, abused, molested and/or

      harassed by Dr. Strauss during a medical appointment between 1984 and 1985.

42.   Plaintiff John Doe 37 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1989 through 1993 and was a member of OSU’s cheerleading team from

      1990 through 1992. He was sexually assaulted, abused, molested and/or harassed by Dr.

      Strauss numerous times during annual and other examinations from 1990 through 1993.

43.   Plaintiff John Doe 38 is an adult male and a resident of Florida. He attended The Ohio State

      University from 1976 through 1981 and was a member of OSU’s wrestling team during

      that time. He was sexually assaulted, abused, molested and/or harassed by Dr. Strauss

      numerous times during annual and other examinations while John Doe 38 attended The

      Ohio State University.

44.   Plaintiff John Doe 39 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1986 through 1991 and was a member of OSU’s soccer team in 1986. He

      was sexually assaulted, abused, molested and/or harassed by Dr. Strauss during a pre-

      season physical examination in 1986.

45.   Plaintiff John Doe 40 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1986 through 1989 and was a member of OSU’s intramural hockey team

      during that time. He was sexually assaulted, abused, molested and/or harassed by Dr.

      Strauss during a pre-season physical examination.

46.   Plaintiff John Doe 41 is an adult male and a resident of Ohio. He attended The Ohio State

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      University from 1987 through 1992 and was a member of OSU’s wrestling team from 1988

      through 1992. He was sexually assaulted, abused, molested and/or harassed by Dr. Strauss

      numerous times during annual and other examinations from 1988 through 1992.

47.   Plaintiff John Doe 42 is an adult male and a resident of Ohio. He was sexually assaulted,

      abused, molested and/or harassed by Dr. Strauss once after he refereed a wrestling match

      on OSU’s campus in 1994 or 1995.

48.   Plaintiff John Doe 43 is an adult male and a resident of New York. He attended The Ohio

      State University from 1988 through 1992 and was a member of OSU’s lacrosse team during

      that time. He was sexually assaulted, abused, molested and/or harassed by Dr. Strauss

      numerous times during annual and other examinations from 1988 through 1992.

49.   Plaintiff John Doe 44 is an adult male and a resident of California. He attended The Ohio

      State University from 1992 to 1996. He was sexually assaulted, abused, molested and/or

      harassed by Dr. Strauss at multiple medical appointments in the fall of 1992.

50.   Plaintiff John Doe 45 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1992 through 1996. He was sexually assaulted, abused, molested and/or

      harassed by Dr. Strauss numerous times during examinations between 1993 and 1994.

51.   Plaintiff John Doe 46 is an adult male and a resident of Florida. He attended The Ohio State

      University from 1979 through 1984 and was a member of OSU’s outdoor track, indoor

      track, and cross country teams during that time. He was sexually assaulted, abused,

      molested and/or harassed by Dr. Strauss numerous times during annual examinations from

      1979 through 1981.

52.   Plaintiff John Doe 47 is an adult male and a resident of Nevada. He visited The Ohio State

      University in 1981 when he was only 15 years old. He was sexually assaulted, abused,

      molested and/or harassed by Dr. Strauss during that visit.

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53.   Plaintiff John Doe 48 is an adult male and resident of Ohio. He attended The Ohio State

      University from 1990 through 1995. He was sexually assaulted, abused, molested, and/or

      harassed by Dr. Strauss once during a medical examination in 1993 or 1994.

54.   Plaintiff John Doe 49 is an adult male and a resident of Mississippi. He attended a high

      school wrestling summer camp at The Ohio State University in 1998. He was 14 or 15

      years old when he was sexually assaulted, abused, molested and/or harassed by Dr. Strauss

      during an examination at the summer camp.

55.   Plaintiff John Doe 50 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1988 through 1992 and was a member of OSU’s hockey team during that

      time. He was sexually assaulted, abused, molested and/or harassed by Dr. Strauss

      numerous times during annual and other examinations from 1988 through 1991.

56.   Plaintiff John Doe 51 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1992 through 1996 and was a member of OSU’s volleyball team from

      1992 through early 1993. He was sexually assaulted, abused, molested and/or harassed by

      Dr. Strauss twice during annual and other examinations in 1992 and 1993.

57.   Plaintiff John Doe 52 is an adult male and a resident of Illinois. He attended The Ohio State

      University from 1993 through 1997 and was a member of OSU’s soccer team from 1993

      through 1996. He was sexually assaulted, abused, molested and/or harassed by Dr. Strauss

      numerous times during annual and other examinations from 1993 through 1996.

58.   Plaintiff John Doe 53 is an adult male and a resident of Michigan. He attended The Ohio

      State University from 1982 to 1986 and was a member of OSU’s track and field team

      during that time. He was sexually assaulted, abused, molested and/or harassed by Dr.

      Strauss at two separate medical appointments in 1982 and 1983.

59.   Plaintiff John Doe 54 is an adult male and a resident of California. He attended The Ohio

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      State University from 1987 to 1992. He was sexually assaulted, abused, molested and/or

      harassed by Dr. Strauss at a medical appointment in the fall of 1989.

60.   Plaintiff John Doe 55 is an adult male and a resident of Arizona. He attended The Ohio

      State University from 1978 through 1982 and was a student athletic trainer during that

      time. He was sexually assaulted, abused, molested and/or harassed by Dr. Strauss

      numerous times during annual and other examinations from 1978 through 1982.

61.   Plaintiff John Doe 56 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1983 through 1988 and was a member of OSU’s baseball team from 1984

      through 1988. He was sexually assaulted, abused, molested and/or harassed by Dr. Strauss

      once during an annual examination while a student at OSU.

62.   Plaintiff John Doe 57 is an adult male and a resident of California. He attended The Ohio

      State University from 1994 through 1995. He was sexually assaulted, abused, molested

      and/or harassed by Dr. Strauss once during an examination in 1994.

63.   Plaintiff John Doe 58 is an adult male and a resident of Indiana. He attended The Ohio

      State University from 1974 to 1979. He was sexually assaulted, abused, molested and/or

      harassed by Dr. Strauss at a medical appointment in the fall of 1978.

64.   Plaintiff John Doe 59 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1980 through 1985 and was a member of OSU’s gymnastics team during

      that time. He was sexually assaulted, abused, molested and/or harassed by Dr. Strauss

      numerous times during annual and other examinations from 1980 through 1985.

65.   Plaintiff John Doe 60 is an adult male and a resident of Georgia. He attended The Ohio

      State University from 1988 through 1992 and was a member of OSU’s swim team during

      that time. He was sexually assaulted, abused, molested and/or harassed by Dr. Strauss twice

      during annual and other examinations from 1988 through 1992.

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66.   Plaintiff John Doe 61 is an adult male and a resident of Georgia. He attended The Ohio

      State University from 1988 through 1992 and was a member of OSU’s swim team during

      that time. He was sexually assaulted, abused, molested and/or harassed by Dr. Strauss twice

      during annual and other examinations from 1988 through 1992.

67.   Plaintiff John Doe 62 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1984 through 1989 and was a member of OSU’s soccer team from between

      1984 and 1986. He was sexually assaulted, abused, molested and/or harassed by Dr. Strauss

      during pre-season physical examinations in 1984 and 1985.

68.   Plaintiff John Doe 63 is an adult male and a resident of California. He attended The Ohio

      State University from 1977 through 1983 and was a member of OSU’s wrestling team from

      between 1977 and 1981. He was sexually assaulted, abused, molested and/or harassed by

      Dr. Strauss once during a pre-season physical examination when he was 19 years old

69.   Plaintiff John Doe 64 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1993 to 1998 and was a member of OSU’s gymnastics team during that

      time. He was sexually assaulted, abused, molested and/or harassed by Dr. Strauss

      numerous times during annual and other examinations from 1993 to 1996.

70.   Plaintiff John Doe 65 is an adult male and a resident of Ohio. He attended The Ohio State

      University from 1996 to 2000. He was sexually assaulted, abused, molested and/or

      harassed by Dr. Strauss at a medical appointment in 1996.

71.   Plaintiff John Doe 66 is an adult male and a resident of Ohio. He attended The Ohio State

      University as an undergraduate from 1978 to 1982 and was a member of OSU’s soccer

      team from 1978 to 1979. He was sexually assaulted, abused, molested and/or harassed by

      Dr. Strauss at a medical appointment in either 1978 or 1979.

72.   Defendant The Ohio State University (“OSU”) was at all relevant times and continues to

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      be a public university organized and existing under the laws of the State of Ohio.

73.   Defendant OSU receives, and at all relevant times received, federal financial assistance and

      is therefore subject to Title IX of the Educational Amendments of 1972, 20 U.S.C. §1681,

      et seq.

                          COMMON FACTUAL ALLEGATIONS

74.   Plaintiffs incorporate by reference the allegations in all previous paragraphs as if fully

      stated here.

                Dr. Strauss’ History of Employment and Sexual Predation at OSU

75.   OSU employed Dr. Strauss from approximately September 1978 through March 1998. Dr.

      Strauss served in various positions at OSU, including, but not limited to: assistant professor

      of medicine, tenured associate professor, and full professor; associate director of the Sports

      Medicine Program; responsibilities in the Sports Medicine Clinic in OSU’s Student Health

      Services; treating physician at OSU’s Student Health Services; and team physician for at

      least five OSU sports teams.

76.   Dr. Strauss was appointed to the OSU faculty as an Assistant Professor of Medicine in the

      Pulmonary Disease Division of the Department of Medicine in September 1, 1978. OSU

      promoted him to tenured Associate Professor in July 1983 and, in July 1992, OSU

      promoted him again from Associate Professor to Professor. He remained an OSU faculty

      member until he retired on March 1, 1998. While on the OSU faculty he had concurrent

      responsibilities in other OSU roles.

77.   “Within months” of his September 1978 appointment, Dr. Strauss “began serving as a team

      physician to OSU student-athletes on an informal, volunteer basis. By October 1980,

      Strauss was appointed Associate Director of Sports Medicine in the Department of

      Preventive Medicine (unpaid), at which point he was spending approximately 20% of his

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      time practicing clinical sports medicine with OSU varsity athletes at the Sports Medicine

      Clinic in Student Health, and worked daily in the late afternoon at the Larkins Hall training

      room.” Report at 34.

78.   Dr. Bob Murphy, the Head Team Physician, “requested that the Athletics Director (Hugh

      Hindman) formally appoint Strauss as a team physician” in August 1981. Id.

79.   Dr. Strauss served as a team physician until July 1996.

80.   As a team physician, Dr. Strauss had regular contact with male student-athletes in baseball,

      cheerleading, fencing, football, gymnastics, ice hockey, lacrosse, soccer, swimming,

      diving, water polo, tennis, track and field, cross country, volleyball, wrestling, and golf.

81.   Dr. Strauss also worked as a physician at OSU’s Student Health Center, where he had

      access to the entire student population, not just student-athletes. According to the OSU-

      commissioned report, “Strauss provided medical treatment to students in the Student

      Health Center from roughly 1980 through early 1996, primarily in conjunction with the

      Sports Medicine Clinic and his role as a team physician.” Id. at 36. Dr. Strauss was formally

      appointed as a Student Health staff physician in the Men’s Clinic in July 1994. Id.

82.   In January 1996, OSU placed Dr. Strauss on administrative leave and conducted an

      investigation. The investigation was based on sexual misconduct complaints from three

      students (one of whom was Steve Snyder-Hill) that OSU had received between November

      1994 and January 1996. In June 1996, OSU held a disciplinary hearing into these

      complaints without notifying the student complainants or permitting them to participate.

      See id. at 4, 145.

83.   In August 1996, OSU declined to renew Strauss’s appointment with Student Health. OSU’s

      Student Health Services did not renew his contract and the Athletic Department terminated

      his employment agreement with the Athletics Department. Id. at 3-4. OSU, however, kept

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      Dr. Strauss as a tenured faculty member and, after he voluntarily retired in 1998, OSU gave

      him emeritus status. Id. at 154.

84.   Beginning his very first year of employment at OSU—and spanning his entire two- decade

      tenure—Dr. Strauss preyed on male students, fondling, groping, sexually assaulting,

      abusing, harassing, and raping them. He did so with OSU’s knowledge and support.

85.   OSU facilitated Dr. Strauss’s abuse of male student-athletes by requiring them to undergo

      annual physical exams with Dr. Strauss in order to participate in OSU athletics and

      maintain their scholarships. OSU also facilitated Dr. Strauss’s abuse of male students in

      the general student population by making Dr. Strauss a treating physician at OSU’s student

      health center. OSU also facilitated Dr. Strauss’s abuse of those who worked at OSU during

      athletic events.

86.   OSU also facilitated Dr. Strauss’s abuse of underage boys, including underage boys who

      participated in OSU’s summer sports camps for high school students and underage boys

      who visited OSU, by providing Dr. Strauss free access to underage boys with no

      supervision or oversight.

87.   No matter the illness or injury, Dr. Strauss’s modus operandi during medical exams was

      always the same.

88.   He required students to remove their pants so that he could perform invasive and medically

      unnecessary examinations of their genitals and/or rectum.

89.   He groped and fondled students’ genitalia, often without gloves.

90.   He performed unnecessary rectal examinations and digitally penetrated students’ anuses.

91.   He pressed his erect penis against students’ bodies.

92.   He drugged and anally raped students.

93.   He moaned while performing testicular exams.

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94.        He made inappropriate and medically unnecessary comments about students’ bodies,

           including comments on their physical appearance, heritage, skin tone, and physique. And

           he took pictures of students, purportedly for a musculature book he was writing.

95.        During Dr. Strauss’s first year of employment, when an attending physician at OSU’s

           Student Health Center asked a wrestling team captain, David Mulvin, why he came to the

           Student Health Center instead of seeing Dr. Strauss, the wrestler explained that Dr. Strauss

           had examined his genitals for 20 minutes and appeared to be trying to get him excited.

96.        Another student-athlete’s experience exemplifies the pattern of Dr. Strauss’s sexual

           predation. The student recalled a physical exam with Dr. Strauss: “I’m sitting, and he

           straddled my thigh, mounted my thigh. Rubbed on my thigh. I was just frozen.” Dr. Strauss

           then told the athlete to undress so that he could check, purportedly, for a hernia. Dr. Strauss

           proceeded to inspect the student’s penis “in detail.”13

97.        The next year, the student-athlete received his physical, yet again, from Dr. Strauss. Most

           of the 20-minute exam involved Dr. Strauss inspecting the student’s genitalia.14

98.        The following year, the student-athlete received his physical from a different doctor. That

           physical lasted five minutes. There was no hernia test. The doctor did not make the student

           fully undress. Afterward, the student was perplexed: “Is that it?”15

99.        The student-athlete felt at the time that Dr. Strauss’s behavior was wrong. But Dr. Strauss’s

           authority as a medical professional and OSU’s official team doctor caused the student to



13
   Kevin Stankiewicz, Former Ohio State athlete says he was sexually assaulted twice by former
team doctor Richard Strauss, The Lantern (Apr. 6, 2018), available at
https://www.thelantern.com/2018/04/former-ohio-state-athlete-says-he-was-sexually-assaulted-
twice-by-former-team-doctor-richard-strauss/ (last visited July 26, 2018).
14
     Id.
15
     Id.

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           doubt his instincts. And Dr. Strauss’s elevated position at OSU made him feel powerless

           to stop it.

100.       Only after OSU publicly announced in 2018 that it was investigating allegations of sexual

           misconduct raised against Dr. Strauss (the “Investigation”) did the student realize that his

           discomfort had been justified, his instincts correct: Dr. Strauss had sexually abused him.

           He was relieved to learn that he wasn’t “crazy” for thinking something had been wrong. 16

101.       The insidious nature of sexual abuse by a healthcare provider explains the student-athlete’s

           struggle to come to terms with Dr. Strauss’s abuse—and why this struggle is all too

           common among victims of physician-patient abuse. Although Dr. Strauss’s victims felt

           deeply uncomfortable during his exams and thought his conduct was inappropriate, most

           of them did not realize these exams were sexually abusive until after OSU publicized its

           Investigation in 2018.

102.       As the OSU-commissioned Report concedes, “[t]his case present[s] an intersection of two

           specific types of sexual abuse, both of which have generally not been associated with

           common conceptions of sexual abuse. Specifically, this case involve[s] doctor-patient

           sexual abuse and the sexual abuse of adult males.” Id. at 11 (emphasis in original).

103.       The Report also acknowledges that “[p]atients often do not report sexual abuse committed

           by their doctors due to . . . confusion as to whether sexual abuse, in fact, occurred.” Id.

           Even as late as 2018/2019, 22 of the 177 students interviewed for the OSU-commissioned

           investigation still did not understand Strauss’s conduct constituted abuse, though the

           Report found they were abused. Id. at 38.

104.       Because laypersons can find it difficult to ascertain what conduct constitutes physician



16
     Id.

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          sexual abuse, Perkins Coie LLP—the law firm that prepared the OSU-commissioned

          Report—determined that it was “essential” to its investigation that it “consult with suitably

          qualified medical experts.” Those external experts were essential to “discern whether, and

          to what extent, Strauss’ physical examinations of student-patients exceeded the boundaries

          of what was appropriate or medically necessary.” Id. at 24.

105.      A law firm with millions of dollars and experienced investigators could not determine

          whether patients were abused, without consulting “suitably qualified medical experts.” It

          is little wonder that so many Plaintiffs, most of whom were just college-aged men, did not

          know either.

                      OSU’s Knowledge and Facilitation of Dr. Strauss’s Sexual Predation

106.      OSU played a key role in normalizing and perpetuating Dr. Strauss’s serial sexual abuse.

107.      For instance, when Steve Snyder-Hill, a former OSU student sexually assaulted by Dr.

          Strauss, lodged a complaint about Dr. Strauss’s misconduct, the director of OSU’s Student

          Health Services, Ted W. Grace, M.D., told him—falsely—that OSU had “never received

          a complaint about Dr. Strauss before.”17

108.      In fact, OSU had received many complaints about Dr. Strauss before.

109.      OSU learned of the abuse within Dr. Strauss’s very first year of employment. During the

          1978-1979 wrestling season, Dr. Strauss fondled David Mulvin, a wrestling team captain,

          during a medical exam. Mulvin reported the incident to a doctor at OSU’s student health

          center.18


17
   Jennifer Smola, Complaint from former Ohio State student details abuse by Strauss in 1995,
The Columbus Dispatch (July 19, 2018), available at
http://www.dispatch.com/news/20180719/complaint-from-former-ohio-state-student-details-
abuse-by-strauss-in-1995 (last visited July 26, 2018).
18
     Jean Casarez, Former OSU wrestler says Richard Strauss molested him in late 1970s, earliest
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110.      The doctor did nothing.19

111.      OSU did nothing.20

112.      The abuse was well known within the athletics community at OSU. Strauss’s inappropriate

          sexual behavior was “broadly witnessed and discussed in the Athletics Department.” Id. at

          88. Perkins Coie found that “[m]ore than 50 individuals who were members of the OSU

          Athletics Department staff” knew about Dr. Strauss’s inappropriate sexual conduct. Id.

          (emphasis added).

113.      Student complaints about Dr. Strauss poured in over the years. Male student after male

          student complained: “From roughly 1979 to 1996, male students complained that Strauss

          routinely performed excessive—and seemingly medically unnecessary—genital exams,

          regardless of the medical condition the student-patients presented.” Id. at 2-3.

114.      It was also “broadly known within the Athletic Department that Strauss showered

          alongside the male students.” Id. at 2.

115.      “[B]eing examined by Strauss was akin to being ‘hazed’ or was a ‘rite of passage.’” Id. at

          88.

116.      Older students told younger students to watch out for Dr. Strauss, giving him nicknames

          such as Dr. Jelly Paws, Dr. Nuts, Dr. Cough, and Dr. Levi’s (because he would get into

          students’ jeans).

117.      Student-athletes informed OSU athletic administrators and staff, including, but not limited

          to, Athletic Director Andy Geiger, Athletic Director Jim Jones, Athletic Director Hugh



such allegation, CNN (July 19, 2018), available at https://www.cnn.com/2018/07/18/us/former-
osu-wrestler-richard-strauss-molestation-allegation/index.html (last visited July 22, 2018).
19
     See id.
20
     See id.

                                                    22
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       Hindman, Assistant Athletic Director Archie Griffin, Senior Associate Athletic Director

       Paul Krebs, Assistant Athletic Director Larry Romanoff, Assistant Athletic Director

       Richard Delaney, Assistant Director of Student Athlete Support Services John Macko,

       Track and Field Coach Frank Zubovich, Tennis Coach John Daly, Swimming Coach Dick

       Sloan, former Head Wrestling Coach Chris Ford, former Head Gymnastics Coach Peter

       Kormann, and Fencing Coach Charlotte Remenyik, that Dr. Strauss’s conduct seemed

       inappropriate and made them uncomfortable.

118.   Other than Remnyik, these administrators did not take any action in response to the

       athletes’ complaints about Dr. Strauss.

119.   Staff at OSU’s Student Health Center—including multiple Student Health Directors—were

       also aware of serious concerns about Dr. Strauss’s examinations of male students.

120.   A 1982 draft report by the primary physician in the Student Health Center’s Sports

       Medicine Clinic, Dr. David Henderson, stated that “[Dr. Strauss] works for no one, answers

       to no one, and is accountable to no one.” Id. at 116. Dr. Henderson’s concerns, though

       admittedly oblique, were serious enough to be escalated to Dr. Bob Murphy, the Head

       Team Physician and Director of OSU’s Sports Medicine Division, and to University

       President Edward Jennings.

121.   In fact, Dr. Murphy received at least five written reports about Dr. Strauss’s misconduct—

       four from OSU Athletics Department staff and one from a student-athlete: (i) Assistant

       Athletic Director Larry Romanoff told Dr. Murphy in the late 1980s or early 1990s that

       there were rumors that Strauss was showering with the student-athletes; (ii) after a student

       announced to the training room in 1989 that Dr. Strauss administrated an inappropriate

       genital exam, an athletic trainer reported the student’s complaint to Dr. Murphy; (iii) in

       1992 or 1993, Dr. Murphy asked a Team Physician to perform the wrestling team’s annual

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       physical instead of Dr. Strauss due to “issues” about how Dr. Strauss performed genital

       exams and his continued presence in the showers; (iv) a student trainer reported concerns

       about Strauss’s examination methods to Dr. Murphy, apparently in 1979 or 1980; and (v)

       a student-athlete complained to Dr. Murphy that Dr. Strauss fondled his penis for an

       extended time during a routine annual physical. Id. at 100–02.

122.   Dr. Murphy apparently did nothing in response to any of the five complaints.

123.   Instead, Dr. Murphy advised Dr. Strauss in approximately 1986 that there were persistent

       rumors about him. Id. at 95. Still, Dr. Murphy did not take action on student-athletes’

       complaints.

124.   Dr. John Lombardo, the Head Team Physician/Medical Director of the OSU Sports

       Medicine and Family Health Center, also received and discarded multiple complaints about

       Dr. Strauss. An athletic trainer told Dr. Lombardo in the early 1990s that Dr. Strauss made

       athletes uncomfortable and it was inappropriate for him to shower with students. A

       Graduate Assistant Trainer reported to Dr. Lombardo her “concerns about the rumors

       regarding Strauss” performing seemingly unnecessary genital exams and the fact that

       Strauss insisted on one-on-one exams with the students.” Id. at 103.

125.   One nurse reported to Perkins Coie that Dr. Strauss’s examinations of male student-patients

       were so much “longer than normal” that Student Health staff speculated “that Strauss was

       engaged in ‘sexual interaction’ with the male student-patients.” Id. at 121. In that time

       period, she also reported to two Student Health Directors (Dr. Doris Charles and Dr. Forrest

       Smith) that Strauss took longer than normal to conduct his examinations with student

       patients. Both directors dismissed her concerns. Id. at 121-22.

126.   Dr. Grace, the Student Health Director at OSU beginning in 1992, knew before he even

       joined OSU that Dr. Strauss was rumored to have engaged in “inappropriate sexual

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       touching of athletes.” Id. at 141. Dr. Grace admitted that he came to OSU “suspicious” of

       Dr. Strauss and was “surprised” to learn Dr. Strauss was assigned to Student Health. Id.

       Nonetheless, Dr. Grace allowed Dr. Strauss to staff the Student Health Men’s Clinic for

       reasons that are unclear (because Dr. Grace refused to be interviewed by Perkins Coie). Dr.

       Grace required Dr. Strauss to “call for a chaperone every time he was going to conduct a

       genital examination on a student in the Men’s Clinic.” Id. at 142. But “it is unclear why

       Grace believed that a ‘self-enforcing’ chaperoning requirement was an appropriate solution

       for Strauss, given that virtually every examination in the Men’s Clinic was likely to require

       a genital examination, due to the nature of the services offered there.” Id. at 143-144. In

       any event, Dr. Strauss stopped calling the chaperone, and Dr. Grace “never checked in with

       [the assigned chaperone] to determine whether Strauss was complying with the

       requirement, or to solicit [the chaperone’s] views on how the examinations were

       proceeding.” Id. at 142.

127.   No later than 1994, Remenyik, the head coach for fencing, reported that male fencers were

       uncomfortable with Dr. Strauss and she complained that Dr. Strauss was “performing

       improper or unnecessary genital exams on her male student-athletes.” Id. at 92–93. Dr.

       John Lombardo, OSU’s Medical Director/Head Team Physician, recognized Remenyik’s

       concerns in a November 1994 letter to Senior Associate Athletic Director Paul Krebs. Dr.

       Lombardo’s letter stated he “investigated” Remenyik’s concerns, and concluded they were

       “based on rumors” that had been “generated for 10 years with no foundation.” Id. at 93. He

       described the “rumors” as “pervasive.” Id. at 94. OSU then had another physician—Dr.

       Trent Sickles—“assume the primary role as physician for the fencers.” Id. But OSU did

       nothing to protect all of the other athletes and students who were being abused by Dr.

       Strauss. OSU did not do a formal investigation or take any disciplinary action against Dr.

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       Strauss. OSU did not report the complaint to the State Medical Board of Ohio.

128.   Dr. Strauss’s unorthodox touching during medical exams was such common knowledge

       that OSU’s coaching staff, trainers, and student-athletes knew him as “Dr. Jelly Paws,”

       “Dr. Nuts,” “Dr. Soft Hands,” and “Dr. Cough”—names that reflect his sexual predation.

129.   OSU’s coaching staff, including tennis coach John Daly, regularly joked about Dr.

       Strauss’s examinations of male athletes. Daly threatened student-athletes that they would

       have to see Dr. Strauss, if they did not do what the coach asked. He also laughed about it

       being a student’s “turn to see Dr. Strauss.”

130.   Dr. Strauss’s inappropriate examinations were well-known and discussed openly by OSU

       administrators and staff.

131.   Rather than take the flood of complaints about Dr. Strauss seriously, OSU continued to

       require students to be treated by him, thereby supplying him an endless trough of victims.

132.   Indeed, OSU told student-athletes that if they wanted to keep their scholarships or continue

       playing for OSU, they had to go to Dr. Strauss for their annual physical exams and medical

       treatment.

133.   Many of Dr. Strauss’s victims were student-athletes on full scholarship, making them

       particularly vulnerable to his abuse. OSU’s requirement that athletes be examined and

       treated by Dr. Strauss forced them into an impossible Hobson’s choice: either suffer

       through Dr. Strauss’s deeply uncomfortable, questionable examinations or forego their

       scholarships and educations.

134.   OSU’s requirement also put student-athletes in the unbearable position of choosing

       between their physical health in the short term and their psychological, emotional, and

       physical well-being in the long-term.

135.   For instance, one student-athlete—an All-American wrestler—recalled that whenever he

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       was injured, he had to decide: “Is this injury bad enough that I’m going to get molested for

       it?”21

136.   Dr. Strauss’s abuse—which OSU allowed to continue unchecked throughout his long

       tenure—has traumatized many survivors for decades. Indeed, many survivors continue to

       be afraid to see doctors to this day, causing them to jeopardize their health and receive

       dangerous diagnoses late.

137.   Dr. Strauss did not limit his abuse to the privacy of the exam room. He reigned over the

       locker rooms of Larkins Hall, the former OSU recreation center, where—in full view of

       OSU’s coaching staff and other employees—he harassed male student-athletes.

138.   He read the newspaper naked in the male locker room, so that he could stare at student-

       athletes’ bodies.

139.   He showered with student-athletes for hours at a time and several times a day.

140.   On one occasion, he finished showering and was preparing to leave the locker room when

       one of his “favorite” wrestlers began to shower. Dr. Strauss undressed and joined the

       wrestler in the shower.22

141.   Yet again, male student-athletes complained to OSU about Dr. Strauss’s conduct.

142.   Yet again, OSU had an opportunity to stop the abuse, but did nothing.

143.   And so, Dr. Strauss continued to terrorize OSU students with impunity.

144.   Following Dr. Strauss’s lead, other OSU employees took full advantage of OSU’s


21
  Kantele Franko, Ex-athletes say Ohio State doc groped, ogled men for years, AP News (July 7,
2018), available at https://www.apnews.com/355629efdd91432aadfca6d6b28c170c (last visited
Oct. 23, 2019).
22
  See First Amended Class Action Complaint at ¶ 135, John Doe, et al. v. The Ohio State
University, No. 2:18-cv-00692 (S.D. Ohio Oct. 26, 2018), ECF No. 33 [hereinafter “Class Action
Complaint”]), ¶ 135.
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           indifference to sexual harassment and abuse.

145.       For instance, some trainers were so “touchy feely” with the student-athletes that the athletes

           developed a practice of informing each other about which trainers to avoid.

146.       A cohort of “voyeurs” flocked to Larkins Hall to gawk at the OSU student-athletes and

           masturbate while watching them shower.23

147.       One wrestling head coach, Russ Hellickson, described the toxic culture at OSU as a

           “cesspool of deviancy.”24 He recalled, “Coaching my athletes in Larkins Hall was one of

           the most difficult things I ever did.”25

148.       At times, Coach Russ Hellickson had to physically drag the voyeurs out of Larkins Hall.26

           Although he pleaded with OSU to move the athletes to a private building,27 his pleas fell

           went unheard. Yet again, OSU did nothing to stop the abuse and harassment.

149.       Though students and OSU staff complained about Dr. Strauss for decades, it was not until

           1996 that the complaints let to a formal investigation.

150.       Shortly after Dr. Lombardo’s November 1994 finding that the fencing team’s complaints

           were “unfounded,” two male patients of the Student Health Men’s Clinic—Steve Snyder-

           Hill (“Student B” in the Perkins Coie Report) and another student (“Student A” in the

           Perkins Coie Report)—separately complained about Dr. Strauss’s inappropriate genital

           exams in January 1995. Dr. Ted Grace, the Director of Student Health, wrote a report


23
   Rachael Bade & John Bresnahan, ‘A cesspool of deviancy’: New claims of voyeurism test
Jordan denials, POLITICO (July 6, 2018), available at
https://www.politico.com/story/2018/07/06/jim-jordan-harassment-ohio-state-wrestling-699192
(last visited July 26, 2018).
24
     Id.
25
     Id.
26
     Id.
27
     Id.

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       stating he had created a consent form as a result of Student A’s complaint.

151.   After Snyder-Hill complained about Dr. Strauss’s inappropriate exams, shortly after

       Student A’s complaint, Dr. Grace falsely claimed that Student Health had never received a

       complaint about Dr. Strauss and claimed all complaints were maintained in a quality

       assurance file. He also falsely claimed that, as a result of Snyder-Hill’s complaint, Student

       Health was creating a consent form, but apparently Dr. Grace was already creating this

       form as a result of Student A’s complaint.

152.   Despite the two complaints brought against Strauss in January 1995, OSU gave Dr. Strauss

       “Exceptional” and “Excellent” ratings on his 1995 OSU Administrative & Professional

       Staff Performance.

153.   A year later, in January 1996, a third student complained in January 1996 that Dr. Strauss

       fondled his genitals and asked him sexually inappropriate questions.

154.   Finally, after years of complaints, this cluster of complaints caused OSU to place Dr.

       Strauss on administrative leave in January 1996 and launch a Student Affairs investigation

       into the November 1994 complaints from the fencing team, the two January 1995

       complaints, and the January 1996 complaint. As part of its investigation, OSU apparently

       did not investigate the history of complaints about Strauss in Athletics. Id. at 147-148.

155.   In June 1996, OSU held a disciplinary hearing into these complaints without notifying the

       student complainants or permitting them to participate.

156.   A few weeks after the hearing, in July 1996, Dr. Lombardo informed Dr. Strauss that

       OSU’s Athletics Department was terminating his employment. In August 1996, OSU

       decided not to renew his Student Health Services Appointment “based on three complaints

       by students in a period of 13 months.” Id. at 150.

157.   When informing Dr. Strauss that his Student Health Services Appointment was not being

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       renewed, OSU was clear to Dr. Strauss that his faculty appointment would continue.

158.   “Strauss remained employed at the University as a tenured professor in the School of Public

       Health.” Id. at 146.

159.   In October 1997, Dr. Strauss announced that he intended to retire.

160.   Randall Harris, the Acting Director of the School of Public Health, recommended that Dr.

       Strauss receive emeritus status upon retirement “based on his long-standing service,

       commitment, and national and international achievements.” Id. at 6.

161.   Harris recommended that Dr. Strauss receive emeritus status upon retirement, though he

       was aware that a student-patient at Student Health had raised a complaint about Dr. Strauss.

162.   Ronald St. Pierre, the Vice Dean and Secretary for the College of Medicine and Associate

       Vice President of Health Sciences and Academic Affairs, also recommended Dr. Strauss

       receive an emeritus appointment, though he was aware of the 1996 Student Affairs

       disciplinary action against Dr. Strauss.

163.   Dr. Strauss retired effective March 1, 1998.

164.   Upon his retirement, OSU’s Board of Trustees bestowed on him the honorific appointment

       of Faculty Emeritus in the University's School of Public Health. Id. at 154.

165.   While Dr. Strauss was on administrative leave in March 1996, he began considering

       opening a private, off-campus medical clinic specializing in men’s issues.

166.   Dr. Strauss spoke to St. Pierre about his plans for opening this men’s clinic. St. Pierre said

       “there would be no problem” with Dr. Strauss opening that private men’s clinic. Id. at 151.

167.   Dr. Strauss did, in fact, open that men’s clinic off-campus clinic near OSU’s campus to

       treat “common genital/urinary problems”—even though he was trained as a

       pulmonologist—and solicited male students for sexual health treatment in OSU’s student

       newspaper. He began seeing patients there in September 1996.

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168.   OSU did nothing to protect students from being abused by Dr. Strauss at the men’s clinic,

       though it had removed him from working at the Student Health Center because of a sexual

       misconduct complaint.

169.   OSU’s deliberate indifference is beyond dispute. “Despite the persistence, seriousness, and

       regularity of such complaints [from male students between 1979 and 1996], no meaningful

       action was taken by the University to investigate or address the concerns until January 1996

       . . . .” Id. at 3.

170.   Dr. Strauss committed suicide in 2005. The effects of his abuse, and OSU’s complicity in

       it, survive in the lives of his victims.

                                   OSU’s Commissioned Investigation

171.   In April of 2018, approximately forty years after students first began complaining about

       Dr. Strauss’s abuse, OSU announced that it was opening an investigation into student-

       athletes’ allegations of sexual misconduct by Dr. Strauss dating back to the late-1970s.

172.   OSU opened this investigation in 2018 after one or more former student-athletes (again)

       informed OSU of Dr. Strauss’s sexual abuse.

173.   Until OSU opened its investigation in April of 2018, most of the Plaintiffs did not

       understand that Dr. Strauss had sexually assaulted and harassed them in the guise of

       providing necessary and appropriate medical care. And none of them knew, or had any

       reason to know, of the role that OSU played in facilitating Dr. Strauss’s abuse. This is

       because OSU ignored, rebuffed, and concealed complaints about Dr. Strauss, preventing

       the Plaintiffs from discovering their claims against OSU.

174.   The appointed Special Counsel to OSU, Porter Wright Morris & Arthur LLP, retained

       Perkins Coie LLP (“Perkins Coie”) on April 27, 2018. Id. at 1.



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175.   On OSU’s behalf, Perkins Coie conducted a massive factual investigation of sexual

       misconduct allegations raised against Dr. Strauss. Perkins Coie evaluated, first,

       “allegations that Strauss committed acts of sexual misconduct against members of the OSU

       community.” Id. at 1. Second, Perkins Coie evaluated “whether ‘the University’ had

       knowledge of such allegations against Strauss” while he was employed by OSU. Id.

176.   Perkins Coie spent $6.2 million and 12 months on their investigation.

177.   Perkins Coie reviewed 825 boxes of records from OSU and collected records from sources

       outside the University. They interviewed 520 witnesses, including 177 survivors.

178.   Perkins Coie’s 182-page Report reaches two striking conclusions: First, finding the

       survivors uniformly credible, it found that “Strauss sexually abused at least 177 male

       student-patients he was charged with treating as a University physician.” Id. Perkins Coie

       concluded that “at least” 177 men were abused because they only interviewed 177 male

       students—had they interviewed more survivors they undoubtedly would have concluded

       that Dr. Strauss abused far more than 177 men. Perkins Coie did not interview the majority

       of the Plaintiffs in this action.

179.   Second, Perkins Coie found that OSU “personnel had knowledge of Strauss’ sexually

       abusive treatment of male student-patients as early as 1979.” Id.

180.   The Perkins Coie report provides detailed, credible evidence of Dr. Strauss’s serial sexual

       predation and OSU’s institutional indifference to complaints about Dr. Strauss.

181.   Yet OSU is in “damage control mode.” It does not want to be held fully accountable for

       employing a serial sexual predator and perpetuating his abuse of students for two decades.

182.   But enough is enough. Remedial action to help the survivors of Dr. Strauss’s sexual

       predation is long overdue, as is systemic institutional change to ensure that something like

       this never happens again to another OSU student.

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                        OSU’s Pattern of Indifference to Sexual Harassment and Abuse

183.       OSU’s culture of indifference to the safety and well-being of its students has caused sexual

           violence to flourish at OSU for the last four decades. This toxic culture, which has drawn

           the attention and censure of the federal government, continues to thrive to this day.

184.       On June 23, 2010, the United States Department of Education’s Office for Civil Rights

           (“OCR”) initiated a review of OSU’s compliance with Title IX. With the federal

           government peering over its shoulder, OSU rushed to revise its sexual abuse policies and

           procedures.28 Nevertheless, on September 11, 2014, after a four-year-long review of OSU,

           OCR announced that the university had violated Title IX.29

185.       Specifically, OCR found that OSU’s policies and procedures were confusing and

           inconsistent, failed to designate timeframes for the completion of major stages of sexual

           abuse investigations, and failed to ensure that complainants were afforded equal

           opportunity to participate in the grievance process, in violation of Title IX.30

186.       OCR also found that students were confused about how and where to report incidents of

           sexual harassment and assault.31

187.       OCR likewise found that OSU’s procedures “inappropriately suggest and, in some

           instances, seem to require that parties work out alleged sexual harassment directly with the

           accused harasser prior to filing a complaint with the University.”32

188.       In some cases, OCR was unable even to reach a determination about whether OSU


28
     OCR Findings Letter, supra note 4, at 24.
29
     Id. at 1.
30
     Id. at 1, 9, 26.
31
     Id. at 10.
32
     Id. at 25.
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          adequately responded to complaints because OSU’s complaint files were so sloppy and

          indecipherable.33

189.      In order to close the federal government’s review, OSU entered into a resolution agreement

          with OCR. That agreement required OSU, in part, to disseminate information to educate

          students and staff about Title IX’s prohibition against sexual abuse and harassment, and

          how to report incidents. It also required OSU to revise its policies and procedures to

          eliminate the requirement that students “work out” sexual harassment and abuse directly

          with their abuser. And it required OSU to provide mandatory training on sexual abuse to

          students and staff.34

190.      After the federal government initiated its investigation into OSU’s practices, OSU began

          its own investigation into a sexual harassment complaint concerning its Marching Band.

191.      OSU’s internal investigation found that the Marching Band’s culture facilitated sexual

          harassment and created a sexually hostile environment for its students.35 Students in the

          Marching Band were called sexual nicknames, like “Boob Job” and “Twinkle Dick,” and

          pressured to participate in an annual nude Marching Band tradition.36 Students felt that the

          Marching Band’s culture was sexualized and an “old guys” club, and that it operated under




33
     Id. at 19, 27.
34
  Id. at 27-29; see also Resolution Agreement, Ohio State University, OCR Docket #15-10-
6002, available at https://www2.ed.gov/documents/press-releases/ohio-state-agreement.pdf (last
visited July 24, 2018).
35
   Ohio State University Investigation Report, Complaint against Jonathan Waters, Director of
the OSU Marching Band 1 (July 22, 2014), available at
http://www.documentcloud.org/documents/1235398-osu-investigation-report-complaint-
against.html (last visited July 21, 2018) [hereinafter “OSU Report regarding Complaint against
Waters”].
36
     Id. at 4-5.
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          a “culture of intimidation,” which culminated in at least one known sexual assault as well

          as sexual harassment.37 Most damningly, the investigation found that OSU had notice of

          the hostile environment but had failed to do anything about it.38

192.      A year after OCR found OSU non-compliant with Title IX, the University launched an

          initiative designed to “ensure Ohio State is a national leader” in preventing and responding

          to sexual abuse.39

193.      If only OSU’s actions were as good as its words.

194.      In 2014, during a diving meet, OSU received a report that OSU assistant diving coach Will

          Bohonyi was sexually abusing a minor in OSU’s Diving Club. Inexplicably, OSU allegedly

          sent the victim—not the perpetrator—home from the meet.40

195.      OSU then allegedly failed to take action to address the hundreds of naked photographs of

          the victim engaged in sexual acts that Coach Bohonyi had forced her to take. 41 These

          photographs—child pornography—allegedly sat in OSU’s possession for some four

          years.42

196.      Revelations of OSU’s ongoing culture of abuse continue to accumulate. For instance, in

          June of 2018, OSU was forced to shutter its sexual assault prevention and response unit

          after concerns emerged that unit employees had told victims of abuse they were “lying,”




37
     Id. at 11-12.
38
  OCR Findings Letter, supra note 4, at 2; OSU Report regarding Complaint against Waters,
supra note 35, at 1.
39
     OSU Plan, supra note 5.
40
     Diving Complaint, supra note 6, at ¶¶ 272, 274-75.
41
     Id. at ¶¶ 176-180, 260-62.
42
     Id. at ¶ 180.
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         “delusional,” and had “an active imagination.”43 Other victims were denied services

         because they would not disclose the identity of their attackers.44 An independent audit of

         that unit revealed that it failed to report 57 potential felonies that it was required to report

         to law enforcement—felonies that likely involve sexual assault.45

197.     On August 8, 2018, OCR initiated yet another investigation into OSU’s compliance with

         Title IX—this time involving OSU’s response to students’ allegations of sexual

         misconduct by Dr. Strauss, the subject of this lawsuit.

198.     Despite all evidence to the contrary—a federal investigation finding Title IX violations,

         numerous student complaints, internal reports, witnesses, and more—OSU persists in

         claiming it is and has been “a leader” on issues of sexual abuse.46 The survivors of its four

         decades of indifference beg to differ.

                             SPECIFIC FACTUAL ALLEGATIONS

199.     Plaintiffs incorporate by reference the allegations in all previous paragraphs as if fully

         stated here.

                                          JAMES KHALIL

200.     James Khalil was a student at OSU from 1989 to 1994, and a member of OSU’s club

         hockey team during that time. Khalil tried out for OSU’s varsity hockey team in 1990 and

         1991.

43
  Jennifer Smola, Ohio State closes sexual-assault center, fires 4 after complaints, The
Columbus Dispatch (June 20, 2018), http://www.dispatch.com/news/20180619/ohio-state-closes-
sexual-assault-center-fires-4-after-complaints (last visited July 26, 2018); Bauer-Wolf, supra
note 8..
44
     See Bauer-Wolf, supra note 8.
45
   Smola, Ohio State’s troubled sexual assault center failed to report 57 potential felonies, audit
finds, supra note 9.
46
  Smola, Ohio State closes ‘failed’ program, takes another hard look at Title IX policies, supra
note 8.

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201.   Dr. Strauss often hung around OSU’s varsity hockey team.

202.   One day in 1991, Dr. Strauss approached Khalil in the locker room. Khalil had just finished

       skating at his hockey tryouts. Dr. Strauss told Khalil that he needed to undergo a physical;

       no one else had told Khalil about this. Khalil recalls that it wasn’t a medical day or an

       assigned day when the athletes were meant to have exams done. Khalil also recalls

       believing that Dr. Strauss was requiring him to submit to the exam and that he did not have

       the choice to refuse it.

203.   Dr. Strauss and Khalil were alone in the locker room—all other athletes had cleared out by

       then.

204.   Dr. Strauss instructed Khalil to pull down his pants. Khalil complied, and Dr. Strauss began

       fondling Khalil’s testicles without gloves on. He rubbed his thumb up and down Khalil’s

       penis. Khalil was horrified. Dr. Strauss then abruptly ended the exam.

205.   Khalil was never informed or made aware of any OSU grievance procedure to complain

       about Dr. Strauss and did not believe there was any recourse for what happened to him.

206.   Until learning in early 2018 about an investigation into allegations that Dr. Strauss had

       sexually abused OSU student-athletes, Khalil did not know, or have reason to know, of

       OSU’s role in Dr. Strauss’s sexually abusive medical examinations of him or that other

       athletes had previously complained to OSU about Dr. Strauss’s abuse.

207.   Until hearing reports in 2018, Khalil had no reason to investigate whether OSU—in

       addition to Dr. Strauss—had harmed him.

208.   Even if, while a student at OSU, Khalil had tried to inquire into OSU’s role in permitting

       Dr. Strauss’s abuse of him, the inquiry would have been futile, as OSU controlled access

       to that information.

209.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

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       Khalil would not have been abused by Dr. Strauss.

210.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it and other instances of

       abuse, Khalil has suffered long-lasting emotional and psychological harm. Khalil quit

       pursuing varsity hockey at OSU after Dr. Strauss’s exam, even though the coaches told

       him that he would likely have made the team if he tried out again. Quitting his pursuit of

       varsity hockey at OSU negatively affected his goal of playing in the National Hockey

       League and his coaching prospects. He also lost his opportunity to obtain an athletic

       scholarship from OSU. For years after his encounter with Dr. Strauss, Khalil was also

       anxious about getting medical examinations and avoided seeing doctors. To this day, he

       still reacts emotionally whenever he has to see a doctor. Khalil has also struggled with

       intimacy in his romantic relationships as a result of the sexual abuse he experienced at

       OSU.

                                   HUGH (JOSEPH) DYER

211.   Hugh Dyer was a student at OSU from 1996 to 1998, and a member of OSU’s cheerleading

       team during that time. He attended OSU on a full athletic scholarship for cheerleading.

       Dyer dropped out of OSU shortly after his junior year and transferred to Columbus State

       University.

212.   Dyer was heavily recruited by OSU. He attended the University of Cincinnati for his

       freshman year of college. After Dyer’s participation in the Opening Ceremony of the 1996

       Summer Olympics, OSU recruited Dyer to join its cheerleading team. He completed his

       sophomore and junior years of college at OSU.

213.   Dyer relied upon his full athletic scholarship to attend college.

214.   Dyer was examined by Dr. Strauss on three occasions while a student at OSU. He was a

       sophomore when he saw Dr. Strauss for the first time.

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215.   In 1996, Dyer saw Dr. Strauss for a physical in a private exam room in Larkins Hall.

216.   Dr. Strauss instructed Dyer to take off all his clothes and stand. Dr. Strauss sat on a stool

       at eye-level with Dyer’s genitals and conducted a genital exam. Using both hands, he

       rubbed Dyer’s penis and testicles for a prolonged time. He attempted to stimulate Dyer by

       rubbing his scrotum and moving his middle finger towards Dyer’s anus. Dr. Strauss asked

       Dyer how it felt, and also instructed him to “relax.” He told Dyer to turn his head and

       cough. He gazed at Joey’s body with admiration stating, “You’re so athletic, your body has

       perfect symmetry, your body’s beautiful.”

217.   While Dr. Strauss was examining Dyer, he put his mouth very close to Dyer’s penis. Dyer

       interpreted this as Dr. Strauss attempting to perform oral sex on Dyer. Dyer pulled away

       so that Dr. Strauss could not put his mouth on his penis.

218.   Dr. Strauss’s conduct made Dyer very uncomfortable, and Dyer recalls that the exam was

       not like any other hernia check he had before.

219.   After seeing Dr. Strauss, Dyer told Assistant Coach Eddie Hollins that the exam was

       “weird,” and that he thought Dr. Strauss was “definitely gay.” Hollins laughed off Dyer’s

       remarks, and asked if Dyer enjoyed it.

220.   Dyer was scheduled for another appointment with Dr. Strauss, this time for an injured knee.

       At the second appointment, Dr. Strauss asked Dyer to get completely naked. Dr. Strauss

       conducted an exam of Dyer’s genitals, rubbing his penis and testicles for a prolonged time,

       while asking “How does that feel?” and commenting on Dyer’s penis, “Oh, that’s so pretty

       and beautiful.” Again, Dr. Strauss moved his mouth close to Dyer’s penis, this time more

       aggressively than during the first exam. Dyer clenched his fists, pulled away from Dr.

       Strauss, and stormed out of the exam.

221.   Dyer’s teammates had similar uncomfortable experiences with Dr. Strauss. The teammates

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       made light of their experiences and joked about Dr. Strauss’s exams.

222.   Dyer recalls that Dr. Strauss would often hang around him and his teammates, lingering

       about and following up with them for no particular reason.

223.   Dr. Strauss’s abuse of Dyer was part of a larger culture of sexual abuse within OSU

       athletics.

224.   During a summer 1996 recruitment trip, an OSU cheerleading coach brought Dyer and

       another recruit to his house. He gave Dyer and the other recruit ecstasy and ketamine and

       took them to gay clubs. Later that evening, Dyer witnessed the coach sexually assaulting

       the other recruit.

225.   Throughout Dyer’s time at OSU, coaches regularly pushed drugs on male cheerleaders and

       attempted to have sex with them, regardless of their sexual orientation.

226.   Shortly after the end of his junior year, unable to withstand the environment any longer,

       Dyer transferred from OSU to Columbus State University.

227.   Dyer was never informed or made aware of any OSU grievance procedure to complain

       about Dr. Strauss or others and did not believe there was any recourse for what happened

       to him.

228.   Until learning in early 2019 about an investigation into allegations that Dr. Strauss had

       sexually abused OSU student-athletes, Dyer did not know, or have reason to know, of

       OSU’s role in Dr. Strauss’s sexually abusive medical examinations of him or that other

       athletes had previously complained to OSU about Dr. Strauss’s abuse.

229.   Until hearing reports in 2019, Dyer had no reason to investigate whether OSU—in addition

       to Dr. Strauss—had harmed him.

230.   This is because, in Dyer’s experience, Dr. Strauss’s genital examinations were a running

       joke among players, trainers, coaches, and administrators. In addition, Coach Hollins’s

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       unconcerned reaction to his complaint about Dr. Strauss did not give Dyer any reason to

       investigate what OSU was doing or failing to do. Indeed, when Dyer raised his concerns

       about Dr. Strauss’s examinations, Coach Hollins’s reaction served to reinforce Dyer’s

       reasonable belief that further inquiry would not be productive.

231.   Even if, in 1996, Dyer had tried to inquire into OSU’s role in permitting Dr. Strauss’s abuse

       of him, the inquiry would have been futile, as OSU controlled access to that information,

       and, through its trainers, coaches, and administrators, treated complaints about Dr.

       Strauss’s examinations as matters of no real concern.

232.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       Dyer would not have been abused by Dr. Strauss.

233.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it and other instances of

       abuse, Dyer has suffered emotional and psychological harm. He dropped out of OSU

       because he could not bear to be on campus anymore, and he failed to obtain a college

       degree. As a result of his experiences, Dyer also developed discomfort towards gay men,

       which he did not feel prior to his time at OSU. He fears for his daughter, and does not feel

       comfortable sending her away for college. Dyer also suffers from anxiety and has not been

       able to participate in certain meaningful social experiences, like attending OSU games,

       because of his ongoing trauma.

                                  JERROLD L. SOLOMON

234.   Jerrold Solomon was a student at OSU from 1984 to 1988, and a member of OSU’s tennis

       team from 1985 to 1986.

235.   Dr. Strauss abused Solomon in fall of 1985, during a pre-season physical.

236.   As a member of OSU’s tennis team, Solomon was required to get mandatory pre-season

       physicals. He went with the tennis team to a facility on OSU’s campus and waited in line

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       for a urine test. He was then pulled into a private room with Dr. Strauss.

237.   Solomon was alone with Dr. Strauss in the exam room.

238.   Dr. Strauss asked Solomon to remove his shorts and underwear. Dr. Strauss then touched,

       fondled, and “played with” Solomon’s penis for a long period of time.

239.   Dr. Strauss did not wear gloves during the exam.

240.   Solomon was in shock. He felt taken advantage of, and thought to himself, “Oh my god,

       this guy is doing something wrong.” Solomon wondered whether Dr. Strauss targeted him

       because he thought Solomon was gay and muscular.

241.   Solomon stormed out of the exam, outraged and dripping in sweat because of the stress,

       anxiety, and trauma caused by Dr. Strauss.

242.   He decided that he would never go back to see Dr. Strauss again.

243.   Dr. Strauss’s exam made Solomon feel uncomfortable, confused, and ashamed. He never

       discussed the exam with anyone. He never heard his teammates ever discuss or joke about

       Dr. Strauss, and did not know at the time that Dr. Strauss had abused other student-athletes.

244.   Solomon was never informed or made aware of any OSU grievance procedure to complain

       about Dr. Strauss and did not believe there was any recourse for what happened to him.

245.   Until learning in early 2019 about an investigation into allegations that Dr. Strauss had

       sexually abused OSU student-athletes, Solomon did not know, or have reason to know, of

       OSU’s role in Dr. Strauss’s sexually abusive medical examinations of him or that other

       athletes had previously complained to OSU about Dr. Strauss’s abuse.

246.   Until hearing reports in 2019, Solomon had no reason to investigate whether OSU—in

       addition to Dr. Strauss—had harmed him.

247.   Even if, in 1985, Dr. Solomon had tried to inquire into OSU’s role in permitting Dr.

       Strauss’s abuse of him, the inquiry would have been futile, as OSU controlled access to

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       that information, and, through its trainers, coaches, and administrators, treated complaints

       about Dr. Strauss’s examinations as matters of no real concern.

248.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       Solomon would not have been abused by Dr. Strauss.

249.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it and other instances of

       abuse, Solomon has suffered long-lasting emotional and psychological harm. Solomon quit

       the tennis team after playing just one year, in part, because of Dr. Strauss’s abuse and

       because he knew he would have to see Dr. Strauss again to stay on the team. For many

       years after his treatment by Dr. Strauss, Solomon refused to get physical examinations. Dr.

       Strauss’s abuse also made Solomon question his own sexuality.

                                        JOSEPH BECHTEL

250.   Joseph Bechtel was a student at OSU from 1979 through 1983, and a member of OSU’s

       hockey team from the fall of 1979 through the fall of 1982. He quit the team in 1982.

251.   Bechtel attended OSU on a partial athletic scholarship. He relied on his partial athletic

       scholarship to attend college.

252.   Bechtel began seeing Dr. Strauss in the fall of 1980, after contracting mononucleosis at a

       training camp. The appointments occurred regularly in Dr. Strauss’s office, for a total of

       five or six appointments. Bechtel and Dr. Strauss were alone in Dr. Strauss’s office during

       every appointment.

253.   On every occasion that Bechtel saw Dr. Strauss, he was instructed by Dr. Strauss to drop

       his pants. Dr. Strauss would sit on a stool and bring his face very close to Bechtel’s testicles.

       Dr. Strauss fondled Bechtel’s testicles at every appointment.

254.   During at least one of Bechtel’s appointments, Dr. Strauss made inappropriate comments

       to him. Dr. Strauss told Bechtel that his master’s thesis examined sperm and sperm

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       production.

255.   Dr. Strauss’s exams made Bechtel extremely uncomfortable, confused, and embarrassed.

256.   While a student at OSU, Bechtel saw Dr. Strauss sit in the locker room after hockey games

       and observe the players.

257.   Bechtel heard from other student athletes that one of Dr. Strauss’s nicknames was “Dr.

       Feel Good.”

258.   On one occasion, Bechtel was receiving treatment in the training room when a player from

       the opposing team came in with a toe infection. Dr. Strauss was the doctor on call for the

       game. In the presence of Bechtel, OSU athletic trainers, and other bystanders, Dr. Strauss

       instructed the player to drop his pants, and began groping the player’s penis and testicles.

259.   Bechtel was never informed or made aware of any OSU grievance procedure to complain

       about Dr. Strauss. He did not inquire into how he might formally report Dr. Strauss because

       he feared being called a “pussy,” and worried that people would think he was gay.

260.   Nevertheless, Bechtel told several people of Dr. Strauss’s behavior. When head trainer,

       Glade Pauly, asked him about his appointments with Dr. Strauss, Bechtel told Pauly that

       Dr. Strauss had touched him inappropriately. Pauly laughed off Bechtel’s comments.

261.   At the time, Bechtel did not know that Dr. Strauss’s examination of him was, in fact, sexual

       abuse. And even if Bechtel had understood that Dr. Strauss’s conduct constituted sexual

       abuse, he had no reason to know of the role OSU had played in facilitating the abuse.

262.   Until reading news coverage of the OSU investigation in or about April, 2018, Bechtel did

       not know, or have reason to know, that Dr. Strauss’s examinations of him and his

       teammates were sexually abusive. Nor did he have reason to investigate whether OSU—in

       addition to Dr. Strauss—had harmed him.

263.   While Bechtel was an OSU student, he trusted that OSU would not allow him to be harmed.

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       So, even though he felt uncomfortable during Dr. Strauss’s examinations, Bechtel did not

       understand or believe that Dr. Strauss had sexually abused him.

264.   This is because, while Bechtel attended OSU, student-athletes openly joked about Dr.

       Strauss’s examinations in front of OSU staff, and Bechtel reasonably believed that OSU

       would not have made Dr. Strauss the athletic team doctor and required him and other

       athletes to see Dr. Strauss unless Dr. Strauss’s examinations were legitimate.

265.   In addition, head trainer Glade Pauly’s unconcerned reaction and laughter in response to

       Bechtel’s comments about Dr. Strauss’s inappropriate touching reinforced Bechtel’s

       reasonable belief that Dr. Strauss’s conduct was not sexual abuse. Mr. Pauly’s reaction also

       demonstrated to Bechtel that pursuing the matter would not be productive, and would only

       lead to his being ostracized.

266.   In short, until seeing news coverage in or about April, 2018, about Dr. Strauss’s serial

       sexual abuse of OSU students, Bechtel did not know, or have reason to know, that Dr.

       Strauss had sexually abused him, that OSU had known about Dr. Strauss’s serial sexual

       abuse, or that OSU had failed to take the appropriate steps to stop Dr. Strauss’s abuse.

267.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       Bechtel would not have been abused by Dr. Strauss.

268.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, Bechtel has suffered

       emotional and psychological damages. For example, Bechtel is suspicious of all medical

       professionals and often fears for the safety of his children. After recently learning that Dr.

       Strauss reportedly abused at least hundreds of students after Bechtel’s examinations,

       Bechtel is devastated that he did not stop Dr. Strauss. As a result, Bechtel has experienced

       extreme anger and feelings of guilt. Bechtel is seeking counseling to address these issues.



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                                    MICHAEL MURPHY

269.   Michael Murphy was a student at OSU from 1987 through 1990, and a member of OSU’s

       track and field team during that time. He was recruited by OSU to be a pole vaulter, and

       attended college on a partial academic scholarship.

270.   Murphy relied on his scholarship to attend college.

271.   Murphy transferred from OSU to the United States Naval Academy in 1990.

272.   In 1987, Murphy won a scholar athlete award.

273.   Dr. Strauss first examined Murphy in 1987, during a pre-season physical.

274.   As a member of OSU’s track and field team, Murphy was required to have a physical with

       Dr. Strauss. The physical was scheduled by a member of OSU’s staff.

275.   The physical took place at the French Field House.

276.   Dr. Strauss instructed Murphy to remove his pants and underwear. Dr. Strauss then walked

       behind Murphy and reached around to feel Murphy’s penis and testicles. The excessive

       fondling lasted several minutes; Dr. Strauss was apparently trying to give Murphy an

       erection.

277.   Dr. Strauss also asked Murphy to remove his shirt during the physical. Dr. Strauss

       examined Murphy’s upper body, and complimented Murphy on his physical fitness, telling

       Murphy words to the effect that he was “really solid,” “built well,” and that it was clear

       Murphy could “lift a lot of weight.”

278.   Dr. Strauss’s exam made Murphy feel very uncomfortable, embarrassed, and confused.

       However, while he thought the exam was strange, he did not realize that it was wrong or

       sexually abusive.

279.   While at OSU, Murphy severely injured his hamstring and required medical treatment. This

       time, Murphy was examined by Dr. Strauss at the student health center.

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280.   Dr. Strauss told Murphy to lay face down on the examination table. Dr. Strauss then

       proceeded to give Murphy a rectal exam, explaining that he needed to examine him for

       tissue damage. Dr. Strauss applied lubricant and penetrated Murphy’s rectum with his

       finger. He moved in and around Murphy’s rectum for about thirty seconds or so. Murphy

       believed that Dr. Strauss was attempting to give Murphy an erection.

281.   Murphy was shocked and horrified, and resolved never to see Dr. Strauss for an

       appointment again. However, Murphy did not realize that he had been sexually abused at

       the time.

282.   Murphy’s teammates had similar experiences with Dr. Strauss, but the teammates made

       light of their experiences and joked about the exams. They openly joked in front of

       coaches—including head track coaches Frank Zubovich and Russ Rodgers, and assistant

       track coaches Roger Bowen and Tom Doyle—and trainers that examinations with Dr.

       Strauss were a “touchy/feely” experience, and warned each other to “watch out for

       Strauss.”

283.   Dr. Strauss frequently showed up at the track team’s practices and took photos of the pole

       vaulters shirtless. Dr. Strauss told the student-athletes that he was an amateur photographer,

       and encouraged Murphy and his teammates to go to his house to look at the photos he’d

       taken of them. Murphy never went to Dr. Strauss’s house.

284.   Murphy was never made aware of any OSU grievance procedure to complain about Dr.

       Strauss and did not believe there was any recourse for what happened to him.

285.   Murphy did not recognize Dr. Strauss’s conduct as sexually abusive at the time.

286.   In retrospect, Murphy realizes that Dr. Strauss sexually abused and harassed him and his

       teammates. However, he did not know or have reason to know this until 2018, when he

       learned of OSU’s investigation into allegations of abuse by Dr. Strauss.

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287.   This is because, while Murphy attended OSU, student-athletes openly joked about Dr.

       Strauss’s examinations in front of OSU staff, and Murphy reasonably believed that OSU

       would not have made Dr. Strauss the athletic team doctor and required him and other

       athletes to see Dr. Strauss unless Dr. Strauss’s examinations were legitimate.

288.   Until learning in 2018 about OSU’s investigation into Dr. Strauss’s conduct, Murphy did

       not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive conduct

       or that other athletes had previously complained to OSU about Dr. Strauss’s abuse. Nor

       did he have reason to investigate whether OSU—in addition to Dr. Strauss—had harmed

       him.

289.   This is because, in Murphy’s experience, Dr. Strauss’s conduct was common knowledge

       among trainers and coaches, but none of them seemed particularly concerned about it.

290.   In any event, even if, while Murphy was an OSU student, he had tried to inquire further

       into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

       controlled access to that information.

291.   In short, until learning in 2018 about Dr. Strauss’s serial sexual abuse of OSU students,

       Murphy did not know, or have reason to know, that Dr. Strauss had sexually abused him,

       that OSU had known about Dr. Strauss’s serial sexual abuse, or that OSU had failed to take

       appropriate steps to stop Dr. Strauss’s abuse.

292.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       Murphy would not have been abused by Dr. Strauss.

293.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, Murphy has suffered

       emotional and psychological damages. Murphy suffered from depression while at OSU.

       After seeing Dr. Strauss for his hamstring injury, Murphy quit the pole vaulting team at the

       end of the season. Shortly after quitting the team he dropped out of OSU. Without his OSU

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       scholarship, he had limited financial resources; as a result, he enrolled in the Naval

       Academy because it provided a free education, though Murphy did not believe at the time

       that the Naval Academy would be a good fit for him. It was not; he dropped out of the

       Naval Academy without obtaining a college degree. Murphy believes that if OSU had

       provided him a doctor that gave him legitimate medical treatment, instead of fondling him,

       he would have continued to pole vault for OSU and would have become a college graduate.

       This thought continues to haunt Murphy and cause him mental anguish. Moreover, Murphy

       has extreme anxiety about receiving medical treatment due to his experiences with Dr.

       Strauss. As a result, in the decades since Dr. Strauss’s abuse, Murphy has avoided routine

       medical exams and rarely visits the doctor. When he recently was examined by a doctor,

       he had flashbacks to Dr. Strauss’s exams and felt very anxious.         Since the public

       announcement about Dr. Strauss’s abuse, Murphy has felt very upset and anxious, which

       has affected his personal relationships.

                                         JOHN DOE 29

294.   John Doe 29 was a student at OSU from 1983 to 1987, and practiced with OSU’s swim

       team from 1983 to 1984.

295.   John Doe 29 saw Dr. Strauss for the first time in the fall of 1983 at Larkins Hall for a

       required preseason physical.

296.   As a prospective member of the swimming team, John Doe 29 was scheduled to have a

       physical with Dr. Strauss. He and the members of the swim team went to Larkins Hall and

       waited to see Dr. Strauss individually. Each student was alone with Dr. Strauss in Dr.

       Strauss’s Larkins Hall office.

297.   At the physical, Dr. Strauss instructed John Doe 29 to undress completely. Dr. Strauss sat

       on a chair in front of John Doe 29 while John Doe 29 was standing. Dr. Strauss’s face was

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       at eye level with John Doe 29’s genitals. Dr. Strauss told John Doe 29 he was performing

       a hernia check. Dr. Strauss had his hands on John Doe 29’s penis and testicles for a

       prolonged time.

298.   After Dr. Strauss examined John Doe 29’s genitals, he instructed John Doe 29 to get

       dressed and ended the exam.

299.   Dr. Strauss had a reputation among the members of the swim team for being “a strange

       guy.”

300.   John Doe 29 saw Dr. Strauss for a second time between 1984 and 1987 at the Student

       Health Center to be treated for flu-like symptoms. John Doe 29’s OSU-provided insurance

       dictated that he seek treatment at the Student Health Center.

301.   At the exam, Dr. Strauss instructed John Doe 29 to remove his clothing and lay face-down

       on the exam table. Dr. Strauss put on rubber gloves and inserted his fingers in John Doe

       29’s rectum. John Doe 29 almost blacked out from shock and pain.

302.   Dr. Strauss did not say anything at any time before, during, or after inserting his fingers in

       John Doe 29’s rectum. He did not explain his actions or their medical relationship to John

       Doe 29’s flu-like symptoms.

303.   John Doe 29 was confused by both of Dr. Strauss’s exams and believed that Dr. Strauss’s

       behavior was not normal. However, he did not realize at the time that Dr. Strauss had

       sexually abused and harassed him and members of the swim team.

304.   John Doe 29 did not report his discomfort with Dr. Strauss’s examination. He did not know

       that it was something he could complain about.

305.   John Doe 29 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss.

306.   In retrospect, John Doe 29 realizes that Dr. Strauss sexually abused and harassed him and

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       members of the swim team. However, he did not know or have reason to know this until

       2018, when he learned about OSU’s investigation into allegations of abuse by Dr. Strauss.

307.   While John Doe 29 was an OSU student, he trusted that OSU would not allow him to be

       harmed. So, even though he felt uncomfortable during Dr. Strauss’s examinations, John

       Doe 29 did not understand or believe that Dr. Strauss had sexually abused him.

308.   John Doe 29 reasonably believed that OSU would not have made Dr. Strauss a university

       and athletic team doctor unless Dr. Strauss’s examinations were legitimate. In addition,

       John Doe 29 reasonably believed that OSU would not have put Dr. Strauss in a position to

       work at the Student Health Center as a physician unless Dr. Strauss’s examinations were

       legitimate.

309.   Until learning in 2018 about OSU’s investigation into Dr. Strauss’s conduct, John Doe 29

       did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

       conduct or that other students had previously complained to OSU about Dr. Strauss’s

       abuse. Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—

       had harmed him.

310.   In any event, even if, while John Doe 29 was an OSU student, he had tried to inquire further

       into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

       controlled access to that information.

311.   In short, until learning in 2018 about Dr. Strauss’s serial sexual abuse of OSU students,

       John Doe 29 did not know, or have reason to know, that Dr. Strauss had sexually abused

       him, that OSU had known about Dr. Strauss’s serial sexual abuse, or that OSU had failed

       to take appropriate steps to stop Dr. Strauss’s abuse.

312.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 29 would not have been abused by Dr. Strauss.

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313.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 29 has suffered

       emotional and psychological damages. He decided not to pursue OSU’s swimming team

       because, in part, of his physical with Dr. Strauss. He has trouble managing his emotions

       and tends to suppress his feelings until he blows up. His anger at Dr. Strauss’s actions has

       been particularly difficult to manage. John Doe 29 has gone through marriage counseling,

       part of which includes discussing his anger issues caused by Dr. Strauss. Since Dr.

       Strauss’s abuse, John Doe 29 has had difficulty trusting medical providers or any

       professionals who work with children. John Doe 29 is also fearful and anxious about his

       children’s safety, and overprotective of them. This negatively impacts his relationship with

       them. He also has had difficulty trusting OSU as an employer after learning how OSU

       ignored the issues with Dr. Strauss. It has been difficult for John Doe 29 to go to his job

       every day knowing what OSU has done. This contributed to his decision to secure a job

       with another employer and provide OSU with his notice of resignation.

                                        JOHN DOE 30

314.   John Doe 30 has been a youth, high school, and college wrestling referee from 1972 to the

       present. He refereed at OSU three to four times: once during the 1990-1991 academic year

       on behalf of the OSU wrestling team and two to three times around 2007 to 2009 at an

       OSU annual event for autistic children. He was paid by OSU for his referee work on behalf

       of the OSU wrestling team.

315.   Wrestling was an educational program or activity at OSU in which John Doe 30

       participated as a contract referee. In late 1990 or early 1991, John Doe 30 was sexually

       harassed by Dr. Strauss before refereeing a wrestling dual meet between OSU and Indiana

       University at OSU’s St. John Arena. He was 37 years old at the time.

316.   Before the dual meet, John Doe 30 asked an OSU wrestling coach if he could see a trainer

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       to have his back wrapped, as he recently had back surgery. The coach sent him to the

       training room to see a doctor.

317.   John Doe 30 met with a doctor he now knows to be Dr. Strauss. After John Doe 30

       requested a preventative wrap around his back, Dr. Strauss instructed him to lower his pants

       to his knees and either lift up or remove his shirt. Dr. Strauss then instructed John Doe 30

       to lower his underwear to his knees. John Doe 30 believed the request was strange, but he

       complied.

318.   After John Doe 30 had followed Dr. Strauss’s instructions, Dr. Strauss began wrapping a

       bandage around his waist and back. Dr. Strauss brushed his hand against John Doe 30’s

       testicles several times.

319.   When Dr. Strauss finished the wrap, John Doe 30 returned to the wresting area to referee

       the dual meet.

320.   John Doe 30 was disturbed by Dr. Strauss’s behavior and called OSU’s Athletic

       Department to report the incident a few days later. He was connected to an OSU Athletics

       Department employee. John Doe 30 told that person that he “was fondled while getting an

       ACE bandage wrapped during the wrestling meet.” He also gave the OSU employee his

       name and phone number. The employee said, “OK, we’ll take care of it.”

321.   John Doe 30 was never contacted by anyone at OSU regarding his report.

322.   John Doe 30 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss and did not believe there was any recourse for what happened

       to him.

323.   Until 2019, John Doe 30 did not know, or have reason to know, that Dr. Strauss had

       sexually harassed him.

324.   In retrospect, John Doe 30 realizes that Dr. Strauss sexually harassed him. While he felt

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       uncomfortable in the moment, he did not know or have reason to know that he was sexually

       harassed until 2019, when he heard media reports about survivors of Dr. Strauss’s abuse.

325.   Until learning in 2019 about OSU’s investigation into Dr. Strauss’s conduct, John Doe 30

       did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

       conduct or that student-athletes had previously complained to OSU about Dr. Strauss’s

       abuse. Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—

       had harmed him.

326.   Even if, while John Doe 30 was a referee, he had tried to inquire further into OSU’s role

       in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU controlled access to

       that information.

327.   In short, until learning in 2019 about Dr. Strauss’s serial sexual abuse of OSU students,

       John Doe 30 did not know, or have reason to know, that Dr. Strauss had sexually harassed

       him, that OSU had known about Dr. Strauss’s serial sexual abuse and harassment, or that

       OSU had failed to take appropriate steps to stop Dr. Strauss’s abuse and harassment.

328.   As a result of Dr. Strauss’s harassment and OSU’s failure to prevent it, John Doe 30 has

       suffered emotional and psychological damages. After his encounter with Dr. Strauss, John

       Doe 30 felt anxious. He was so bothered by the incident that he called OSU to report it.

       John Doe 30 then developed a deep aversion to discussing Dr. Strauss’s misconduct. Even

       now, he has difficulty discussing Dr. Strauss’s sexual harassment and has only raised the

       incident recently with a few friends.

                                         JOHN DOE 31

329.   John Doe 31 was a student at OSU from 1986 through 1987, and was a member of OSU’s

       gymnastics team during that time. John Doe 31 received a full athletic scholarship.

330.   John Doe 31 relied on his full athletic scholarship to attend college.

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331.   John Doe 31 saw Dr. Strauss once in the fall of 1986 for a physical.

332.   As a member of the gymnastics team, John Doe 31 was required to have a physical with

       Dr. Strauss. He and his teammates went to Larkins Hall and waited to see Dr. Strauss

       individually. Each teammate was alone with Dr. Strauss in Dr. Strauss’s Larkins Hall

       office.

333.   John Doe 31 was instructed to lay flat on the exam table. Dr. Strauss pulled John Doe 31’s

       pants down and conducted a so-called hernia check. He fondled John Doe 31’s testicles

       with both hands and inspected John Doe 31’s penis for a significant period of time. While

       groping John Doe 31, Dr. Strauss commented on John Doe 31’s penis. Dr. Strauss did not

       wear gloves.

334.   Older teammates warned John Doe 31 about Dr. Strauss’s behavior. They told John Doe

       31 and other younger athletes that Dr. Strauss was a “pervert,” and that the underclassmen

       should try to avoid seeing Dr. Strauss if they got sick.

335.   Dr. Strauss frequently stood in the shower while John Doe 31 and his teammates washed

       off, staring at them. Dr. Strauss also attended the gymnastics team’s practices and

       photographed the student-athletes in their uniforms.

336.   John Doe 31 felt violated by Dr. Strauss’s behavior, and thought that Dr. Strauss was

       “really creepy.” However, John Doe 31 did not realize at the time that Dr. Strauss had

       sexually abused and harassed him and his teammates.

337.   John Doe 31 did not report his discomfort with Dr. Strauss’s examination, in part because

       he was fearful of losing his full athletic scholarship. He did not know that it was something

       he could complain about, and felt at the time that it was simply something “you dealt with.”

338.   John Doe 31 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss.

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339.   In retrospect, John Doe 31 realizes that Dr. Strauss sexually abused and harassed him and

       his teammates. However, he did not know or have reason to know this until January 2019,

       when he learned about OSU’s investigation into allegations of abuse by Dr. Strauss.

340.   While John Doe 31 was an OSU student, he trusted that OSU would not allow him to be

       harmed. So, even though he felt uncomfortable during Dr. Strauss’s examinations, John

       Doe 31 did not understand or believe that Dr. Strauss had sexually abused him.

341.   John Doe 31 reasonably believed that OSU would not have made Dr. Strauss the athletic

       team doctor and required him and other athletes to see Dr. Strauss unless Dr. Strauss’s

       examinations were legitimate.

342.   Until learning in 2019 about OSU’s investigation into Dr. Strauss’s conduct, John Doe 31

       did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

       conduct or that other athletes had previously complained to OSU about Dr. Strauss’s abuse.

       Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—had

       harmed him.

343.   In any event, even if, while John Doe 31 was an OSU student, he had tried to inquire further

       into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

       controlled access to that information.

344.   In short, until learning in 2019 about Dr. Strauss’s serial sexual abuse of OSU students,

       John Doe 31 did not know, or have reason to know, that Dr. Strauss had sexually abused

       him, that OSU had known about Dr. Strauss’s serial sexual abuse, or that OSU had failed

       to take appropriate steps to stop Dr. Strauss’s abuse.

345.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 31 would not have been abused by Dr. Strauss.

346.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 31 suffered

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       emotional and psychological damages.

                                         JOHN DOE 32

347.   John Doe 32 was a student at OSU from 1978 to 1980. He was a member of OSU’s

       wrestling team from 1978 to 1979, and a walk-on member of OSU’s football team from

       1978 to 1980. He was a gifted athlete.

348.   John Doe 32 attended OSU on a partial wrestling scholarship. John Doe 32 relied on his

       partial scholarship to attend college.

349.   John Doe 32 saw Dr. Strauss once, in early 1979, when he became dehydrated during a

       prolonged, rigorous training regimen. John Doe 32’s urine was discolored—he had a

       kidney infection and was in serious pain.

350.   John Doe 32 went to the training room at Larkins Hall to seek treatment. The trainers in

       Larkins Hall noticed that John Doe 32 looked extremely ill and called over Dr. Strauss. Dr.

       Strauss told John Doe 32 to sit and wait until all of the trainers and other athletes had

       vacated the premises.

351.   After everyone else had left the area, Dr. Strauss gave John Doe 32 medication, which Dr.

       Strauss said was pain medication. Then, Dr. Strauss walked John Doe 32 into the locker

       room. The two were alone.

352.   John Doe 32 began to feel groggy from the medication Strauss gave him, like he was going

       to pass out.

353.   Dr. Strauss told John Doe 32 to pull his pants down. While John Doe 32 was standing, Dr.

       Strauss sat on a chair and brought his face close to John Doe 32’s crotch. Dr. Strauss poked

       around his lower stomach and genitals, focusing on his genitals. Dr. Strauss pulled on John

       Doe 32’s penis repeatedly. Dr. Strauss then asked John Doe 32: “Does this hurt?” John

       Doe 32 repeatedly asked Dr. Strauss what he was doing, and Dr. Strauss ignored him.

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354.   John Doe 32 then blacked out from the medication Dr. Strauss gave him.

355.   When John Doe 32 came to, he was not sure how long he had been unconscious. He found

       himself face down on the floor experiencing extreme rectal pain. As he came to, he realized

       the pain was because Dr. Strauss was lying behind him, anally raping him. Dr. Strauss then

       asked in a weird, creepy voice: “Are you okay?”

356.   John Doe 32 was bleeding heavily from his anus. John Doe 32 reached behind to his

       buttocks and, when he pulled his hands back, they were covered in blood. John Doe 32 also

       saw that Dr. Strauss’s penis had blood on it.

357.   John Doe 32 had been suffering from hemorrhoids from weightlifting prior to the exam.

358.   The next day, John Doe 32 reported the sexual assault to wrestling coach Chris Ford. Ford

       accused John Doe 32 of lying. The two had an explosive argument.

359.   Ford told John Doe 32 that he would “take care of it.” But no one ever followed up with

       John Doe 32.

360.   To John Doe 32’s knowledge, no one at OSU investigated his allegations, nor did anyone

       take corrective action against Dr. Strauss or ensure that others did.

361.   John Doe 32 felt like he could not do anything more under the circumstances than report

       Dr. Strauss’s sexual assault to his coach.

362.   After John Doe 32 reported the abuse to Ford during the latter part of his freshman year,

       Ford’s demeanor toward John Doe 32 completely changed: instead of helping John Doe

       32, Ford shunned and blacklisted him. Though John Doe 32 finished his freshman season

       as an outcast, he remained on the wrestling team. And when John Doe 32 reported to the

       wrestling team after his sophomore football season, Ford made the decision that John Doe

       32 would not be allowed back on the wrestling team, even though John Doe 32 was a gifted

       wrestler. Ford remained firm in his decision to kick John Doe 32 off the team despite John

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       Doe 32’s repeated and desperate pleas to remain on the team.

363.   John Doe 32 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss or others and did not believe there was any recourse for what

       happened to him.

364.   Until learning in 2018 about an investigation into allegations that Dr. Strauss had sexually

       abused OSU student-athletes, John Doe 32 did not know, or have reason to know, of OSU’s

       role in Dr. Strauss’s sexually abusive medical examinations of him or that other athletes

       had previously complained to OSU about Dr. Strauss’s abuse.

365.   Until hearing reports in 2018, John Doe 32 had no reason to investigate whether OSU—in

       addition to Dr. Strauss—had harmed him. Indeed, Coach Ford’s initial reaction and

       subsequent retaliatory treatment of John Doe 32 served to reinforce John Doe 32’s

       reasonable belief that further inquiry would not be productive.

366.   Even if John Doe 32 had tried to inquire further into OSU’s role in permitting Dr. Strauss’s

       abuse of him, the inquiry would have been futile, as OSU controlled access to that

       information, and through its coaches, treated John Doe 32’s complaints about Dr. Strauss

       as matters of no real concern.

367.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 32 would not have been abused by Dr. Strauss.

368.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 32 has suffered

       emotional and psychological damages. Dr. Strauss drugging and anally raping him,

       coupled with his rejection by the wrestling team and its coach, weighed heavily on him.

       John Doe 32 began getting in trouble; he frequently got into fights, abused alcohol, and

       missed classes. Seeing him spiral, head football coach Earle Bruce required him to get a

       mental health evaluation in the Summer of 1980, which John Doe 32 underwent. After his

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       junior year, emotionally drained, John Doe 32 quit the football team and dropped out of

       OSU. John Doe 32 continued to struggle personally, academically, and professionally. He

       attempted professional football, with limited success, and enrolled at another university.

       However, he found himself continuously haunted by Dr. Strauss’s abuse, and dropped out

       of that university after a brief stint. He developed an eating disorder. Until recently, besides

       telling Ford, John Doe 32 had not been able to bring himself to tell anyone else about the

       details of Dr. Strauss’s horrific acts. He experiences extreme and regular anxiety, which

       manifests itself in insomnia and germophobic tendencies. He is also obsessively concerned

       with keeping his children away from athletic and educational environments where he fears

       they might be vulnerable to sexual predation. These obsessions and concerns have kept

       John Doe 32 from being able to live a normal, healthy life.

                                          JOHN DOE 33

369.   John Doe 33 was a graduate student at OSU from the fall of 1995 through the spring of

       1997.

370.   While a student at OSU, John Doe 33 was examined by Dr. Strauss twice at the campus

       student health center. John Doe 33 visited the center for treatment related to a sexually

       transmitted infection (“STI”). During both visits, John Doe 33 was alone in the exam room

       with Dr. Strauss.

371.   On both occasions, Dr. Strauss instructed John Doe 33 to remove all of his clothing. Dr.

       Strauss methodically examined John Doe 33’s entire body, poking and prodding his chest

       and nipples.

372.   At the first visit, when Dr. Strauss arrived at John Doe 33’s lower body, he placed his face

       directly near John Doe 33’s genitals, interchangeably sitting on a stool at face-level with

       John Doe 33’s crotch and standing. Dr. Strauss repeatedly stroked John Doe 33’s penis.

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373.   Much to his humiliation, John Doe 33 experienced an erection, and apologized to Dr.

       Strauss. Dr. Strauss responded that John Doe 33 didn’t need to apologize, and that an

       erection “help[ed him] to be able to see the lesions.”

374.   After mentioning that John Doe 33’s STI could spread to other places, Dr. Strauss

       examined John Doe 33’s anus.

375.   Dr. Strauss’s examination took a long time, and he spent at least twenty minutes, or more,

       examining John Doe 33’s genitals. Dr. Strauss then provided a quick treatment for John

       Doe 33’s STI. Dr. Strauss instructed John Doe 33 to return to his office the following week.

376.   The following week, Dr. Strauss subjected John Doe 33 to the same routine. He instructed

       John Doe 33 to remove all of his clothing, again gave him a “once over,” and began

       fondling John Doe 33’s penis. While rubbing John Doe 33’s penis, Dr. Strauss commented,

       “oh that’s kind of rough.” He then applied lotion to his hands and stroked John Doe 33’s

       penis repeatedly.

377.   John Doe 33 experienced another erection, this time ejaculating. John Doe 33 was

       devastated, humiliated, and confused. He again apologized to Dr. Strauss. The exam lasted

       between fifteen and twenty minutes.

378.   John Doe 33 felt extreme embarrassment and shame as a result of Dr. Strauss’s actions.

       His sexual performance was affected. He questioned his sexuality. Though John Doe 33

       eventually realized that he was not gay, his shame and confusion caused him a great deal

       of mental anguish.

379.   John Doe 33 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss. He did not believe there was any recourse for what happened

       to him.

380.   John Doe 33 did not recognize Dr. Strauss’s conduct as sexually abusive at the time.

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381.   Until reading news coverage of the OSU investigation in or about April, 2018, John Doe

       33 did not know, or have reason to know, that Dr. Strauss’s examination of him was

       sexually abusive. Nor did he have reason to investigate whether OSU—in addition to Dr.

       Strauss—had harmed him.

382.   This is because, while John Doe 33 was an OSU student, he trusted that OSU would not

       employ a sexual abuser in their student health clinic. He reasonably believed that Dr.

       Strauss’s behavior was part of a legitimate medical examination and blamed himself for

       his emotional and physical reaction to the exam. Though he felt humiliated, confused, and

       uncomfortable during Dr. Strauss’s examinations, John Doe 33 did not understand or

       believe that Dr. Strauss had sexually abused him.

383.   In short, until seeing news coverage in or about April, 2018, about Dr. Strauss’s serial

       sexual abuse of OSU students, John Doe 33 did not know, or have reason to know, that Dr.

       Strauss had sexually abused him, that OSU had known about Dr. Strauss’s serial sexual

       abuse, or that OSU had failed to take the appropriate steps to stop Dr. Strauss’s abuse.

384.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 33 would not have been abused by Dr. Strauss.

385.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 33 has suffered

       emotional and psychological damages. He felt a great deal of shame, embarrassment, and

       confusion after his interactions with Dr. Strauss. He questioned his sexuality. Dr. Strauss’s

       abuse caused John Doe 33 to experience sexual dysfunction. Dr. Strauss’s abuse has also

       impaired John Doe 33’s ability to maintain healthy and stable personal relationships. Since

       the public reporting about Dr. Strauss’s abuse in 2018, John Doe 33 has thought about and

       relived the abuse nearly daily, causing him to feel isolated, confused, anxious, and angry.

       John Doe 33 had been a proud alumnus of OSU but now, realizing that OSU enabled Dr.

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       Strauss’s abuse, John Doe 33 feels betrayed by OSU as an institution.

                                         JOHN DOE 34

386.   John Doe 34 was an undergraduate student at OSU from 1974 to 1978, and a medical

       student at OSU from 1979 to 1982.

387.   John Doe 34 saw Dr. Strauss once in the summer of 1979, before entering medical school.

388.   Prior to entering OSU’s medical school, John Doe 34 was required to undergo an exam.

       Because John Doe 34’s family physician was deceased, John Doe 34 contacted OSU’s

       medical school about obtaining an exam at OSU and an OSU representative arranged for

       John Doe 34 to have a medical exam with Dr. Strauss.

389.   John Doe 34 met with Dr. Strauss at an OSU facility.

390.   Upon entering the exam room, Dr. Strauss instructed John Doe 34 to take off his pants.

       John Doe 34 stripped down to his underwear and sat on the exam table. Dr. Strauss told

       John Doe 34 to stand and drop his underwear. While sitting on a stool at eye-level with

       John Doe 34’s genitals, Dr. Strauss examined John Doe 34’s testicles, lingering there for a

       while. Dr. Strauss then instructed John Doe 34 to lay down on the exam table on his side.

391.   Dr. Strauss conducted a rectal exam, digitally penetrating John Doe 34’s anus.

392.   John Doe 34 thought that the exam was “odd,” and that he had never experienced this type

       of exam before in a check-up.

393.   Dr. Strauss did not wear gloves during the genital exam, but John Doe 34 does not know

       if Dr. Strauss wore gloves during the rectal exam because John Doe 34 was facing away

       from Dr. Strauss.

394.   At the end of the exam, Dr. Strauss told John Doe 34 that he had blood in his urine, and

       that he would have to return to see him. Distraught, John Doe 34 decided not to return to

       Dr. Strauss. He did not see a doctor about blood in his urine until a few years later.

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395.   John Doe 34 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss and did not believe there was any recourse for what happened

       to him.

396.   John Doe 34 did not recognize Dr. Strauss’s conduct as sexually abusive at the time.

397.   Until reading news coverage of the OSU investigation in or about April, 2018, John Doe

       34 did not know, or have reason to know, that Dr. Strauss’s examination of him was

       sexually abusive. Nor did he have reason to investigate whether OSU—in addition to Dr.

       Strauss—had harmed him.

398.   This is because, while John Doe 34 was an OSU student, he trusted that OSU would not

       employ a sexual abuser in their student health clinic. He reasonably believed that Dr.

       Strauss’s behavior, while “odd” and uncomfortable, was part of a legitimate medical

       examination. Though he felt humiliated, confused, and uncomfortable during Dr. Strauss’s

       examination, John Doe 34 did not understand or believe that Dr. Strauss had sexually

       abused him.

399.   In short, until seeing news coverage in or about April, 2018, about Dr. Strauss’s serial

       sexual abuse of OSU students, John Doe 34 did not know, or have reason to know, that Dr.

       Strauss had sexually abused him, that OSU had known about Dr. Strauss’s serial sexual

       abuse, or that OSU had failed to take the appropriate steps to stop Dr. Strauss’s abuse.

400.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 34 would not have been abused by Dr. Strauss.

401.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 34 has suffered

       emotional and psychological damages. Dr. Strauss’s conduct is something he will never

       forget. John Doe 34 developed an aversion to doctors, and did not seek medical attention

       for the blood in his urine until several years after Dr. Strauss abused him.

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                                           JOHN DOE 35

402.   John Doe 35 was a student at OSU from 1988 to 1992, and a member of OSU’s volleyball

       team from 1988 to 1989. John Doe 35 quit the volleyball team after sustaining an injury.

403.   John Doe 35 was examined by Dr. Strauss ten to twelve times, often at the doctor’s Larkins

       Hall office at OSU. He saw Dr. Strauss twice for mandatory annual physicals while a

       member of OSU’s volleyball team. After quitting the volleyball team, John Doe 35

       maintained access to the Larkins Hall facility and continued to see Dr. Strauss for various

       medical appointments.

404.   John Doe 35 was an 18-year-old freshman when he saw Dr. Strauss for the first time.

405.   OSU coaching staff directed John Doe 35 to get a physical with Dr. Strauss.

406.   At the appointment, Dr. Strauss began by touching and rubbing John Doe 35’s entire

       body—his arms, legs, and back. He told John Doe 35 to drop his pants, and sat on a stool

       at eye level with John Doe 35’s genitals. Dr. Strauss fondled John Doe 35’s testicles for a

       prolonged time. The examination lasted significantly longer than a standard medical

       examination.

407.   John Doe 35 found the examination odd. After the examination, John Doe 35 joked about

       the experience with his teammates.

408.   In 1989, John Doe 35 saw Dr. Strauss for another annual physical, where Dr. Strauss gave

       him the same type of prolonged examination. Again, Dr. Strauss fondled John Doe 35’s

       testicles for a significant time.

409.   John Doe 35 was ill every year that he attended OSU. Though his illnesses were unrelated

       to his genitals, on each occasion, Dr. Strauss gave him the same type of examination,

       focusing on John Doe 35’s genitals and fondling his testicles.

410.   John Doe 35’s teammates joked about their experiences with Dr. Strauss.

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411.   During a volleyball competition trip to the University of Southern California, Dr. Strauss

       hung around the showers and watched the players, including John Doe 35. On another

       occasion, Dr. Strauss took photographs of John Doe 35 while John Doe 35 played

       volleyball and gave the photographs to John Doe 35. Dr. Strauss also went with the team

       to the beach and photographed the players in their swimsuits.

412.   John Doe 35 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss and did not believe there was any recourse for what happened

       to him.

413.   John Doe 35 did not recognize Dr. Strauss’s conduct as sexually abusive at the time.

414.   Until reading news coverage of the OSU investigation in or about April or May, 2018, John

       Doe 35 did not know, or have reason to know, that Dr. Strauss’s examination of him was

       sexually abusive. Nor did he have reason to investigate whether OSU—in addition to Dr.

       Strauss—had harmed him.

415.   This is because, while John Doe 35 was a student at OSU, he reasonably believed that OSU

       would not have hired Dr. Strauss, or sent John Doe 35 and other athletes to see Dr. Strauss,

       unless Dr. Strauss’s examinations were legitimate. John Doe 35 believed that, while

       “weird,” Dr. Strauss’s examinations were part of OSU’s process for student-athletes, and

       that there was no way for him to argue with the doctor or university.

416.   In short, until seeing news coverage in April or May of 2018 about Dr. Strauss’s serial

       sexual abuse of OSU students, John Doe 35 did not know, or have reason to know, that Dr.

       Strauss had sexually abused him, that OSU had known about Dr. Strauss’s serial sexual

       abuse, or that OSU had failed to take the appropriate steps to stop Dr. Strauss’s abuse.

417.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 35 would not have been abused by Dr. Strauss.

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418.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 35 has suffered

       emotional and psychological damages. For example, every time that John Doe 35 receives

       a physical from a doctor, he is immediately brought back to his experience with Dr. Strauss.

       He fears for the safety of his children and will only allow them to see female doctors. John

       Doe 35 avoids taking showers in locker rooms for fear that other men may be sexually

       gratified by seeing him naked. Learning that no one at OSU ever stopped Dr. Strauss from

       abusing students has caused him great anger.

                                        JOHN DOE 36

419.   John Doe 36 was an undergraduate student at OSU from 1978 to 1983, and a graduate

       student studying physical education at OSU from 1984 to 1985.

420.   John Doe 36 interacted with Dr. Strauss on one occasion in February of 1984 after John

       Doe 36 sustained a back strain from his training for an intramural swim competition. An

       OSU physical education professor referred John Doe 36 to Dr. Strauss.

421.   John Doe 36 informally approached Dr. Strauss in the locker room at Larkins Hall to ask

       Dr. Strauss about treatment for his back. John Doe 36 was wearing a Speedo. Dr. Strauss

       took John Doe 36 between a concealed row of lockers, where no other people were around,

       and began feeling up and down John Doe 36’ back. He then moved his hand between John

       Doe 36’ buttocks. Dr. Strauss was not wearing gloves. John Doe 36 reminded Dr. Strauss

       that his pain was in his lower back only.

422.   Without warning, Dr. Strauss then moved behind John Doe 36, put his hand down John

       Doe 36’s Speedo and grabbed the shaft of his penis. After doing so, Dr. Strauss walked

       away without saying anything.

423.   After this encounter, John Doe 36 purposefully avoided Dr. Strauss every time he was in

       the Larkins Hall locker room. He would turn and walk in the opposite direction whenever

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       Dr. Strauss was around.

424.   John Doe 36 did not recognize Dr. Strauss’s conduct as sexually abusive at the time. He

       merely felt that Dr. Strauss was “really weird” and that his behavior was “creepy” and

       seemed “totally inappropriate.”

425.   John Doe 36 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss and did not believe there was any recourse for what happened

       to him.

426.   While John Doe 36 was an OSU student, he trusted that OSU would not allow him to be

       harmed. So, even though he felt uncomfortable with Dr. Strauss’s examination and

       conduct, John Doe 36 did not understand that Dr. Strauss had sexually abused him.

427.   John Doe 36 reasonably believed that OSU would not have kept Dr. Strauss on staff as an

       OSU doctor unless Dr. Strauss’s examinations were legitimate.

428.   Until learning in May 2018 about OSU’s investigation into Dr. Strauss’s conduct, John

       Doe 36 did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually

       abusive conduct or that other students had previously complained to OSU about Dr.

       Strauss’s abuse. Nor did he have reason to investigate whether OSU—in addition to Dr.

       Strauss—had harmed him.

429.   In any event, even if, while John Doe 36 was an OSU student, he had tried to inquire further

       into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

       controlled access to that information.

430.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 36 would not have been abused by Dr. Strauss.

431.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 36 has suffered

       emotional and psychological damages. For example, John Doe 36 is anxious whenever he

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       goes into a locker room, and fears that he has to constantly watch out for predators. He is

       now a coach himself, and his ability to do his job is impaired by his need to be “on guard”

       at all times while in a locker room. John Doe 36 also has an aversion to seeing male doctors,

       and ever since his abuse, chooses to only see female doctors. Finally, John Doe 36 always

       considered OSU to be a huge part of his family and his life; he met his wife at OSU and

       his children were born at the OSU medical center. Since learning of OSU’s role in allowing

       a sexually hostile culture to flourish on its campus, John Doe 36 has felt angry and stressed,

       and has experienced elevated blood pressure as a result.

                                         JOHN DOE 37

432.   John Doe 37 was a student at OSU between 1989 and 1993, and a member of OSU’s

       cheerleading team from 1990 to 1992. John Doe 37 originally enrolled at OSU in 1985, but

       left shortly thereafter to join the Navy. He re-enrolled at OSU in 1989.

433.   John Doe 37 attended OSU on a partial athletic scholarship. He relied on his scholarship

       to attend college.

434.   As a member of OSU’s cheerleading team, John Doe 37 was required to undergo yearly

       physicals with Dr Strauss. John Doe 37 also saw Dr. Strauss three times for STI treatment.

435.   Each examination occurred in Dr. Strauss’s office on OSU property. John Doe 37 and Dr.

       Strauss were alone during each examination, and Dr. Strauss locked the door to the exam

       room.

436.   During one of the examinations, Dr. Strauss instructed John Doe 37 to drop his pants while

       standing. Dr. Strauss sat eye-level with John Doe 37’s genitals. He grabbed the tip of John

       Doe 37’s penis and examined it extensively, looking under and around it.

437.   John Doe 37 experienced an erection. Dr. Strauss continued moving a finger up and down

       John Doe 37’s penis until John Doe 37 ejaculated. John Doe 37 was mortified. Dr. Strauss

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       said to him, “It’s fine, it happens.” Dr. Strauss then took a Q-Tip and rubbed it around John

       Doe 37’s scrotum and rectum.

438.   John Doe 37 left the examination in shock. He wondered whether what had happened was

       his own fault. He was mortified by the experience.

439.   Shortly after that exam, John Doe 37 contracted molluscum, a viral skin infection.

440.   John Doe 37 saw Dr. Strauss three times for molluscum treatment. On each occasion, Dr.

       Strauss gave John Doe 37 the same exam, stroking John Doe 37’s penis until he ejaculated.

441.   John Doe 37 was embarrassed, ashamed, and confused by his experiences with Dr. Strauss.

       He told no one of what had happened, fearing that others would think he was gay. He

       struggled with his sexual identity and questioned whether he was gay.

442.   John Doe 37’s teammates regularly joked about Dr. Strauss’s conduct. Before John Doe

       37 had his exams with Dr. Strauss, his teammates would joke, “Watch out for Strauss.”

       One of his teammates also joked, “If you gotta visit the doc, be careful.”

443.   John Doe 37 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss and did not believe there was any recourse for what happened

       to him.

444.   Until learning in 2018 about an investigation into allegations that Dr. Strauss had sexually

       abused OSU student-athletes, John Doe 37 did not know, or have reason to know, of OSU’s

       role in Dr. Strauss’s sexually abusive medical examinations of him or that other athletes

       had previously complained to OSU about Dr. Strauss’s abuse.

445.   Until hearing reports in 2018, John Doe 37 had no reason to investigate whether OSU—in

       addition to Dr. Strauss—had harmed him.

446.   This is because, in John Doe 37’s experience, Dr. Strauss’s genital examinations were a

       running joke among players.

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447.   Even if John Doe 37 had tried to inquire into OSU’s role in permitting Dr. Strauss’s abuse

       of him, the inquiry would have been futile, as OSU controlled access to that information.

448.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 37 would not have been abused by Dr. Strauss.

449.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 37 has suffered

       emotional and psychological damages. After the examinations, John Doe 37 felt extremely

       upset and became depressed. He was embarrassed, ashamed, and confused. He struggled

       with his sexual identity and questioned whether he was gay. He kept silent, fearing that

       others would think he was gay. He thought about committing suicide. He eventually was

       prescribed medication for depression. To this day, he continues to suffer from depression

       and other mental health issues arising from Dr. Strauss’s abuse and OSU’s failure to

       prevent it. In addition, he developed an aversion to seeing doctors, and has fewer visits

       because he fears that something similar to what occurred with Dr. Strauss will happen

       again. Finally, John Doe 37’s marriage has suffered as a result of his experiences with Dr.

       Strauss.

                                        JOHN DOE 38

450.   John Doe 38 attended OSU and was a member of OSU’s wrestling team from 1976 to 1981.

       He was recruited by OSU and received a full athletic scholarship.

451.   John Doe 38 depended on his full scholarship to attend college.

452.   John Doe 38 received many accolades during his time at OSU. As captain of the OSU

       wrestling team, he led the team to Big Ten Championships in two weight classes.

453.   When John Doe 38 was a student athlete at OSU, the athletic department required him to

       be examined by Dr. Strauss for any medical conditions that arose.

454.   Dr. Strauss abused John Doe 38 at least six times on OSU property. Dr. Strauss conducted

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       medically unnecessary genital exams on John Doe 38 during their medical appointments.

       He also harassed and assaulted John Doe 38 in the steam room, shower area, and training

       room at Larkins Hall.

455.   Dr. Strauss frequently approached John Doe 38 in the steam room and shower area at

       Larkins Hall while completely naked. He showered with John Doe 38 after every practice,

       sometimes multiple times a day.

456.   While in the steam room and shower area, Dr. Strauss fondled John Doe 38’s testicles and

       penis on multiple occasions. On one occasion while John Doe 38 and Dr. Strauss were

       alone in the steam room, Dr. Strauss attempted to perform oral sex on John Doe 38. As Dr.

       Strauss brought his mouth close to John Doe 38’s penis, John Doe 38 pushed him away to

       prevent him from performing the act.

457.   John Doe 38 sustained rib and knee injuries while on OSU’s wrestling team, which

       necessitated surgery. John Doe 38 had three or four follow-up appointments with Dr.

       Strauss. At each follow-up appointment, Dr. Strauss performed a medically unnecessary

       genital exam on John Doe 38.

458.   During these various encounters, Dr. Strauss repeatedly made inappropriate and lewd

       comments to John Doe 38. He told John Doe 38 that John Doe 38 had “a nice ass” and that

       his “penis looks lovely.” He frequently asked John Doe 38 about his sex life. He also

       invited John Doe 38 to go back to his house with him, but John Doe 38 refused.

459.   John Doe 38 felt that Dr. Strauss stalked him during his time at OSU. At Larkins Hall, John

       Doe 38 often looked up to see Dr. Strauss staring at him while he was showering or

       changing. Dr. Strauss also appeared at parties John Doe 38 was attending, and tried to act

       as if he were John Doe 38’s best friend.

460.   Dr. Strauss’s behavior was creepy, uncomfortable, and unnerving to John Doe 38.

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461.   Dr. Strauss prescribed various narcotics to John Doe 38, including Valium. John Doe 38

       believes that Dr. Strauss did this in an attempt to drug John Doe 38 to attempt to have sex

       with him.

462.   John Doe 38 saw that his teammates had similar experiences with Dr. Strauss. Dr. Strauss

       gave John Doe 38’s teammates medically unnecessary genital exams, observed them while

       showering, and fondled their penises and testicles in an effort to get them erect.

463.   John Doe 38 and his teammates regularly joked about Dr. Strauss’s treatment in the

       presence of OSU staff. When John Doe 38 discussed how Dr. Strauss had touched him,

       Assistant Coach Roger Young and Graduate Assistant Coach Cox merely laughed off John

       Doe 38’s remarks. They did not inquire further as to Dr. Strauss’s behavior or offer any

       means through which John Doe 38 could report any concerns. Both coaches called Dr.

       Strauss “Dr. Levi,” joking that he wanted to get into the players’ jeans.

464.   John Doe 38 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss and did not believe there was any recourse for what happened

       to him.

465.   John Doe 38 did not recognize Dr. Strauss’s actions as sexually abusive at the time.

466.   Until learning in 2018 about an investigation into allegations that Dr. Strauss had sexually

       abused OSU student-athletes, John Doe 38 did not know, or have reason to know, of OSU’s

       role in Dr. Strauss’s sexually abusive medical examinations of him or that other athletes

       had previously complained to OSU about Dr. Strauss’s abuse.

467.   Until hearing reports in 2018, John Doe 38 had no reason to investigate whether OSU—in

       addition to Dr. Strauss—had harmed him.

468.   This is because, while John Doe 38 attended OSU, student-athletes openly joked about Dr.

       Strauss’s examinations in front of their coaches, the coaches continued to require John Doe

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       38 and other athletes to see Dr. Strauss for examinations and treatment, and John Doe 38

       reasonably believed that OSU would not have made Dr. Strauss the athletic team doctor

       and required him and other athletes to see Dr. Strauss unless Dr. Strauss’s examinations

       were legitimate.

469.   In addition, Coach Young’s and Coach Cox’s unconcerned reaction to his and his

       teammates’ complaints about Dr. Strauss did not give John Doe 38 any reason to

       investigate what Dr. Strauss or OSU was doing or failing to do. The coaches’ habit of

       joking about Dr. Strauss served to reinforce John Doe 38’s reasonable belief that further

       inquiry would not be productive. In any event, an investigation would have been futile

       because OSU controlled access to all relevant information.

470.   Even if John Doe 38 had tried to inquire further into OSU’s role in permitting Dr. Strauss’s

       abuse of him, the inquiry would have been futile, as OSU controlled access to that

       information, and, through its coaches, trainers and administrators, treated John Doe 38’s

       complaints about Dr. Strauss as matters of no real concern.

471.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 38 would not have been abused by Dr. Strauss.

472.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 38 has suffered

       emotional and psychological damages. At the time of the abuse, John Doe 38 experienced

       deep shame and humiliation, and questioned his sexuality. Over the years, he has had

       difficulty forming and maintaining intimate relationships as a result of the trauma he

       experienced. John Doe 38 also developed an aversion to doctors and has avoided getting

       regular physicals as a result of his experiences with Dr. Strauss. For example, in the late

       1980s, John Doe 38 began losing weight and believed it may have been from an infectious

       disease contracted from Dr. Strauss’s touching him. Because of his aversion to doctors,

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       John Doe 38 delayed seeking medical treatment, which caused him severe stress and

       anxiety. When he finally saw a doctor, he discovered that he had a thyroid condition.

                                        JOHN DOE 39

473.   John Doe 39 was a student at OSU from 1986 to 1991, and a member of the OSU soccer

       team in 1986. John Doe 39 attended OSU on a partial scholarship.

474.   John Doe 39 quit the OSU soccer team halfway through his first season.

475.   John Doe 39 was an 18-year-old freshman when he was first examined by Dr. Strauss.

476.   OSU coaching staff instructed John Doe 39 to get a physical from Dr. Strauss before he

       could begin playing on the soccer team.

477.   John Doe 39 gathered with a few other players outside of Larkins Hall. One by one, players

       entered Larkins Hall and then a private exam room to meet with Dr. Strauss. After one

       player left the exam room and building, another would enter. The players were alone with

       Dr. Strauss in the exam room. It seemed strange to John Doe 39 that the players were

       required to wait outside the building, rather than outside the exam room, but inside the

       building.

478.   While waiting in line, the upperclassmen teased the underclassmen about their impending

       exams with Dr. Strauss. They made comments like, “This guy is handsy,” and “Strauss is

       going to like you” to the underclassmen players, including John Doe 39. Teammates made

       jokes about Dr. Strauss giving players rectal exams.

479.   When John Doe 39 went into the exam room, Dr. Strauss asked John Doe 39 to pull his

       shorts down. He then conducted a hernia exam on John Doe 39, and cupped John Doe 39’s

       scrotum without wearing gloves. Dr. Strauss commented on the appearance of John Doe

       39’s penis. He began to stroke John Doe 39’s penis repeatedly and John Doe 39 became

       erect. John Doe 39 pulled away in shock and put his shorts back on.

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480.   On his way out of Larkins Hall, John Doe 39 vomited. He was shamed, humiliated, and

       confused as to what had just occurred.

481.   Unable to cope with the trauma, John Doe 39 quit the OSU soccer team halfway through

       his freshman season, after experiencing a mental breakdown. Playing soccer was

       everything to John Doe 39 and a big part of his identity. By quitting the team, John Doe 39

       lost friends and his social circle. Much to John Doe 39’s surprise and disappointment, no

       OSU coaches ever bothered to ask him why he was quitting.

482.   The year after Dr. Strauss abused John Doe 39, John Doe 39 threatened to kill himself. He

       confided in a friend about his plan who, in turn, informed John Doe 39’s father. John Doe

       39’s father called the police, who removed John Doe 39 from class and placed him into

       therapy. Had no one intervened, John Doe 39 would have followed through on his plan.

483.   After John Doe 39 graduated from OSU, he ran into Dr. Strauss in a grocery store. John

       Doe 39 suffered a panic attack, abandoning his shopping cart and running back to the car.

       While recovering from his panic attack, John Doe 39 contemplated bringing a baseball bat

       into the grocery store and beating Dr. Strauss. This violent instinct, born of John Doe 39’s

       deep-seated trauma, contradicted his otherwise peaceable nature, and caused him great

       angst. He ultimately left the parking lot without approaching Dr. Strauss and never saw Dr.

       Strauss again.

484.   John Doe 39 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss and did not believe there was any recourse for what happened

       to him.

485.   While John Doe 39 was an OSU student, he trusted that OSU would not allow him to be

       harmed. So, even though he felt very uncomfortable during Dr. Strauss’s examination, John

       Doe 39 did not understand or believe that Dr. Strauss had sexually abused him.

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486.   John Doe 39 reasonably believed that OSU would not have made Dr. Strauss the athletic

       team doctor and required him and other athletes to see Dr. Strauss unless Dr. Strauss’s

       examinations were legitimate.

487.   Until learning in 2018 about OSU’s investigation into Dr. Strauss’s conduct, John Doe 39

       did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

       conduct or that other student-athletes had previously complained to OSU about Dr.

       Strauss’s abuse. Nor did he have reason to investigate whether OSU had harmed him.

488.   Even if, while John Doe 39 was an OSU student, he had tried to inquire further into OSU’s

       role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU controlled access

       to that information.

489.   In short, until learning in 2018 about Dr. Strauss’s serial sexual abuse of OSU students,

       John Doe 39 did not know, or have reason to know, that Dr. Strauss had sexually abused

       him, that OSU had known about Dr. Strauss’s serial sexual abuse, or that OSU had failed

       to take appropriate steps to stop Dr. Strauss’s abuse.

490.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 39 has suffered

       emotional and psychological damages, which led him to attempt suicide in college. John

       Doe 39 repressed memories of his trauma for over three decades and experiences guilt for

       not preventing Dr. Strauss from abusing others. He has needed therapy to help him process

       his trauma. The abuse he experienced has also impaired his personal relationships and

       caused him to develop an addiction to pornography. Dr. Strauss’s abuse caused John Doe

       39 to question his sexuality and John Doe 39 had trouble discerning his sexual identity. He

       kept the abuse a secret from his wife until recently. He fears sending his children off to

       college because he is anxious that they will be abused like he was.



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                                        JOHN DOE 40

491.   John Doe 40 was a student at OSU from 1986 to 1989. He played intramural ice hockey

       during that time.

492.   John Doe 40 saw Dr. Strauss once for an examination, when he was required by OSU to

       obtain a physical as a prerequisite for playing intramural hockey.

493.   John Doe 40 saw Dr. Strauss in an exam room at the OSU Student Health Center.

494.   Dr. Strauss instructed John Doe 40 to drop his pants, then aggressively groped John Doe

       40’s testicles and gave John Doe 40 a rectal exam.

495.   Dr. Strauss made inappropriate comments to John Doe 40 while examining his genitals.

       He told John Doe 40 how fascinating he found scrotums to be and that they were “like

       chicken skin.”

496.   Dr. Strauss’s examination made John Doe 40 extremely uncomfortable, confused, and

       embarrassed.

497.   John Doe 40 was never informed or made aware of any grievance procedure to complain

       about Dr. Strauss.

498.   In retrospect, John Doe 40 realizes that Dr. Strauss sexually abused and harassed him.

       However, he did not know or have reason to know this, until 2018, after he learned about

       OSU’s investigation into allegations of abuse by Dr. Strauss. John Doe 40 did not recognize

       Dr. Strauss’s conduct as sexually abusive at the time.

499.   While John Doe 40 was an OSU student, he trusted that OSU would not allow him to be

       harmed. So, even though he felt uncomfortable with Dr. Strauss’s examination and

       conduct, John Doe 40 did not understand that Dr. Strauss had sexually abused him.

500.   John Doe 40 reasonably believed that OSU would not have kept Dr. Strauss on staff as an

       OSU doctor unless Dr. Strauss’s examinations were legitimate.

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501.   Until learning in May 2018 about OSU’s investigation into Dr. Strauss’s conduct, John

       Doe 40 did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually

       abusive conduct or that other students had previously complained to OSU about Dr.

       Strauss’s abuse. Nor did he have reason to investigate whether OSU—in addition to Dr.

       Strauss—had harmed him.

502.   In any event, even if, while John Doe 40 was an OSU student, he had tried to inquire further

       into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

       controlled access to that information.

503.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 40 would not have been abused by Dr. Strauss.

504.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 40 has suffered

       emotional and psychological damages. Strauss’s abuse greatly impacted his relationship

       with his long-time partner, who ended their relationship in 2019. Since his exam with Dr.

       Strauss, John Doe 40 has been distrustful of medical professionals. After John Doe 40

       learned in 2018 that Strauss abused many other students for over a decade after his exam,

       he has felt tremendous guilt for not having reported his own abuse to OSU.

                                          JOHN DOE 41

505.   John Doe 41 was a student at OSU from 1987 through 1992, and a member of OSU’s

       wrestling team during that time.

506.   John Doe 41 began seeing Dr. Strauss for physicals in 1988. These physicals were required

       for OSU wrestlers, and John Doe 41 was never given an option to see anyone other than

       Dr. Strauss.

507.   During the four years that he wrestled at OSU, John Doe 41 saw Dr. Strauss for

       approximately thirty-nine exams.

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508.   Every appointment with Dr. Strauss occurred in Dr. Strauss’s office in Larkins Hall.

509.   John Doe 41’s first physical with Dr. Strauss was in December 1988. He, along with a few

       other wrestlers, were called from the locker room to go see Dr. Strauss. Each entered the

       office alone.

510.   Before his first visit, John Doe 41 was warned by a fellow teammate to “think about Tonka

       trucks” while Dr. Strauss examined him, suggesting that Dr. Strauss would touch him

       inappropriately.

511.   When John Doe 41 entered the office, Dr. Strauss told him to drop his underwear. Dr.

       Strauss then sat on a stool while John Doe 41 stood, and brought his face very close to John

       Doe 41’s genitals. Dr. Strauss began moving John Doe 41’s genitals around extensively,

       examining and touching him for several minutes. Dr. Strauss repeatedly rubbed and

       touched John Doe 41’s penis and testicles, attempting to give John Doe 41 an erection.

512.   John Doe 41 felt uncomfortable, confused, and completely powerless. He cast his eyes

       about the room, desperately trying to think about other subjects while Dr. Strauss groped

       him.

513.   From 1988 through 1992, John Doe 41 saw Dr. Strauss for exams approximately six times

       his first season, twelve times his second season, fifteen times his third season, and six times

       his fourth season. Dr. Strauss conducted a similar exam and attempted to give John Doe 41

       an erection by fondling his penis and testicles during almost all of John Doe 41’s

       appointments.

514.   Dr. Strauss frequently went into the showers and locker rooms while John Doe 41 and his

       teammates were showering or changing, often in the middle of the afternoon.

515.   Periodically, Dr. Strauss left envelopes with photos of John Doe 41 outside of John Doe

       41’s locker. These photos depicted John Doe 41 wrestling at tournaments.

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516.   John Doe 41 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss.

517.   Until learning in late 2018 or early 2019 about an investigation into allegations that Dr.

       Strauss had sexually abused OSU student-athletes, John Doe 41 did not know, or have

       reason to know, of OSU’s role in Dr. Strauss’s sexually abusive medical examinations of

       him or that other athletes had previously complained to OSU about Dr. Strauss’s abuse.

518.   Until hearing reports in late 2018 or early 2019, John Doe 41 had no reason to investigate

       whether OSU—in addition to Dr. Strauss—had harmed him.

519.   Even if, while he was an OSU student, John Doe 41 had tried to inquire into OSU’s role in

       permitting Dr. Strauss’s abuse of him, the inquiry would have been futile, as OSU

       controlled access to that information.

520.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 41 would not have been abused by Dr. Strauss.

521.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 41 has suffered

       emotional and psychological damages. Since Dr. Strauss’s examinations first took place,

       John Doe 41 has suffered recurring thoughts about the abuse. John Doe 41 lost trust in

       authority figures. He is skeptical of medical professionals and his bosses and co-workers.

       John Doe 41 fears for the safety of his children. He always ensures that his children are

       never alone with authority figures because he fears they may be abused.

                                        JOHN DOE 42

522.   John Doe 42 has been a college wrestling referee from 1990 to present. He refereed at OSU

       a few times a year, and was paid by OSU for his work each time. Wrestling was an

       educational program or activity at OSU in which John Doe 42 participated as a paid referee.

       In 1994 or 1995, John Doe 42 was abused by Dr. Strauss after refereeing a wrestling match

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       at OSU’s St. John Arena. He was in his mid-forties at the time.

523.   After the match, John Doe 42 entered the locker room, which was used regularly by

       referees to change and shower after matches. Dr. Strauss walked in and began undressing

       at the lockers beside John Doe 42. There was no one else in the locker room at the time.

524.   Dr. Strauss told John Doe 42 that he had somewhere to be and wanted to take a quick

       shower. John Doe 42 finished undressing first and went to the shower at the far side of the

       shower room. The shower room was an open shower, with five showers down the line on

       all four sides. All of the showers were unoccupied, but instead of taking a shower far away

       from John Doe 42, Dr. Strauss took the shower directly beside John Doe 42.

525.   John Doe 42 recalls that there was a tremendous amount of soap all over Dr. Strauss. Before

       he knew it, John Doe 42 realized that some part of Dr. Strauss’s body was touching him.

       John Doe 42 looked up and saw Dr. Strauss masturbating while staring right at John Doe

       42. John Doe 42 recoiled, said “What the hell, Doctor?”, and left the shower.

526.   Dr. Strauss followed John Doe 42 out of the shower. He was wearing a towel and John Doe

       42 could see an erection visible through Dr. Strauss’s towel. Dr. Strauss then said to John

       Doe 42, “You have a nice penis and physique, there’s nothing wrong with the human

       body.” John Doe 42 told Dr. Strauss that he found his behavior inappropriate.

527.   John Doe 42 left the locker room, and told Coach Hellickson and Assistant Coach Jordan

       that he had found Dr. Strauss “whacking off in the shower.” They responded, “Yeah, that’s

       Strauss.”

528.   John Doe 42 knew that Dr. Strauss was rumored to hang around the showers with the

       wrestlers. He always saw Dr. Strauss at the wrestling matches he refereed.

529.   John Doe 42 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss and did not believe there was any recourse for what happened

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       to him.

530.   Until seeing news coverage of the OSU investigation in 2018, John Doe 42 did not know,

       or have reason to know, that Dr. Strauss had sexually harassed him.

531.   In retrospect, John Doe 42 realizes that Dr. Strauss sexually harassed him. While he felt

       uncomfortable in the moment and thought that Dr. Strauss was coming on to him, he did

       not know or have reason to know that he was sexually harassed until 2018, when he learned

       about OSU’s investigation into allegations of abuse by Dr. Strauss.

532.   Until learning in 2018 about OSU’s investigation into Dr. Strauss’s conduct, John Doe 42

       did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

       conduct or that student athletes had previously complained to OSU about Dr. Strauss’s

       abuse. Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—

       had harmed him.

533.   Even if, while John Doe 42 was a referee, he had tried to inquire further into OSU’s role

       in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU controlled access to

       that information.

534.   In short, until learning in 2018 about Dr. Strauss’s serial sexual abuse of OSU students,

       John Doe 42 did not know, or have reason to know, that Dr. Strauss had sexually harassed

       him, that OSU had known about Dr. Strauss’s serial sexual abuse and harassment, or that

       OSU had failed to take appropriate steps to stop Dr. Strauss’s abuse and harassment.

535.   As a result of Dr. Strauss’s harassment and OSU’s failure to prevent it, John Doe 42 has

       suffered emotional and psychological damages. After his encounter with Dr. Strauss, John

       Doe 42 felt enormous guilt, and wondered whether OSU student wrestlers were being

       abused by Dr. Strauss. He would think back to his experience with Dr. Strauss every time

       he walked into St. John Arena.

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                                         JOHN DOE 43

536.   John Doe 43 was a student at OSU from 1988 to 1992, and a member of OSU’s lacrosse

       team during that time. He received a partial athletic scholarship.

537.   John Doe 43 relied on his partial athletic scholarship to attend college.

538.   John Doe 43 saw Dr. Strauss for a pre-season physical for the first time in 1988, when he

       was an 18-year-old freshman.

539.   Each appointment with Dr. Strauss occurred at the Jesse Owens Football Facility. John

       Doe 43 was alone with Dr. Strauss on each occasion.

540.   During John Doe 43’s first appointment with Dr. Strauss in 1988, Dr. Strauss told John

       Doe 43 to take his shirt off and pull down his pants. Dr. Strauss grabbed John Doe 43’s

       genitals, examining his penis and testicles. The examination took a long time—much

       longer than the quick physicals to which John Doe 43 was accustomed.

541.   Dr. Strauss’s conduct made John Doe 43 extremely uncomfortable. He walked out of the

       appointment confused and stunned, wondering what had just happened. He dreaded having

       to return the next year to see Dr. Strauss for another pre-season physical.

542.   John Doe 43 was injured shortly after his freshman year. He went to the Jesse Owens

       Football Facility to receive treatment and asked for a doctor other than Dr. Strauss. John

       Doe 43 met with Dr. Lombardo who asked why John Doe 43 refused to see Dr. Strauss.

       John Doe 43 told Dr. Lombardo that Dr. Strauss did “creepy stuff,” including grabbing

       John Doe 43’s penis, during extensive genital exams. Dr. Lombardo looked concerned and

       told John Doe 43 to wait while he left the room to retrieve another doctor. Dr. Lombardo

       returned with Dr. Bob Murphy, OSU’s Head Team Physician/Director of Sports Medicine.

       Dr. Lombardo asked John Doe 43 to tell Dr. Murphy what he had just said about Dr.

       Strauss. John Doe 43 complied. Dr. Lombardo and Dr. Murphy looked at each other and

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       said nothing. Dr. Murphy left the room and Dr. Lombardo proceeded to provide medical

       treatment for John Doe 43’s injuries.

543.   Later that day, John Doe 43 received a phone call from Dr. Strauss at his student residence.

       John Doe 43 thought he was in trouble for telling Dr. Lombardo and Dr. Murphy about

       what Dr. Strauss had done to him. Dr. Strauss asked all about the injury for which he had

       sought treatment from Dr. Lombardo earlier that day. Dr. Strauss never mentioned Dr.

       Lombardo or Dr. Murphy, or John Doe 43’s complaint about Dr. Strauss. John Doe 43

       believes they must have told Dr. Strauss about his complaint.

544.   However, to John Doe 43’s knowledge, no one ever followed up with his complaint about

       Dr. Strauss, nor did anyone take corrective action against Dr. Strauss.

545.   Because no action was taken against Dr. Strauss and because John Doe 43 was required to

       see Dr. Strauss for examinations and medical treatment after his complaint, John Doe 43

       thought that Dr. Strauss’s examinations must be legitimate.

546.   At a pre-season physical during John Doe 43’s sophomore year, Dr. Strauss gave John

       Doe 43 the same lengthy examination from the previous year, again fondling John Doe

       43’s penis and testicles. This time, Dr. Strauss also felt up John Doe 43’s abdomen with

       one hand, while using his other hand to inspect John Doe 43’s penis.

547.   During John Doe 43’s third annual physical with Dr. Strauss, John Doe 43 attempted to

       shield his penis and genitals with his hand from Dr. Strauss. Dr. Strauss removed John Doe

       43’s hand and continued to give him the same extensive genital exam.

548.   In all, John Doe 43 saw Dr. Strauss at least ten times, both for annual physicals and other

       medical appointments. Most of the time, Dr. Strauss required John Doe 43 to remove his

       pants—even for medical appointments for which genital exams were unnecessary—and

       fondled his penis and testicles, studying his penis for an extended period of time.

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549.   At many of these appointments, Dr. Strauss made inappropriate comments about John Doe

       43’s body. He remarked that John Doe 43 had “nice abs” and strong legs, while rubbing

       John Doe 43’s body.

550.   Dr. Strauss frequently hung out in the locker room while John Doe 43 and his teammates

       were changing.

551.   After John Doe 43’s complaint to Dr. Lombardo and Dr. Murphy, he did not make

       additional complaints about Dr. Strauss’s conduct and continued to see Dr. Strauss, in part

       because he was fearful of losing his partial athletic scholarship. In addition, John Doe 43

       was intimidated by Dr. Strauss’s credentials, and believed that Dr. Strauss had the ultimate

       power to keep him from playing lacrosse. John Doe 43 believed that, if he complained

       again or refused to see Dr. Strauss, he would either not be cleared to play, or would be

       kicked off the team entirely.

552.   Even after John Doe 43 made his complaint to Dr. Lombardo and Dr. Murphy, he was

       never informed or made aware of any OSU grievance procedure to complain about Dr.

       Strauss.

553.   In retrospect, John Doe 43 realizes that Dr. Strauss sexually abused and harassed him and

       his teammates. However, he did not know or have reason to know this until around 2018,

       when he learned about sex abuse scandals at various American colleges and universities,

       including at OSU.

554.   While John Doe 43 was an OSU student, he trusted that OSU would not allow him to be

       harmed. So, even though he felt uncomfortable during Dr. Strauss’s examinations, John

       Doe 43 did not understand or believe that Dr. Strauss had sexually abused him.

555.   John Doe 43 reasonably believed that OSU would not have made Dr. Strauss the athletic

       team doctor and required him and other athletes to see Dr. Strauss unless Dr. Strauss’s

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       examinations were legitimate.

556.   In addition, the apparent failure of Dr. Lombardo and Dr. Murphy to take any action in

       response to John Doe 43’s informal complaint made John Doe 43 believe there was no

       reason to investigate what Dr. Strauss or OSU was doing or failing to do. That reaction

       also reinforced John Doe 43’s reasonable belief that further inquiry would not be

       productive. In any event, an investigation would have been futile because OSU controlled

       access to all relevant information.

557.   Until learning in 2018 about OSU’s investigation into Dr. Strauss’s conduct, John Doe 43

       did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

       conduct or that other athletes had previously complained to OSU about Dr. Strauss’s abuse.

       Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—had

       harmed him.

558.   In any event, even if, while John Doe 43 was an OSU student, he had tried to inquire further

       into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

       controlled access to that information.

559.   In short, until learning in 2018 about Dr. Strauss’s serial sexual abuse of OSU students,

       John Doe 43 did not know, or have reason to know, that Dr. Strauss had sexually abused

       him, that OSU had known about Dr. Strauss’s serial sexual abuse, or that OSU had failed

       to take appropriate steps to stop Dr. Strauss’s abuse.

560.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 43 would not have been abused by Dr. Strauss.

561.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 43 has suffered

       emotional and psychological damages. John Doe 43 is extremely worried for the safety of

       his two children in college and that they will be abused.

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                                        JOHN DOE 44

562.   John Doe 44 was a student at OSU from 1992 to 1996.

563.   While a student at OSU, John Doe 44 was examined by Dr. Strauss four times in the fall

       of 1992 at OSU’s Student Health Center.

564.   John Doe 44 visited the center for treatment related to an STI causing genital warts. During

       each visit, John Doe 44 was alone in the exam room with Dr. Strauss.

565.   At each exam, Dr. Strauss instructed John Doe 44 to pull his pants and underwear down.

       Each time, Dr. Strauss put on gloves, applied lubricant, and stroked John Doe 44’s penis

       until John Doe 44 ejaculated.

566.   At each exam, after causing John Doe 44 to ejaculate, Dr. Strauss conducted a prostate

       exam, claiming the STI had spread to John Doe 44’s buttocks. John Doe 44 believed he

       had to submit to these exams.

567.   During the first exam, Dr. Strauss asked John Doe 44 how he contracted the STI. John Doe

       44 responded that he contracted the STI from having sex with his ex-girlfriend. Dr. Strauss

       replied, “No way that could have happened having sex with a female.”

568.   At the end of each exam, Dr. Strauss froze the warts on John Doe 44’s genitals.

569.   Dr. Strauss’s conduct during the exams made John Doe 44 exceedingly uncomfortable, but

       he was afraid to say anything because he needed Dr. Strauss’s help in treating his STI. He

       knew that something was wrong with the exam, but did not realize that Dr. Strauss was

       sexually abusing and harassing him.

570.   During one of the exams, Dr. Strauss and John Doe 44 discussed their mutual interest in

       music. Dr. Strauss invited John Doe 44 to his home to take professional photos of John

       Doe 44 and his musical instruments. John Doe 44 visited Dr. Strauss’s home with his bass

       guitar and upright bass, in addition to changes of clothing. Dr. Strauss took photos of John

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       Doe 44 with his bass guitar and upright bass in a studio in the front living room, then

       instructed John Doe 44 to change into different outfits behind a screen. John Doe 44 felt

       uncomfortable during the photo shoot but did not know how to express his discomfort.

571.   While he was a student at OSU, John Doe 44 did not know what to do about Dr. Strauss’s

       conduct. He was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss and did not believe there was any recourse for what happened

       to him.

572.   In retrospect, John Doe 44 realizes that Dr. Strauss sexually abused and harassed him.

       However, he did not know or have reason to know this until 2018, when he learned about

       Perkins Coie’s investigation into allegations of abuse by Dr. Strauss and reached out to

       Perkins Coie to provide information about his experience.

573.   While John Doe 44 was an OSU student, he trusted that OSU would not allow him to be

       harmed. So, even though he felt uncomfortable during Dr. Strauss’s examinations, John

       Doe 44 did not understand or believe that Dr. Strauss had sexually abused him.

574.   John Doe 44 reasonably believed that that OSU would not have made Dr. Strauss a

       university doctor unless Dr. Strauss’s examinations were legitimate.

575.   Until learning in 2018 about Perkins Coie’s investigation into OSU’s handling of Dr.

       Strauss, John Doe 44 did not know, or have reason to know, of OSU’s role in Dr. Strauss’s

       sexually abusive conduct or that other students had previously complained to OSU about

       Dr. Strauss’s abuse. Nor did he have reason to investigate whether OSU—in addition to

       Dr. Strauss—had harmed him.

576.   In any event, even if, while John Doe 44 was an OSU student, he had tried to inquire further

       into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

       controlled access to that information.

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577.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 44 would not have been abused by Dr. Strauss.

578.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 44 has suffered

       emotional and psychological damages. He felt significant stress every time he taught or

       performed music because it reminded him of Dr. Strauss’s abuse. As a result, he changed

       careers from music teaching and performance to information technology. He also lost the

       confidence to speak in front of groups and build relationships in the workplace, which has

       hindered his professional advancement. Further, John Doe 44’s marriage has suffered since

       discussing the abuse with his wife. He and his wife have not been physically intimate since

       he spoke with Perkins Coie, which has severely strained their marriage. John Doe 44 is

       now attending therapy to process the damage that Dr. Strauss’s abuse has caused him all

       these years.

                                        JOHN DOE 45

579.   John Doe 45 was a student at OSU from 1992 to 1996.

580.   Four times during his freshmen or sophomore year, John Doe 45 was examined by Dr.

       Strauss at the campus student health center.

581.   During all four visits, John Doe 45 was alone in the exam room with Dr. Strauss.

582.   On the first visit, John Doe 45 sought treatment related to molluscum (a viral skin

       infection). Dr. Strauss told John Doe 45 to stand by the table with his pants and underwear

       down. Dr. Strauss examined John Doe 45’s genitalia without gloves on, fondling his

       testicles and lingering on them, even though John Doe 45 had no symptoms of molluscum

       on his testicles. He then told John Doe 45 to lie down on the examination table with his

       pants and underwear down. He used a scalpel to remove the bumps from John Doe 45’s

       penis.

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583.   John Doe 45 recalls that Dr. Strauss was overly “feely” throughout the entire exam. Dr.

       Strauss touched and lingered on John Doe 45’s genitals for twenty minutes or so, repeatedly

       moving John Doe 45’s penis around.

584.   Dr. Strauss instructed John Doe 45 to see him again for another appointment. At the second

       appointment, Dr. Strauss told John Doe 45 to lie down on the examination table and went

       through the same routine, even though almost all of John Doe 45’s molluscum was cleared

       at the time. This examination lasted approximately ten minutes.

585.   Sometime later in John Doe 45’s sophomore year, he again went to the student health center

       and saw Dr. Strauss—this time for an STI. Dr. Strauss again instructed John Doe 45 to

       remove his pants and underwear. While John Doe 45 was standing, Dr. Strauss examined

       and fondled John Doe 45’s genitals. Dr. Strauss then told John Doe 45 to lie on the table.

       After John Doe 45 did so, Dr. Strauss groped John Doe 45’s penis and testicles for an

       extended time. He moved John Doe 45’s penis to the left and right while examining it, and

       fondled John Doe 45’s scrotum. This prolonged examination also lasted approximately ten

       minutes.

586.   At a follow-up appointment, Dr. Strauss went through the same routine as the previous

       exam. Dr. Strauss again repeatedly groped John Doe 45’s genitals, first while John Doe 45

       was standing and then while he was lying on the table.

587.   Dr. Strauss never wore gloves during any of John Doe 45’s appointments.

588.   Dr. Strauss’s exams made John Doe 45 extremely uncomfortable, confused, and

       embarrassed.

589.   John Doe 45 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss and did not believe there was any recourse for what happened

       to him.

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590.   John Doe 45 did not recognize Dr. Strauss’s conduct as sexually abusive at the time. He

       merely felt uncomfortable, and that Dr. Strauss was strange.

591.   Until seeing news coverage of the OSU investigation in 2018 or 2019, John Doe 45 did not

       know, or have reason to know, that Dr. Strauss’s examination of him was sexually abusive.

       Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—had

       harmed him.

592.   This is because, while John Doe 45 was an OSU student, he trusted that OSU would not

       employ a sexual abuser in its student health clinic. He reasonably believed that Dr.

       Strauss’s behavior was part of a legitimate medical examination and blamed himself for

       his emotional reaction to the exams. Though he felt humiliated, confused, and

       uncomfortable during Dr. Strauss’s examination, John Doe 45 did not understand or

       believe that Dr. Strauss had sexually abused him.

593.   In short, until seeing news coverage in 2018 or 2019 about Dr. Strauss’s serial sexual abuse

       of OSU students, John Doe 45 did not know, or have reason to know, that Dr. Strauss had

       sexually abused him, that OSU had known about Dr. Strauss’s serial sexual abuse, or that

       OSU had failed to take the appropriate steps to stop Dr. Strauss’s abuse.

594.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 45 would not have been abused by Dr. Strauss.

595.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 45 has suffered

       emotional and psychological damages. For example, Dr. Strauss’s abuse has impacted John

       Doe 45’s ability to maintain healthy intimate relationships. John Doe 45 distrusts doctors

       and other people in positions of authority. Dr. Strauss’s abuse has also contributed to John

       Doe 45’s stress and anxiety issues.



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                                        JOHN DOE 46

596.   John Doe 46 was a student at OSU from 1979 to 1984, and a member of OSU’s outdoor

       track, indoor track, and cross country teams during that time.

597.   John Doe 46 was awarded a partial Pell grant to attend college. Prior to attending OSU,

       John Doe 46 worked in construction for two years to pay his way through college.

598.   In 1979, 1980, and 1981, Dr. Strauss abused John Doe 46 on OSU’s campus. As an OSU

       athlete, John Doe 46 was required to attend annual physicals, all conducted by Dr. Strauss.

       John Doe 46’s coaches scheduled the appointments with Dr. Strauss.

599.   Each exam took place at the Jesse Owens Football Facility. John Doe 46 was alone with

       Dr. Strauss during each exam.

600.   At John Doe 46’s first exam with Dr. Strauss in the fall of 1979, Dr. Strauss ordered him

       to take off all of his clothing. Dr. Strauss conducted a hernia test on the fully naked John

       Doe 46. He then fondled John Doe 46’s testicles. He inserted his finger into John Doe 46’s

       anus, in the guise of a rectal exam. Dr. Strauss rubbed John Doe 46’s shoulders, neck, lower

       back, and buttocks, remarking that John Doe 46 was a “good looking guy.”

601.   In 1980 and 1981, John Doe 46 was again subjected to physicals with Dr. Strauss. The

       second and third physicals proceeded the same as the first, with Dr. Strauss standing very

       close to John Doe 46, fondling and groping his genitals and other parts of his body. Each

       time, Dr. Strauss performed “rectal exams,” inserting his finger in John Doe 46’s anus.

602.   Dr. Strauss’s examinations made John Doe 46 uncomfortable, embarrassed, and ashamed.

       He complied with all of Dr. Strauss’s requests during the examination, and while he

       thought Dr. Strauss’s touching was bizarre and inappropriate, he did not recognize it to be

       abuse. Raised “not to complain about anything” and to “take his hits,” John Doe 46 suffered

       in silence.

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603.   John Doe 46 was aware that his teammates had similar experiences with Dr. Strauss, and

       he and his teammates regularly joked about Dr. Strauss’s treatment. They often told each

       other “Good luck with the physical,” and “You’re going to take it up the ass” when one of

       them had appointments with Dr. Strauss. One teammate told John Doe 46 that Strauss “got

       a little too close” to him during an examination.

604.   John Doe 46 told Assistant Coach Jim McDonough that Dr. Strauss’s behavior was

       “weird.” McDonough stared blankly at John Doe 46 and said nothing in response. It was

       clear to John Doe 46 that the team atmosphere was one in which athletes were expected

       not to complain.

605.   John Doe 46 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss and did not believe there was any recourse for what happened

       to him.

606.   Until seeing news coverage of the OSU investigation in April 2019, John Doe 46 did not

       know, or have reason to know, that Dr. Strauss’s examinations and conduct toward him

       and his teammates were sexually abusive.

607.   Until hearing this news coverage in April 2019, John Doe 46 had no reason to investigate

       whether OSU—in addition to Dr. Strauss—had harmed him.

608.   This is because, while John Doe 46 attended OSU, student-athletes openly joked about Dr.

       Strauss’s examinations in front of their coaches and the coaches continued to require John

       Doe 46 and other athletes to see Dr. Strauss for examinations. John Doe 46 reasonably

       believed that OSU would not have made Dr. Strauss the athletic team doctor and required

       him and other athletes to see Dr. Strauss unless Dr. Strauss’s examinations were legitimate.

609.   In addition, Coach McDonough’s unconcerned reaction to his complaints about Dr. Strauss

       did not give John Doe 46 any reason to investigate what Dr. Strauss or OSU was doing or

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       failing to do. McDonough’s reaction reinforced John Doe 46’s reasonable belief that

       further inquiry would not be productive. In any event, an investigation would have been

       futile because OSU controlled access to all relevant information.

610.   In short, until hearing media reports in April 2019 about Dr. Strauss’s serial sexual abuse

       of OSU students, John Doe 46 did not know, or have reason to know, that Dr. Strauss had

       sexually abused him, that OSU had known about Dr. Strauss’s serial sexual abuse, or that

       OSU had failed to take appropriate steps to stop Dr. Strauss’s abuse.

611.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 46 would not have been abused by Dr. Strauss.

612.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 46 has suffered

       emotional, psychological, and economic damages. After suppressing memories of his

       experiences with Dr. Strauss for years, John Doe 46 developed a serious drinking problem

       that lasted from 1992 to 1993, about a decade after leaving OSU. In May of 1993, John

       Doe 46 had a serious panic attack for which he was hospitalized one night for observation.

       After this panic attack, John Doe 46 had serious and repeated panic attacks every day for

       four to five years. He had to seek therapy and take medication to handle these panic attacks,

       as well as his anxiety and depression. In 2005, John Doe 46 considered committing suicide.

       Looking back, John Doe 46 understands that Dr. Strauss’s abuse caused his anxiety, panic

       attacks, depression, and suicidal thoughts. In addition, John Doe 46 has developed a

       discomfort with people who are different from him. He mistrusts gay people as a result of

       his experiences with Dr. Strauss and has trouble working with people unlike him, especially

       people who are controlling, narcissistic, dishonest, lesbian, gay, bisexual, transgender,

       queer, or questioning, or in positions of authority. This has created professional difficulty

       for John Doe 46; for example, after twenty-two years of working in the insurance industry,

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       he quit his job because he found it difficult to engage with people of different backgrounds

       from him. Since quitting his job, John Doe 46 has not been gainfully employed for fourteen

       years. To this day, John Doe 46 continues to take medications for his anxiety and

       depression and continues to deal with anger and trust issues.

                                        JOHN DOE 47

613.   In the summer of 1981, John Doe 47 was abused by Dr. Strauss. John Doe 47 was a 15-

       year-old high school student at the time. He was on OSU’s campus visiting his aunt, an

       OSU employee. His aunt had encouraged John Doe 47’s family to attend OSU.

614.   While hanging around the athletics department by himself, John Doe 47 was approached

       by Dr. Strauss. Strauss asked him whether he was an athlete, and John Doe 47 told him

       “yes,” that he loved sports.

615.   Dr. Strauss took advantage of John Doe 47’s youth, love of sports, and interest in OSU to

       sexually abuse him. He told John Doe 47 that he would show him “what you have to go

       through to be an athlete” at OSU.

616.   Dr. Strauss gave John Doe 47 a long tour of the athletics facilities and subjected him twice

       during that day to sexually abusive “medical exams.”

617.   Dr. Strauss took John Doe 47 to his office, under the guise that he would show John Doe

       47 the types of medical exams athletes had to get to be cleared to play for OSU.

618.   In the first mock exam, Dr. Strauss asked John Doe 47 to take off all of his clothing. While

       John Doe 47 stood there naked, Dr. Strauss checked John Doe 47’s height and weight. Dr.

       Strauss groped John Doe 47’s buttocks with his ungloved hand while checking his height.

       He then told John Doe 47 to put his clothing back on, and he took John Doe 47 on a tour

       of the athletics department, showing him the locker room and introducing him to various

       athletes.

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619.   Later that day, Dr. Strauss took John Doe 47 back to his office, telling him that he should

       show John Doe 47 the hernia exams athletes undergo.

620.   Dr. Strauss again instructed John Doe 47 to disrobe and told him to lay down on the exam

       table. He told John Doe 47 that John Doe 47 could hurt himself if he didn’t “properly

       stretch,” and pushed John Doe 47’s legs back as if to stretch his legs. His touching then

       escalated—he grabbed John Doe 47’s penis, spread John Doe 47’s butt apart, and rubbed

       John Doe 47’s anus and genitals, from his tailbone to his penis.

621.   While he groped John Doe 47, Dr. Strauss told the teenager that he was merely showing

       John Doe 47 the types of exams that he did for different athletes on the various sports

       teams. He told John Doe 47, “here is a football exam,” “here is a swimming exam,” “here

       is a wrestling exam,” and the like, to explain away and legitimize his abuse.

622.   Dr. Strauss’s touching during the exam made John Doe 47 uncomfortable, afraid, and

       embarrassed, though he did not recognize it to be abuse at the time. He felt “like a deer in

       the headlights.” He did not tell his aunt or his parents what happened.

623.   John Doe 47 was never informed or made aware of any OSU grievance procedure to

       complain about Dr. Strauss and did not believe there was any recourse for what happened

       to him.

624.   As a 15-year-old boy who had little knowledge of what constituted inappropriate sexual

       behavior, John Doe 47 did not know Dr. Strauss sexually abused him at the time. He

       reasonably believed that OSU would not have made Dr. Strauss an athletic team doctor and

       directed students to see Dr. Strauss unless Dr. Strauss’s examinations were legitimate. John

       Doe 47 felt that Dr. Strauss had been nice to him, and he earnestly fell for Dr. Strauss’s

       lies about wanting to expose John Doe 47 to the life of an OSU student-athlete. Further, as

       a high schooler who knew he was heterosexual, John Doe 47 was embarrassed to admit

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       that an older man had touched his genitalia.

625.   In retrospect, John Doe 47 realizes that Dr. Strauss sexually abused him. However, he did

       not know or have reason to know this until 2019, when he learned about OSU’s

       investigation into allegations of abuse by Dr. Strauss. Indeed, learning of OSU’s

       investigation, and seeing Dr. Strauss’s photo in public reporting, was the trigger that

       enabled John Doe 47 to recognize that Dr. Strauss’s examination was sexually abusive.

626.   Until learning in 2019 about OSU’s investigation into Dr. Strauss’s conduct, John Doe 47

       did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

       conduct or that others had complained to OSU about Dr. Strauss’s abuse. Nor did he have

       reason to investigate whether OSU—in addition to Dr. Strauss—had harmed him.

627.   Even if John Doe 47 had tried to inquire further into OSU’s role in Dr. Strauss’s conduct,

       the inquiry would have been futile, as OSU controlled access to that information.

628.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

       John Doe 47 would not have been abused by Dr. Strauss.

629.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 47 has suffered

       emotional and psychological damages. He feels guilty that he remained silent about Dr.

       Strauss’s exams and did not tell his parents or aunt; he carries the burden of believing that,

       if he had spoken up, Dr. Strauss would not have been able to abuse other people. When he

       saw Dr. Strauss’s image in the Perkins Coie report, he nearly vomited. Since the public

       reporting about Dr. Strauss’s abuse, John Doe 47 has become fixated on Dr. Strauss and

       sexual abuse more generally. It consumes his thoughts daily and he feels anxious and

       embarrassed.

                                         JOHN DOE 48

630.   John Doe 48 was a student at OSU from 1990 to 1995.

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631.   John Doe 48 was abused by Dr. Strauss during a medical examination at OSU’s student

       health center in 1993 or 1994.

632.   John Doe 48 scheduled an appointment at the student health center for treatment related to

       a potential STI.

633.   John Doe 48 entered a private room with Dr. Strauss. The two were alone.

634.   Dr. Strauss began by asking John Doe 48 a litany of questions, including whether he had

       taken drugs, whether he had slept with prostitutes, and whether he had any “homosexual

       experiences.”

635.   Dr. Strauss instructed John Doe 48 to drop his pants and underwear. Dr. Strauss sat on a

       stool at eye-level with John Doe 48’s genitals and examined John Doe 48’s penis. He told

       John Doe 48 that it looked “okay.” John Doe 48 began to zip his pants up thinking the

       exam was done, but Strauss told him that he needed to do a more “involved” exam.

636.   Dr. Strauss instructed John Doe 48 to remove his pants and underwear off and lie on the

       exam table and spread his legs. He began rubbing John Doe 48’s penis with his palm and

       John Doe 48 started to become erect. John Doe 48 said “Whoa, wait a minute.”

637.   Dr. Strauss responded, “That’s Okay, this is what I want to happen.” He told John Doe 48

       to “just relax,” and to lie back down on the exam table. John Doe 48 complied with Dr.

       Strauss’s command and he closed his eyes and turned his head.

638.   Dr. Strauss began to pinch John Doe 48’s penis to hold blood in it. Dr. Strauss then rubbed

       John Doe 48’s penis for several minutes and John Doe 48 became fully erect. Eventually,

       Dr. Strauss told John Doe 48 that “Everything is fine” and that he could put his clothing

       back on and leave.

639.   Dr. Strauss did not wear gloves during the exam.

640.   John Doe 48 never had any further contact with Dr. Strauss.

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 641.   Dr. Strauss’s conduct made John Doe 48 extremely uncomfortable, confused, and

        embarrassed. He felt dirty and had an intense desire to take a shower after the exam.

 642.   John Doe 48 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 643.   John Doe 48 did not recognize Dr. Strauss’s conduct as sexually abusive at the time.

 644.   Until reading news coverage of the OSU investigation in or about the summer of 2018,

        John Doe 48 did not know, or have reason to know, that Dr. Strauss’s examination of him

        was sexually abusive. Nor did he have reason to investigate whether OSU—in addition to

        Dr. Strauss—had harmed him.

 645.   This is because, while John Doe 48 was a student at OSU, he reasonably believed that OSU

        would not have hired Dr. Strauss, or sent John Doe 48 and other students to see Dr. Strauss,

        unless Dr. Strauss’s examinations were legitimate.

 646.   Even if John Doe 48 had tried to inquire further into OSU’s role in Dr. Strauss’s conduct,

        the inquiry would have been futile, as OSU controlled access to that information.

 647.   In short, until seeing news coverage in 2018 about Dr. Strauss’s serial sexual abuse of OSU

        students, John Doe 48 did not know, or have reason to know, that Dr. Strauss had sexually

        abused him, that OSU had known about Dr. Strauss’s serial sexual abuse, or that OSU had

        failed to take the appropriate steps to stop Dr. Strauss’s abuse.

 648.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 48 would not have been abused by Dr. Strauss.

 649.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 48 has suffered

        emotional and psychological damages. John Doe 48 tried to suppress his memories of Dr.

        Strauss’s abuse, and did not tell anyone about it for many years. When John Doe 48 finally

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        gained the courage to tell his best friends about the abuse, they told John Doe 48 he was

        gay. John Doe 48 has recently sought counseling for Dr. Strauss’s abuse.

                                          JOHN DOE 49

 650.   During the summer of 1998 or 1999, John Doe 49 was abused by Dr. Strauss. At the time,

        John Doe 49 was 14 or 15 years old. He was at OSU for OSU’s summer wrestling camp.

        OSU’s summer wrestling camp was an education program or activity offered to young

        athletes not yet old enough to attend OSU, which was staffed by OSU employees and

        student-athletes.

 651.   During his time at the camp, John Doe 49 developed an ingrown toenail, for which he

        sought treatment from OSU medical staff.

 652.   While John Doe 49 was waiting in line to see a doctor at a campus athletics facility, he was

        approached by Dr. Strauss. Dr. Strauss asked John Doe 49 whether he had received a

        physical—when John Doe 49 said no, Dr. Strauss insisted that he undergo a physical, and

        pulled John Doe 49 out of the line and behind a curtained off area in the facility.

 653.   Dr. Strauss’s examination began normally. He examined John Doe 49’s chest with a

        stethoscope.

 654.   However, the exam quickly changed after Dr. Strauss told John Doe 49 to drop his pants

        and underwear and asked him to cough. He then began fondling John Doe 49’s genitals,

        massaging John Doe 49’s testicles repeatedly.

 655.   At the beginning of the exam, Dr. Strauss was wearing gloves.

 656.   Dr. Strauss told John Doe 49 that John Doe 49 was “cold” and needed to “get warmed up”

        in order for Dr. Strauss to conduct the test “properly.” Dr. Strauss then removed his gloves,

        rubbed his hands together, and began rubbing his thumb up and down the shaft of John

        Doe 49’s penis. John Doe 49 recoiled from Dr. Strauss’s touch and told him “I’m not gay,

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        you need to stop this.” Dr. Strauss asked John Doe 49, “How old are you? You don’t know

        what this is about.” Feeling frightened, John Doe 49 began staring at a scalpel next to the

        exam table. Dr. Strauss looked in the direction of John Doe 49’s gaze, said “You’re eyeing

        that scalpel,” and picked up the scalpel. He put his hand over John Doe 49’s mouth and

        held the scalpel threateningly over John Doe 49’s face. John Doe 49 fainted. He does not

        know how long he was unconscious.

 657.   When John Doe 49 regained consciousness, he was face-down at the end of the exam table

        with his pants and underwear down. He once again saw the scalpel placed next to the exam

        table and felt dizzy. John Doe 49 became aware of Dr. Strauss doing something to his

        buttocks. He felt that something was inserted in his anus, but did not know what it was. He

        turned on the table and shoved Dr. Strauss in the chest. When he turned, he saw that Dr.

        Strauss’s pants were around his knees. Dr. Strauss fell down, and John Doe 49 used the

        opportunity to leave the curtained off area, pulling up his sweatpants on the way out. Dr.

        Strauss shouted behind him that he wasn’t “through” with John Doe 49 and instructed him

        to “get back.” John Doe 49 walked away and told Dr. Strauss that he was done. He then

        left the area.

 658.   After the exam, John Doe 49 felt an oily substance on his anus like a lubricant.

 659.   Immediately after the exam, John Doe 49 told a medical assistant that the doctor was

        “handsy” during the turn and cough portion of the exam. The medical assistant brushed

        John Doe 49’s complaint aside and said “I’m not going near that.” John Doe 49 then

        approached a woman with a clipboard and told her that “a guy in the tent copped a feel.”

        In response, the woman told John Doe 49 that the doctor (who this person did not identify)

        was a credentialed and high-ranking doctor at OSU. Though she asked John Doe 49 what

        the doctor had done, no one ever followed up with John Doe 49 regarding what he told her.

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 660.   Sometime later, John Doe 49 mentioned his experience to another high school wrestling

        student at the camp. The other high school wrestling student repeated John Doe 49’s story

        in front of other OSU student wrestlers, remarking that “someone got handsy with John

        Doe 49 at the medical tent.” In response, an older OSU student wrestler said, “At least it’s

        not Dr. Jelly Paws, he’s not working there.” When John Doe 49 then pointed out the doctor

        who had examined him to the OSU student-athletes, they confirmed that it was, indeed,

        “Dr. Jelly Paws” who had groped him. One of the OSU students told John Doe 49 that “no

        matter what you go to see him about, he makes you drop your pants.”

 661.   That same day, John Doe 49 also spoke with Coach Hellickson about the incident. Coach

        Hellickson had heard of the incident from OSU student wrestlers at the camp. Hellickson

        asked John Doe 49 why John Doe 49 hadn’t come to Hellickson and if Dr. Strauss had

        touched John Doe 49. John Doe 49 replied that Dr. Strauss “did the turn and cough thing

        and played with my dick.” John Doe 49 then pointed out the doctor who had touched him.

        Coach Hellickson responded, “OK, I’ll take care of it. Get back to your mat.” Later that

        day, OSU student wrestlers at the camp told John Doe 49 that Coach Hellickson had ejected

        Dr. Strauss from the gym. However, John Doe 49 saw Dr. Strauss at the gym the next day.

 662.   John Doe 49 never learned Dr. Strauss’s name during summer wrestling camp—he only

        knew him as “Dr. Jelly Paws” or “the Doc.” After he read the media reports about the OSU

        investigation in 2018, however, he realized that “Dr. Jelly Paws” was Dr. Strauss.

 663.   John Doe 49 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 664.   As a 14- or 15-year-old boy, John Doe 49 did not know Dr. Strauss sexually abused him at

        the time. This is because, while John Doe 49 was a youth participant in the OSU wrestling

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        camp, OSU student-athletes openly joked about Dr. Strauss’s examinations and how he

        was “Dr. Jelly Paws.” Also, the people to whom John Doe 49 complained about Dr.

        Strauss’s behavior did not appear to do anything in response to his complaints, which made

        him feel as though the issue was not serious.

 665.   John Doe 49 reasonably believed that OSU would not have made Dr. Strauss an athletic

        team doctor and directed students to see Dr. Strauss unless Dr. Strauss’s examinations were

        legitimate. In addition, the OSU medical staff’s indifference and unconcerned reactions to

        John Doe 49’s complaints about Dr. Strauss did not give him any reason to investigate

        what Dr. Strauss or OSU was doing or failing to do. These medical officials’ reactions

        reinforced John Doe 49’s reasonable belief that further inquiry would not be productive.

 666.   In retrospect, John Doe 49 realizes that Dr. Strauss sexually abused and harassed him.

        However, he did not know or have reason to know this until late 2018 or early 2019 when

        he learned about OSU’s investigation into allegations of abuse by Dr. Strauss and learned

        that Dr. Strauss had been nicknamed “Dr. Jelly Paws” by OSU student-athletes. Nor did he

        have reason to investigate whether OSU—in addition to Dr. Strauss—had harmed him.

 667.   Even if John Doe 49 had tried to inquire further into OSU’s role in Dr. Strauss’s conduct,

        the inquiry would have been futile, as OSU controlled access to that information.

 668.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 49 would not have been abused by Dr. Strauss.

 669.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 49 has suffered

        emotional and psychological damages. After being abused by Dr. Strauss, John Doe 49

        began to use marijuana frequently, as a way to self-medicate. Over the years, John Doe

        49’s drug abuse escalated. Police caught him with marijuana during his senior year in high

        school, which impacted his college prospects. In college, he continued to use drugs and

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        was almost always intoxicated. Though John Doe 49 had ambitions of completing graduate

        school, his substance abuse—which he used to help deal with his repressed trauma—

        hampered his studies, and he eventually dropped out. John Doe 49 experienced difficulty

        finding work and ended up employed by his father for nine years. In addition to his drug

        abuse, John Doe 49 experienced deep confusion as to whether and when it was right to

        report improper treatment or conduct following his experience with Dr. Strauss. The abuse

        created an insecurity and fear within him that powerful people could always get away with

        doing bad things. John Doe 49 has experienced regular anxiety throughout his adult life as

        a result of the abuse. He also remains suspicious of doctors and other medical professionals.

        Dr. Strauss’s touching during the exam made John Doe 49 uncomfortable, confused, and

        embarrassed. Dr. Strauss’s suspected penile penetration of John Doe 49’s rectum during

        the exam made John Doe 49 extremely fearful that he had contracted HIV. John Doe 49’s

        concern was exacerbated by the frequent public service announcements regarding

        HIV/AIDS at the time and his knowledge of friends and family who had contracted HIV.

        John Doe 49 was not tested for HIV until his sophomore year of college, at which point he

        learned that he did not have HIV. John Doe 49 had been afraid for years that he had

        contracted HIV and felt profound relief when that was not the case. Until he was tested for

        HIV, whenever he saw an ad for HIV treatment, he flashed back to the abuse he suffered

        as an adolescent.

                                          JOHN DOE 50

 670.   John Doe 50 was a student at OSU between 1988 and 1992, and a member of OSU’s hockey

        team during that time.

 671.   John Doe 50 received a full athletic scholarship for the 1991 to 1992 school year. He relied

        on his scholarship to attend college.

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 672.   John Doe 50 was an integral part of OSU’s hockey team during his junior and senior years,

        and led the team to win several off-season tournaments.

 673.   As a member of OSU’s hockey team, John Doe 50 was required to undergo annual

        physicals with Dr. Strauss. In total, John Doe 50 saw Dr. Strauss four times—in 1988,

        1989, 1990, and 1991—for pre-season physicals. A coach or trainer scheduled each of

        these physicals.

 674.   Every physical was conducted at the Woody Hayes facility.

 675.   John Doe 50 was alone with Dr. Strauss during each appointment.

 676.   Each appointment with Dr. Strauss followed a similar pattern. Dr. Strauss began by

        stretching John Doe 50 out, feeling his muscles and joints. He then conducted a genital

        exam. Dr. Strauss instructed John Doe 50 to stand in the middle of the room, and asked

        John Doe 50 to drop his pants and underwear. Dr. Strauss then instructed John Doe 50 to

        come very close to him, while Dr. Strauss sat on a stool at eye level with John Doe 50’s

        genitals. He would then fondle and grope John Doe 50’s genitals for an inappropriately

        long amount of time. Dr. Strauss also would make comments about John Doe 50’s

        appearance.

 677.   Dr. Strauss’s exams made John Doe 50 feel uncomfortable, confused, and embarrassed.

        While he did not know it to be abuse, he believed “it wasn’t right.”

 678.   John Doe 50’s teammates had similar experiences with Dr. Strauss, but the teammates

        made light of their experiences and joked about the exams. Before John Doe 50 had his

        exams with Dr. Strauss, upperclassmen warned him, “Get ready, Strauss will get you close

        and tight.” After his first exam with Dr. Strauss, John Doe 50 told his teammates that they

        were right about how the examination would go. These conversations about Dr. Strauss

        often occurred in the locker room, where trainers overheard the players discussing Dr.

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        Strauss’s behavior.

 679.   Dr. Strauss often observed John Doe 50 and his teammates showering after practice.

 680.   On one occasion when John Doe 50 was a freshman, Dr. Strauss invited him and his

        roommate, another hockey player, out to dinner. Dr. Strauss picked the two freshmen up at

        their residence and drove them to the restaurant. Dr. Strauss paid for dinner and, afterwards,

        brought the two students to nearby stores to buy clothes. John Doe 50 overheard Dr. Strauss

        making this offer to other hockey players as well.

 681.   John Doe 50 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 682.   John Doe 50 did not recognize Dr. Strauss’s conduct as sexually abusive at the time.

 683.   Until reading news coverage of the OSU investigation in or about November, 2018, John

        Doe 50 did not know, or have reason to know, that Dr. Strauss’s examination of him was

        sexually abusive. Nor did he have reason to investigate whether OSU—in addition to Dr.

        Strauss—had harmed him.

 684.   This is because, while John Doe 50 was a student at OSU, he reasonably believed that OSU

        would not have hired Dr. Strauss, or sent John Doe 50 and other athletes to see Dr. Strauss,

        unless Dr. Strauss’s examinations were legitimate. John Doe 50 believed that, while strange

        and uncomfortable, Dr. Strauss’s examinations were part of OSU’s process for student-

        athletes.

 685.   In short, until seeing news coverage in 2018 about Dr. Strauss’s serial sexual abuse of OSU

        students, John Doe 50 did not know, or have reason to know, that Dr. Strauss had sexually

        abused him, that OSU had known about Dr. Strauss’s serial sexual abuse, or that OSU had

        failed to take the appropriate steps to stop Dr. Strauss’s abuse.

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 686.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 50 would not have been abused by Dr. Strauss.

 687.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 50 has suffered

        emotional and psychological damages. John Doe 50 is fearful for his children’s safety, and

        distrusts doctors who provide medical treatment to his children. Every time John Doe 50

        hears about Dr. Strauss on the news, he is reminded of Dr. Strauss’s abuse, which

        retraumatizes him. After John Doe 50 learned in 2018 that Dr. Strauss abused many other

        students for many years after his exam, he has felt tremendous guilt for not having reported

        his own abuse to OSU.

                                         JOHN DOE 51

 688.   John Doe 51 was a student at OSU from 1992 to 1996 and a member of OSU’s volleyball

        team between 1992 and 1993.

 689.   Dr. Strauss abused John Doe 51 twice, once in 1992 and once in 1993.

 690.   In 1992, Dr. Strauss abused John Doe 51 during a pre-season physical. As a member of

        OSU’s volleyball team, John Doe 51 was required to get a pre-season physical. The exam

        took place in Dr. Strauss’s office at the student health center. John Doe 51 was alone with

        Dr. Strauss during the exam.

 691.   At the appointment, Dr. Strauss began by telling John Doe 51 to drop his underwear. Dr.

        Strauss conducted a hernia test. He grabbed John Doe 51’s testicles for a prolonged time.

        When he finally let go, he moved on to groping John Doe 51’s penis.

 692.   The examination made John Doe 51 uncomfortable, confused, and ashamed. However, he

        did not say anything, as his number one goal was to become a professional volleyball

        player, and he feared that speaking up would jeopardize his future.

 693.   John Doe 51 was abused again in 1993, when Dr. Strauss approached him about

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        participating in a photo shoot at Dr. Strauss’s house. John Doe 51 agreed.

 694.   When John Doe 51 arrived, Dr. Strauss fed him cherries soaked in alcohol.

 695.   While photographing John Doe 51, Dr. Strauss asked if John Doe 51 would undress. Dr.

        Strauss said that it would open up more modeling opportunities if he could see John Doe

        51’s genitals. John Doe 51 agreed to remove his clothes. Dr. Strauss began fondling his

        genitals.

 696.   Startled, John Doe 51 immediately said he needed to go home and put his clothes back on.

        Dr. Strauss drove him home.

 697.   John Doe 51’s teammates had similar experiences with Dr. Strauss, but the teammates

        made light of their experiences and joked about the exams. When instructed to get their

        annual physicals, John Doe 51’s teammates joked about how Dr. Strauss would hold onto

        their “junk” for a long time. Whenever Dr. Strauss would enter the athletes’ locker room,

        teammates would tell each other to “look out.”

 698.   John Doe 51 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 699.   John Doe 51 did not recognize Dr. Strauss’s conduct as sexually abusive at the time.

 700.   While John Doe 51 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable with Dr. Strauss’s examination and

        conduct, John Doe 51 did not understand that Dr. Strauss had sexually abused him.

 701.   In addition, while John Doe 51 attended OSU, student-athletes openly joked about Dr.

        Strauss’s examinations, and John Doe 51 reasonably believed that OSU would not have

        made Dr. Strauss the athletic team doctor and required him and other athletes to see Dr.

        Strauss unless Dr. Strauss’s examinations were legitimate.

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 702.   Moreover, until learning in 2018 about OSU’s investigation into Dr. Strauss’s conduct,

        John Doe 51 did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually

        abusive conduct or that other students had previously complained to OSU about Dr.

        Strauss’s abuse. Nor did he have reason to investigate whether OSU—in addition to Dr.

        Strauss—had harmed him.

 703.   In any event, even if, while John Doe 51 was an OSU student, he had tried to inquire further

        into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

        controlled access to that information.

 704.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 51 would not have been abused by Dr. Strauss.

 705.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 51 has suffered

        emotional and psychological damages. Soon after his experiences with Dr. Strauss, John

        Doe 51 began to increasingly abuse alcohol, and eventually became an alcoholic. His heavy

        drinking impacted his studies, and he failed to graduate from OSU. To this day, John Doe

        51 distrusts medical personnel and avoids getting medical treatment. He has not had

        another physical since seeing Dr. Strauss back in 1992.

                                          JOHN DOE 52

 706.   John Doe 52 was a student at OSU from 1993 to 1997 and a member of OSU’s soccer team

        from 1993 to 1996. John Doe 52 attended OSU on a full tuition athletic scholarship.

 707.   John Doe 52 relied on his athletic scholarship to attend college.

 708.   Dr. Strauss examined John Doe 52 approximately four or five times, often at the Woody

        Hayes facility at OSU. He saw Dr. Strauss once for a mandatory pre-season physical while

        a member of OSU’s soccer team. He then saw Dr. Strauss three or four other times for

        various illnesses between 1993 and 1996.

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 709.   John Doe 52 was an 18-year-old freshman when he saw Dr. Strauss for the first time.

 710.   OSU coaching staff directed John Doe 52 to get a physical with Dr. Strauss.

 711.   John Doe 52 recalls being nervous before the physical, because upper classmen openly

        cautioned him, “Don’t get Strauss, because he will check your prostate.”

 712.   John Doe 52 believes that his physical with Dr. Strauss was normal.

 713.   However, Dr. Strauss began to abuse John Doe 52 at subsequent appointments. Between

        1993 and 1996, John Doe 52 saw Dr. Strauss three or four times to address minor illnesses

        such as sinus infections or a sore throat.

 714.   On each occasion, Dr. Strauss performed the same examination. He asked John Doe 52 to

        drop his pants and groped deeply around John Doe 52’s genitals for a prolonged time,

        rubbing the glands by his groin and fondling his genitals. Dr. Strauss conducted these

        exams even though John Doe 52 did not report having any medical issues with his groin.

 715.   On every one of these occasions, a trainer or medical assistant was in the room with John

        Doe 52 and Dr. Strauss. However, the trainer or assistant would always leave the room

        during the genital exam.

 716.   John Doe 52 left these appointments feeling uncomfortable, confused, and ashamed. He

        felt that Dr. Strauss’s behavior was strange but did not understand it to be sexual abuse.

 717.   On more than five occasions, Dr. Strauss entered the men’s soccer locker room and shower

        area and stared at John Doe 52 and his teammates while they showered. This made John

        Doe 52 extremely uncomfortable.

 718.   John Doe 52 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 719.   John Doe 52 did not recognize Dr. Strauss’s conduct as sexually abusive at the time.

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 720.   Until seeing news coverage of the OSU investigation in 2018, John Doe 52 did not know,

        or have reason to know, that Dr. Strauss’s examinations and improper conduct towards him

        and his teammates were sexually abusive. Nor did he have reason to investigate whether

        OSU—in addition to Dr. Strauss—had harmed him.

 721.   This is because, while John Doe 52 attended OSU, student-athletes openly joked about Dr.

        Strauss’s examinations in front of their coaches and trainers and the coaches continued to

        require John Doe 52 and other athletes to see Dr. Strauss for examinations and treatment.

        John Doe 52 reasonably believed that OSU would not have made Dr. Strauss the athletic

        team doctor and required him and other athletes to see Dr. Strauss unless Dr. Strauss’s

        examinations were legitimate.

 722.   In short, until hearing media reports in 2018 about Dr. Strauss’s serial sexual abuse of OSU

        students, John Doe 52 did not know, or have reason to know, that Dr. Strauss had sexually

        abused him, that OSU had known about Dr. Strauss’s serial sexual abuse, or that OSU had

        failed to take appropriate steps to stop Dr. Strauss’s abuse.

 723.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 52 would not have been abused by Dr. Strauss.

 724.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 52 has suffered

        emotional and psychological damages. For example, Dr. Strauss’s sexual abuse caused

        John Doe 52 to suffer from anxiety.

                                           JOHN DOE 53

 725.   John Doe 53 was a student at OSU from 1982 to 1986, and was a member of OSU’s track

        and field team during that time.

 726.   John Doe 53 saw Dr. Strauss for the first time in the fall of 1982, his freshman year, for a

        required pre-season physical for candidates for the track and field team. He saw Dr. Strauss

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        an additional time in the fall of 1983, his sophomore year, for another required pre-season

        physical for track and field.

 727.   As a walk-on candidate for the track and field team, and later a member of the team, John

        Doe 53 was required to have a physical with Dr. Strauss.

 728.   On the day of John Doe 53’s first physical with Dr. Strauss, the upper class track members

        taunted the freshmen at track and field practice with statements such as, “Oh physicals are

        coming, you get to see Dr. Strauss!” After practice, John Doe 53 and his teammates went

        to Larkins Hall and waited to see Dr. Strauss individually. Each student-athlete was alone

        with Dr. Strauss in Dr. Strauss’s Larkins Hall office during the physical.

 729.   At the first physical, Dr. Strauss instructed John Doe 53 to remove all of his clothing and

        sit on the exam table. Dr. Strauss moved in front of John Doe 53 and straddled John Doe

        53’s left leg with his legs. He pushed his pelvic region into John Doe 53’s leg as he placed

        both hands on John Doe 53’s neck and felt around John Doe 53’s neck. John Doe 53 felt

        Dr. Strauss’s genitals on his leg. John Doe 53 was uncomfortable with Dr. Strauss’s

        behavior but had little experience with sports medicine doctors and believed it might be a

        normal practice.

 730.   After Dr. Strauss examined John Doe 53’s neck, he instructed John Doe 53 to lay face-up

        on the exam table.

 731.   At the first physical, Dr Strauss asked John Doe 53 to close his eyes. Dr. Strauss began

        feeling John Doe 53’s upper body, including his chest and under his arms. John Doe 53

        heard Dr. Strauss gasp and make strange guttural noises periodically during the physical.

        He felt disgusted and horrified.

 732.   John Doe 53 asked Dr. Strauss if there was a problem. Dr. Strauss advised John Doe 53

        that there was potential for breast cancer in males like John Doe 53.

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 733.   Dr. Strauss continued to touch John Doe 53 on the table for approximately 20 minutes. He

        felt around John Doe 53’s chest, waist, and pelvic area. After finishing this portion of the

        exam, Dr. Strauss sat on a small stool at one end of the exam room and instructed John Doe

        53, still fully nude, to get up and walk to the far end of the exam room away from him.

        When John Doe 53 reached the end of the room, Dr. Strauss instructed John Doe 53 to

        walk towards him slowly. John Doe 53 walked towards Dr. Strauss until they were within

        two feet of each other. Dr. Strauss instructed John Doe 53 to turn around and go back. He

        repeated these instructions four times. John Doe 53 asked what the walking was for and

        Dr. Strauss replied that he was analyzing the way John Doe 53 walked since John Doe 53

        planned to compete in track and field.

 734.   After watching John Doe 53 walk back and forth, Dr. Strauss instructed John Doe 53 to

        stand in front of him such that Dr. Strauss’s face was a few inches from John Doe 53’s

        genitals. Dr. Strauss grabbed John Doe 53’s penis with his ungloved hands and began

        moving it around. He looked underneath and around John Doe 53’s penis for about 30

        seconds to a minute. The entire experience felt extremely prolonged and awkward.

 735.   Dr. Strauss instructed John Doe 53 to cough three to four times. John Doe 53 felt

        increasingly stressed and began turning red. Dr. Strauss advised John Doe 53 that he could

        get dressed and leave. The entire exam lasted about 45 minutes.

 736.   When John Doe 53 exited Dr. Strauss’s office, he was heckled by upper class athletes in

        the waiting room. Some made catcalls and whooping noises.

 737.   At John Doe 53’s second physical in 1983, Dr. Strauss again asked John Doe 53 to disrobe

        and sit on the exam table. Dr. Strauss repeated the same actions from the first physical: he

        straddled John Doe 53’s leg and inspected John Doe 53’s neck while keeping his genitals

        in contact with John Doe 53’s leg. He then asked John Doe 53 to lay on the exam table,

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        and close his eyes. When Dr. Strauss again began feeling John Doe 53’s chest, John Doe

        53 informed Dr. Strauss that he was not worried about breast cancer. Dr. Strauss then

        finished examining John Doe 53’s chest more quickly than the previous physical.

 738.   After examining John Doe 53’s chest, Dr. Strauss again instructed John Doe 53 to walk,

        unclothed, back and forth along the length of the exam room. John Doe 53 complied, but

        he purposefully exhibited more confident and aggressive body language. Dr. Strauss’s

        demeanor became more business-like and he only asked John Doe 53 to walk back and

        forth along the room two times. Dr. Strauss again ended the physical by conducting a

        genital exam. Dr. Strauss sat with his face close to John Doe 53’s genitals and conducted

        the exam by moving around John Doe 53’s penis. He again finished this portion of the

        physical more quickly than the year before. The entire physical lasted 10 to 15 minutes.

 739.   Dr. Strauss’s conduct at physicals was common knowledge. John Doe 53’s teammates

        often made catcalls and comments about Dr. Strauss’s exams and spoke about how “weird”

        and “bizarre” Dr. Strauss was. On at least one occasion, John Doe 53’s teammates made

        derogatory comments toward him because they believed Dr. Strauss was attracted to John

        Doe 53 and John Doe 53 must have reciprocated. John Doe 53 also heard students refer to

        Dr. Strauss as “Jelly Fingers.” Comments about Dr. Strauss were made loudly and often in

        the practice areas where OSU trainers, graduate assistant coaches, and coaches were

        regularly present. John Doe 53 believes it is unlikely that OSU staff did not hear these

        comments.

 740.   During John Doe 53’s freshman year, Dr. Strauss attended the track and field team’s

        practices and photographed John Doe 53 and other track and field athletes while they were

        practicing. Dr. Strauss implied that he was taking the photographs for a book he was writing

        about physiology. He asked some athletes to remove their shirts. John Doe 53 and other

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        athletes complied and continued to practice. Dr. Strauss offered to show the athletes their

        pictures but John Doe 53 refused. During John Doe 53’s senior year, Dr. Strauss again

        approached the track and field athletes and asked to take their pictures. John Doe 53 asked

        his coach what to do and the coach told John Doe 53 not to be concerned with the request

        and get on with practice. John Doe 53 was under the impression that the coach simply

        wanted to move on with practice, and Dr. Strauss’s request and the student-athletes’

        response was not important to him. John Doe 53 told Dr. Strauss that he could not take

        pictures. John Doe 53 also told his teammates that they did not need to take off their shirts

        if they did not want to.

 741.   John Doe 53 believed that Dr. Strauss’s behavior was not normal. However, he did not

        realize at the time that Dr. Strauss had sexually abused and harassed him and his

        teammates.

 742.   John Doe 53 did not report his discomfort with Dr. Strauss’s examination. As a freshman

        athlete, John Doe 53 had seen at least one upper class athlete openly and loudly complain

        about Dr. Strauss around the practice area on multiple occasions, but he did not see any of

        the coaches or other OSU employees respond to the complaints. He believed reporting his

        experience similarly would not result in any response from OSU, and he was afraid of

        causing trouble as a walk-on to the track and field team. On one occasion, John Doe 53

        asked one of the graduate assistant coaches, “What’s with Dr. Strauss?” The coach replied

        that Dr. Strauss was “a weird guy” but did not elaborate further.

 743.   John Doe 53 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss.

 744.   In retrospect, John Doe 53 realizes that Dr. Strauss sexually abused and harassed him and

        his teammates. However, he did not know or have reason to know this until 2018, when he

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        learned about OSU’s investigation into allegations of abuse by Dr. Strauss.

 745.   While John Doe 53 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable during and after Dr. Strauss’s examinations,

        John Doe 53 did not understand or believe that Dr. Strauss had sexually abused him.

 746.   John Doe 53 reasonably believed that OSU would not have made Dr. Strauss the athletic

        team doctor and required him and other athletes to see Dr. Strauss unless Dr. Strauss’s

        examinations were legitimate.

 747.   Until learning in 2018 about OSU’s investigation into Dr. Strauss’s conduct, John Doe 53

        did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

        conduct or that other athletes had previously complained to OSU about Dr. Strauss’s abuse.

        Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—had

        harmed him.

 748.   In any event, even if, while John Doe 53 was an OSU student, he had tried to inquire further

        into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

        controlled access to that information.

 749.   In short, until learning in 2018 about Dr. Strauss’s serial sexual abuse of OSU students,

        John Doe 53 did not know, or have reason to know, that Dr. Strauss had sexually abused

        him, that OSU had known about Dr. Strauss’s serial sexual abuse, or that OSU had failed

        to take appropriate steps to stop Dr. Strauss’s abuse.

 750.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 53 would not have been abused by Dr. Strauss.

 751.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 53 suffered

        emotional and psychological damages. He felt disgusted and humiliated by Dr. Strauss’s

        actions, and he is gradually coming to terms with the abuse he suffered and how it has

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       affected him. After the abuse, John Doe 53 considered quitting college because of the

       traumatic experience. John Doe 53 also did not feel confident in sexual situations. He was

       awkward in his sexual relationships, which caused him embarrassment. Further, Dr. Strauss

       made John Doe 53 worry that he might have breast cancer or get breast cancer in the future,

       which has caused John Doe 53 significant stress, shame, and anger over the years. John

       Doe 53 asked his primary care physicians over the years if he was at risk for breast cancer

       and they emphatically said he was not at risk. Most physicians were confused by his

       concern. John Doe 53 remains offended and disappointed that Dr. Strauss conducted such

       an inappropriate exam on him and OSU did nothing to prevent it. He is disappointed that

       OSU put someone like Dr. Strauss in a position where he could harm others in the way that

       he did. The abuse has made him lose trust in the medical profession and institutions,

       especially when coupled with the news of assaults by physicians at other universities,

       including a university attended by one of his children. He now feels extreme distress when

       he thinks about his child and how that child could have suffered similar abuse. He also

       feels distress when he thinks about the student-athletes at other universities who suffered

       abuse by university doctors in the years after Dr. Strauss’s abuse, and how OSU could have

       led by example in protecting students from that type of abuse. John Doe 53 also continues

       to suffer from the degrading comments he received from teammates, roommates, and other

       students who heard about the incidents with Dr. Strauss. People around him assumed he

       was not very masculine and questioned his sexuality because of the extra time and attention

       Dr. Strauss gave him. He has spent a lot of time and energy reliving the experiences that

       he was subjected to and the sexual abuse he suffered. He is disappointed and hurt that OSU,

       an institution he loves, could have prevented his suffering and the suffering of many other

       people, but instead did nothing in the face of multiple complaints about Dr. Strauss.

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                                         JOHN DOE 54

 752.   John Doe 54 was a student at OSU from 1987 to 1992, and was a member of OSU’s Alpine

        Ski Team, a student-run competitive ski racing team, from 1989 to 1990.

 753.   While a student at OSU, John Doe 54 was examined by Dr. Strauss on one occasion in

        February 1989 at OSU’s Student Health Center.

 754.   John Doe 54 was referred to the Student Health Center by the OSU hospital to have stiches

        removed from a hand injury sustained during a ski competition. A nurse at the Student

        Health Center instructed John Doe 54 that he had to see Dr. Strauss for treatment because

        Dr. Strauss was the sports medicine doctor. John Doe 54 explained that he was not a varsity

        athlete and did not need to see a sports medicine doctor, but Student Health Center nurse

        insisted that he had to see Dr. Strauss. John Doe 54 did not believe he had a choice and met

        with Dr. Strauss. John Doe 54 was alone in the room with Dr. Strauss during the

        appointment.

 755.   At the appointment, Dr. Strauss asked John Doe 54 to pull down his pants and stand on a

        stool, even though John Doe 54’s injury was on his hand. Dr. Strauss put his face close to

        John Doe 54’s genitals and began examining John Doe 54’s genitals with ungloved hands.

        Dr. Strauss held John Doe 54’s penis while examining his scrotum, then claimed to check

        the lymph nodes around his genitals. Dr. Strauss lightly stroked John Doe 54’s penis while

        moving it right, left, and up. At the same time, Dr. Strauss asked John Doe 54 multiple

        questions about John Doe 54’s sexual history.

 756.   John Doe 54 believed that Dr. Strauss sought to cause him to become erect, but John Doe

        54 did not.

 757.   During the appointment, Dr. Strauss also asked John Doe 54 to unbutton his shirt. Dr.

        Strauss touched John Doe 54’s nipples and made comments about John Doe 54’s physique.

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 758.   Dr. Strauss spent approximately two to three minutes examining John Doe 54’s groin and

        just a few seconds examining his hand. After examining John Doe 54’s hand, Dr. Strauss

        ended his exam and left the room. Another medical professional entered the room and

        removed the stitches from John Doe 54’s hand.

 759.   Dr. Strauss’s conduct during the appointment made John Doe 54 extremely uncomfortable.

        John Doe 54 left the appointment thinking that it was weird and an invasion of his personal

        space, but he did not know that Dr. Strauss had sexually abused and harassed him

 760.   While he was a student at OSU, John Doe 54 did not know what to do about Dr. Strauss’s

        conduct. He was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 761.   In retrospect, John Doe 54 realizes that Dr. Strauss sexually abused and harassed him.

        However, he did not know or have reason to know this until in or about 2018, when he

        learned about OSU’s investigation into allegations of abuse by Dr. Strauss and saw media

        coverage of the criminal sentencing of Michigan State University physician Larry Nassar.

        Around the same time, John Doe 54 found records of his exam with Dr. Strauss while

        moving and began to process that Dr. Strauss’s exam behavior was sexual abuse.

 762.   While John Doe 54 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable during Dr. Strauss’s examinations, John

        Doe 54 did not understand or believe that Dr. Strauss had sexually abused him.

 763.   John Doe 54 reasonably believed that that OSU would not have made Dr. Strauss a

        university doctor unless Dr. Strauss’s examinations were legitimate.

 764.   Until learning in 2018 about OSU’s investigation into Dr. Strauss’s conduct and the Nassar

        sentencing, John Doe 54 did not know, or have reason to know, of OSU’s role in Dr.

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        Strauss’s sexually abusive conduct or that other students had previously complained to

        OSU about Dr. Strauss’s abuse. Nor did he have reason to investigate whether OSU—in

        addition to Dr. Strauss—had harmed him.

 765.   In any event, even if, while John Doe 54 was an OSU student, he had tried to inquire further

        into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

        controlled access to that information.

 766.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 54 would not have been abused by Dr. Strauss.

 767.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 54 has suffered

        emotional and psychological damages. John Doe 54’s professional career and aspirations

        were derailed. He began drinking heavily in response to Dr. Strauss’s abuse, which made

        it more difficult to complete his coursework at OSU. He continued to drink heavily and use

        recreational drugs for twenty-five years after his abuse as a form of self-medication, which

        contributed to his decision not to apply to graduate school. On a personal level, John Doe

        54 had difficulty with romantic relationships. For about twenty-five years after Dr.

        Strauss’s abuse, John Doe 54 engaged in risky sexual behavior and had trouble being

        intimate and fully unclothed around romantic partners; his partners at the time commented

        on his discomfort with being unclothed. John Doe 54 also became defensive and

        apprehensive about his personal space around other people. He is uncomfortable when

        people are in close physical proximity to him. Since the abuse, John Doe 54 has also

        avoided gyms and participated less in athletic activities. He has developed a distrust of

        medical professionals, authority figures, and organizations.

                                         JOHN DOE 55

 768.   John Doe 55 was a student at OSU from 1978 to 1982, and was a student athletic trainer

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        during that time. During his junior and senior years, he was the lead male athletic trainer

        in charge of Larkins Hall.

 769.   John Doe 55 received a partial scholarship for being a student trainer and was compensated

        by OSU for his time as a work-study employee. He relied on that scholarship to attend

        college.

 770.   John Doe 55 was treated by Dr. Strauss for mononucleosis when he was a junior. Dr.

        Strauss required John Doe 55 to return for over ten follow-up appointments for his

        mononucleosis. On a few other occasions, John Doe 55 sought treatment from Dr. Strauss

        for colds and other minor conditions.

 771.   During each of John Doe 55’s appointments with Dr. Strauss, Dr. Strauss put his hands on

        John Doe 55 from head to toe. Dr. Strauss then thoroughly examined John Doe 55’s penis

        and testicles while John Doe 55 stood in front of Dr. Strauss. On each occasion, Dr. Strauss

        ordered John Doe 55 to lie face down on the examination table and digitally penetrated

        John Doe 55’s anus in the guise of a rectal exam, using lubrication on his bare fingers.

 772.   Dr. Strauss never wore gloves during his exams.

 773.   At the time, John Doe 55 did not believe that Dr. Strauss had abused him, but believed Dr.

        Strauss’s conduct was “weird.”

 774.   As a student trainer, John Doe 55 also sat in on hundreds of student exams while he

        presided over Larkins Hall, many of which were conducted by Dr. Strauss. John Doe 55

        recalls that Dr. Strauss’s routine was largely the same with every athlete. Dr. Strauss would

        examine every male athlete’s groin and fondle their genitalia. He also commonly conducted

        rectal and prostate exams. He never wore gloves. John Doe 55 also recalls that Dr. Strauss

        “loved” to conduct skin checks on the OSU wrestlers in particular. He was very thorough,

        and would pull on the wrestlers’ penises, moving their penises in every direction and

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        closely evaluating them.

 775.   John Doe 55 knew that many student trainers and athletes commonly joked about Dr.

        Strauss, and referred to him as “Dr. Dick” and “Dr. Soft Hands.”

 776.   Dr. Strauss often showered with John Doe 55 and the wrestlers. Dr. Strauss would walk

        around the locker room completely naked with a towel over his shoulder, while staring at

        John Doe 55 and the student-athletes as they dressed. Dr. Strauss also commonly invited

        athletes back to his house to do homework.

 777.   As a student trainer, John Doe 55 was privy to many conversations between students,

        coaches, and other athletic trainers about Dr. Strauss. To John Doe 55, it seemed that the

        culture in the athletics department was of a “don’t ask, don’t tell” variety. It was common

        knowledge that Dr. Strauss gave prolonged genital exams to athletes. John Doe 55 heard

        many coaches and trainers joke about Dr. Strauss, including Coach Chris Ford and Coach

        Dick Sloan. The swimmers’ comments in front of Coach Sloan included, “Going to see the

        dick doctor” when going to see Dr. Strauss for an exam or ailment, and “Did you get your

        balls and dick rubbed?” after learning a teammate had seen Dr. Strauss. Coach Sloan would

        respond to these comments by saying, “That guy is weird,” in reference to Dr. Strauss. The

        swimmers also joked about Dr. Strauss in front of Coach Sloan while Dr. Strauss swam

        during the swim team practices.

 778.   Dr. Strauss offered John Doe 55 casual employment opportunities outside of OSU. For

        example, John Doe 55 raked leaves and did other errands for Dr. Strauss at Dr. Strauss’s

        home. Dr. Strauss paid John Doe 55 well.

 779.   Despite what he witnessed, while he was a student at OSU, John Doe 55 never thought

        anything of Dr. Strauss’s exams. He assumed that Dr. Strauss’s extensive evaluation of

        student athletes’ genitalia was simply a thorough, medically necessary exam. He also

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        thought that—because Dr. Strauss was kind, intelligent, and took an interest in students—

        his exams were legitimate and professional. John Doe 55 did not understand Dr. Strauss’s

        conduct to be sexual abuse.

 780.   John Doe 55 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 781.   Until learning in early 2018 about an investigation into allegations that Dr. Strauss had

        sexually abused OSU student-athletes, John Doe 55 did not know, or have reason to know,

        of OSU’s role in Dr. Strauss’s sexually abusive medical examinations of him or that other

        athletes had previously complained to OSU about Dr. Strauss’s abuse.

 782.   Until hearing reports in 2018, John Doe 55 had no reason to investigate whether OSU—in

        addition to Dr. Strauss—had harmed him.

 783.   Even if, while a student at OSU, John Doe 55 had tried to inquire into OSU’s role in

        permitting Dr. Strauss’s abuse of him, the inquiry would have been futile, as OSU

        controlled access to that information.

 784.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 55 would not have been abused by Dr. Strauss.

 785.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it and other instances of

        abuse, John Doe 55 has suffered long-lasting emotional and psychological harm. Dr.

        Strauss’s abuse has been on John Doe 55’s mind every day since learning about OSU’s

        investigation, causing him severe distress. Over the years, John Doe 55 has had problems

        with relationships, anger, and anxiety, and feels he was “used” by Dr. Strauss. John Doe

        55 has recently sought counseling to address these issues.



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                                         JOHN DOE 56

 786.   John Doe 56 was a student at OSU from 1983 to 1988, and a member of OSU’s baseball

        team from 1984 to 1988. John Doe 56 attended OSU on a partial athletic scholarship.

 787.   John Doe 56 relied on his scholarship to attend college.

 788.   John Doe 56 was abused by Dr. Strauss at an OSU facility during a pre-season physical

        sometime between 1984 and 1988. As a member of the OSU baseball team, John Doe 56

        was required to receive pre-season physicals every year.

 789.   John Doe 56 waited for a physical in the training room with his other teammates. He was

        called in by Dr. Strauss to a private exam room. The two were alone during the exam.

 790.   Dr. Strauss asked John Doe 56 to stand on a footstool and remove his shorts; John Doe 56

        complied and was naked. Dr. Strauss sat on a chair at eye level with John Doe 56’s

        genitalia. He cupped John Doe 56’s testicles with his hands and groped his genitalia for a

        prolonged time. Dr. Strauss did not wear gloves.

 791.   Dr. Strauss made remarks about John Doe 56’s body during the exam, telling John Doe 56,

        “you look strong,” and “you must spend a lot of time at the gym.”

 792.   Dr. Strauss’s exam made John Doe 56 uncomfortable, confused, and ashamed. At the time,

        while he felt that Dr. Strauss’s behavior was weird, he assumed that Dr. Strauss was

        conducting a legitimate medical exam.

 793.   After Dr. Strauss examined John Doe 56, John Doe 56 commented to an OSU baseball

        trainer about how unusual the exam was. The OSU baseball trainer replied to the effect that

        “some doctors are just really into the human body” and Dr. Strauss was one of those

        doctors.

 794.   John Doe 56’s teammates had similar experiences with Dr. Strauss. The teammates made

        light of their encounters and joked about how Dr. Strauss seemed to pay special attention

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        to John Doe 56, implying that John Doe 56 was gay.

 795.   Dr. Strauss would often hang around the showers with the baseball team after practices and

        make comments about the players’ physiques.

 796.   John Doe 56 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 797.   Until reading news coverage about Dr. Strauss’s abuse in or about 2018, John Doe 56 did

        not know, or have reason to know, that Dr. Strauss’s examination of him was sexually

        abusive. Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—

        had harmed him.

 798.   While John Doe 56 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable during Dr. Strauss’s examination, John Doe

        56 did not understand or believe that Dr. Strauss had sexually abused him.

 799.   This is because, while John Doe 56 attended OSU, student-athletes openly joked about Dr.

        Strauss’s examinations in front of OSU staff, and John Doe 56 reasonably believed that

        OSU would not have made Dr. Strauss the athletic team doctor and required him and other

        athletes to see Dr. Strauss unless Dr. Strauss’s examinations were legitimate.

 800.   In addition, the OSU trainer’s unconcerned reaction to comments about Dr. Strauss’s

        touchy-feely exams reinforced John Doe 56’s reasonable belief that pursuing the matter

        would not be productive.

 801.   In short, until seeing news coverage in or about 2018, about Dr. Strauss’s serial sexual

        abuse of OSU students, John Doe 56 did not know, or have reason to know, that Dr. Strauss

        had sexually abused him, that OSU had known about Dr. Strauss’s serial sexual abuse, or

        that OSU had failed to take the appropriate steps to stop Dr. Strauss’s abuse.

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 802.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 56 would not have been abused by Dr. Strauss.

 803.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 56 has suffered

        emotional and psychological damages. He is just now coming to terms with the abuse he

        suffered and how it has affected him. While John Doe 56 has tried to compartmentalize the

        incident with Dr. Strauss over the years, he has had trouble coping with the impact of the

        abuse. John Doe 56 struggled with debilitating anxiety, for which he was prescribed

        medication, which distracted him from his work and affected his performance. He still has

        bouts of anxiety that he actively manages. Since learning about Dr. Strauss’s serial sexual

        abuse in 2018, John Doe 56 has felt confused and bewildered, blaming himself for not

        recognizing Dr. Strauss’s actions as abuse at the time. He worries that his teenage children

        will face sexual predators like Dr. Strauss and works to teach them to protect themselves.

                                         JOHN DOE 57

 804.   John Doe 57 was a student at OSU in 1994 and 1995.

 805.   In 1994, while he was trying out to join the junior varsity cheerleading team, an older

        student-athlete on the cheerleading team suggested that John Doe 57 see Dr. Strauss for a

        pre-existing knee injury.

 806.   Dr. Strauss arranged for John Doe 57 to see him during an evening appointment, after

        business hours. The two were alone in Dr. Strauss’s office.

 807.   Dr. Strauss told John Doe 57 to pull his pants down. Dr. Strauss then began examining

        John Doe 57’s genitals. He groped John Doe 57’s testicles for a long time, and told John

        Doe 57 that he was going to conduct a hernia exam.

 808.   Dr. Strauss never examined John Doe 57’s knee.

 809.   Dr. Strauss did not wear gloves during the exam.

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 810.   John Doe 57 froze up during the exam, shocked at what was happening to him. He knew

        that Dr. Strauss’s procedure did not feel normal and he thought that Dr. Strauss might have

        been checking to see if John Doe 57 was gay.

 811.   During his long walk home, John Doe 57 recalls feeling deeply confused, uncomfortable,

        and ashamed.

 812.   John Doe 57 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 813.   While John Doe 57 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable with Dr. Strauss’s examination, John Doe

        57 did not understand that Dr. Strauss had sexually abused him.

 814.   John Doe 57 reasonably believed that OSU would not have kept Dr. Strauss on staff as an

        OSU doctor unless Dr. Strauss’s examinations were legitimate.

 815.   John Doe 57 did not recognize Dr. Strauss’s examination was sexually abusive at the time.

 816.   Until reading news coverage of the OSU investigation in or about April, 2018, John Doe

        57 did not know, or have reason to know, that Dr. Strauss’s examinations of him and his

        teammates were sexually abusive. Nor did he have reason to investigate whether OSU—in

        addition to Dr. Strauss—had harmed him.

 817.   Until learning in 2018 about OSU’s investigation into Dr. Strauss’s conduct, John Doe 57

        did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

        conduct or that other students had previously complained to OSU about Dr. Strauss’s

        abuse. Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—

        had harmed him.

 818.   In any event, even if, while John Doe 57 was an OSU student, he had tried to inquire further

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        into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

        controlled access to that information.

 819.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 57 would not have been abused by Dr. Strauss.

 820.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 57 has suffered

        emotional and psychological damages. After his encounter with Dr. Strauss, John Doe 57

        sank into a depression and began abusing hard drugs and alcohol. John Doe 57 began

        feeling that other OSU professors were against him, in what he now realizes was a

        misdirection based on what Dr. Strauss did. Shortly thereafter, during his second semester,

        John Doe 57 dropped out of OSU. John Doe 57 did not obtain a college degree until over

        a decade later. During this long depressive episode, triggered by Dr. Strauss’s abuse, John

        Doe 57 lost friends and had issues getting along with his roommates. His finances were

        also impaired by the incident—he fell behind on credit card payments and racked up debt.

        John Doe 57 thinks back on that period as a serious “low point” in his life. Since the public

        reporting about Dr. Strauss’s abuse, John Doe 57 has suffered emotionally. Every time he

        sees Dr. Strauss’s picture in the media or online it reminds him of the abuse; he often feels

        angry, depressed, and emotionally drained by the media coverage. He feels betrayed by

        OSU; while he used to describe himself as a former OSU student, in conversations with

        others he now often avoids affiliating himself with OSU.

                                          JOHN DOE 58

 821.   John Doe 58 was a student at OSU from 1974 to 1979.

 822.   John Doe 58 saw Dr. Strauss once in the fall of 1978 at Student Health to address his acute

        constipation.

 823.   John Doe 58 met with Dr. Strauss at an OSU facility.

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 824.   At the exam, Dr. Strauss made comments about John Doe 58’s body, remarking that he

        looks like he was in shape and asking whether he was an athlete.

 825.   Dr. Strauss told John Doe 58 to lean over the exam table. He stood behind John Doe 58

        and conducted a rectal exam, digitally penetrating John Doe 58’s anus.

 826.   During the exam, Dr. Strauss reached around John Doe 58 and grabbed his penis and

        scrotum for an extended time. Dr. Strauss repeatedly stroked John Doe 58’s penis.

 827.   John Doe 58 asked Dr. Strauss what he was doing, because his medical concern was only

        constipation. Dr. Strauss responded: “I am examining you,” in an authoritative tone. Dr.

        Strauss then stopped stroking his penis.

 828.   Dr. Strauss told John Doe 58 to return for a follow-up appointment and prescribed over-

        the-counter medication and mineral oil. John Doe 58 refused to return for another

        appointment because he believed the initial exam to be strange and uncomfortable.

 829.   After the exam, John Doe 58 told his fiancé that the exam had been a weird experience.

 830.   Dr. Strauss’s conduct during the exam made John Doe 58 uncomfortable. He felt that Dr.

        Strauss was odd, but did not realize that Dr. Strauss was sexually abusing and harassing

        him.

 831.   While he was a student at OSU, John Doe 58 did not know what to do about Dr. Strauss’s

        conduct and he felt that he was not in a position to do anything.

 832.   John Doe 58 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 833.   In retrospect, John Doe 58 realizes that Dr. Strauss sexually abused and sexually harassed

        him. However, he did not know or have reason to know this until 2018, when he learned

        about OSU’s investigation into allegations of abuse by Dr. Strauss.

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 834.   While John Doe 58 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable during Dr. Strauss’s examinations, John

        Doe 58 did not understand or believe that Dr. Strauss had sexually abused him.

 835.   John Doe 58 reasonably believed that OSU would not have made Dr. Strauss a university

        doctor unless Dr. Strauss’s examinations were legitimate.

 836.   Until learning in 2018 about OSU’s investigation into Dr. Strauss’s conduct, John Doe 58

        did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

        conduct or whether other students had previously complained to OSU about Dr. Strauss’s

        abuse. Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—

        had harmed him.

 837.   In any event, even if, while John Doe 58 was an OSU student, he had tried to inquire further

        into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

        controlled access to that information.

 838.   If OSU had taken meaningful action to address Dr. Strauss’s inappropriate behavior as

        observed by OSU employees, John Doe 58 would not have been abused by Dr. Strauss.

 839.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 58 has suffered

        emotional and psychological damages. He has been uncomfortable obtaining medical

        treatment. He suffers suffered flashbacks to Dr. Strauss’s exam, particularly during prostate

        and rectal exams. As a result, he avoided obtaining a colonoscopy for over a decade. When

        he belatedly obtained a long-overdue colonoscopy, his doctor discovered that he had colon

        cancer. Had he not delayed obtaining regular colonoscopies, the polyps likely would have

        been caught before they became cancerous. John Doe 58 also feels guilty and believes that

        if he had complained about Dr. Strauss’s conduct at the time, he could have made a

        difference and protected other students from being abused by Dr. Strauss. That said, he is

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        also angered by the realization that had he come forward at the time, likely OSU would

        have ignored his complaints and done nothing. He feels betrayed by OSU; he considers

        himself a proud OSU alumni and OSU football fan, and he is disheartened that an

        institution he loves did not act to protect its students from Dr. Strauss.

                                           JOHN DOE 59

 840.   John Doe 59 was a student at OSU in the early 1980s, and a member of OSU’s gymnastics

        team during that period. John Doe 59 was a top gymnastics recruit and was given a partial

        athletic scholarship.

 841.   John Doe 59 relied on his scholarship to attend college.

 842.   John Doe 59 was a talented gymnast—not only was he heavily recruited by OSU, but he

        also lettered every year he was on the team and helped the team win a national

        championship title in 1985.

 843.   John Doe 59 was examined by Dr. Strauss over fifty times while at OSU. John Doe 59 had

        sustained a severe injury, but other doctors and trainers had misdiagnosed his injury. This

        required John Doe 59 to see Dr. Strauss repeatedly for medicine and treatment. John Doe

        59 also saw Dr. Strauss for more minor illnesses. In all, John Doe 59 saw Dr. Strauss at

        least monthly each year that he attended OSU.

 844.   For most of John Doe 59’s appointments, Dr. Strauss sought John Doe 59 out directly and

        insisted that he needed an exam. Other times, OSU athletic staff directed John Doe 59 to

        see Dr. Strauss, as Dr. Strauss was the gymnastics team doctor.

 845.   Almost all of John Doe 59’s exams took place in Larkins Hall. One of his exams took place

        in Dr. Strauss’s office, in a separate building on OSU’s campus.

 846.   John Doe 59’s exams with Dr. Strauss all followed a similar pattern. Dr. Strauss would sit

        on a chair or stool and instruct John Doe 59 to drop his pants. He would then tell John Doe

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        59 to either stand or lie down on his back on an exam table. Dr. Strauss would then bring

        his face very close to John Doe 59’s genitals, and would massage John Doe 59’s testicles

        and penis. John Doe 59 recalls that Dr. Strauss appeared “totally locked in” and

        “mesmerized” while examining John Doe 59’s genitals. Dr. Strauss’s groping and fondling

        would usually last several minutes. During a few of John Doe 59’s exams, Dr. Strauss

        stroked John Doe 59’s penis until he became erect. Dr. Strauss also frequently commented

        on John Doe 59’s physique and fitness during these exams.

 847.   Dr. Strauss never wore gloves during any of the exams.

 848.   Dr. Strauss’s exams made John Doe 59 feel uncomfortable, embarrassed, and ashamed.

        After his first exam with Dr. Strauss, John Doe 59 felt that the encounter had been

        “extremely weird.” After repeated similar encounters with Dr. Strauss, John Doe 59

        wondered how to respond, but ultimately concluded that there was nothing he could do, as

        he needed medical treatment. John Doe 59 did not realize that Dr. Strauss’s exams were

        sexually abusive.

 849.   John Doe 59’s teammates had similar experiences with Dr. Strauss. They made light of

        their experiences and joked about the exams, often in front of trainers and coaches. The

        trainers and coaches brushed aside the athletes’ jokes and never took any of the remarks

        seriously.

 850.   On one occasion, a friend from another college visited John Doe 59 and was working out

        in the gym with him. John Doe 59’s friend left to get something from the training room

        when Dr. Strauss was in the training room. When the friend returned, John Doe 59 noticed

        he was white as a ghost. The friend asked John Doe 59, “What is going on around here?”

        John Doe 59’s friend never told him what happened, but John Doe 59 assumed Dr. Strauss

        had done something to him.

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 851.   Dr. Strauss regularly hung around the gymnastics team. After every practice, Dr. Strauss

        followed the gymnastics team into the locker rooms and showers and lingered there. Dr.

        Strauss once invited himself out to Wendy’s with John Doe 59 and his teammates.

 852.   John Doe 59 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 853.   John Doe 59 did not recognize Dr. Strauss’s conduct as sexually abusive at the time.

 854.   In retrospect, John Doe 59 realizes that Dr. Strauss sexually abused and harassed him and

        his teammates. However, he did not know or have reason to know this until early 2018,

        when he saw media coverage of the criminal sentencing of Michigan State University

        physician Larry Nassar and heard female gymnasts talk about how Dr. Nassar sexually

        abused them under the guise of providing medical care.

 855.   While John Doe 59 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable during Dr. Strauss’s examinations, John

        Doe 59 did not understand or believe that Dr. Strauss had sexually abused him.

 856.   This is because, while John Doe 59 attended OSU, student-athletes openly joked about Dr.

        Strauss’s examinations in front of OSU staff, and John Doe 59 reasonably believed that

        OSU would not have made Dr. Strauss the athletic team doctor and required him and other

        athletes to see Dr. Strauss unless Dr. Strauss’s examinations were legitimate.

 857.   Until learning in 2018 about OSU’s investigation into Dr. Strauss’s conduct, John Doe 59

        did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

        conduct or that other athletes had previously complained to OSU about Dr. Strauss’s abuse.

        Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—had

        harmed him.

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 858.   This is because, in John Doe 59’s experience, Dr. Strauss’s conduct was common

        knowledge among trainers and coaches, but none of them seemed particularly concerned

        about it.

 859.   In any event, even if, while John Doe 59 was an OSU student he had tried to inquire further

        into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

        controlled access to that information.

 860.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 59 would not have been abused by Dr. Strauss.

 861.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 59 has suffered

        emotional and psychological damages. John Doe 59 believes that Dr. Strauss was able to

        take advantage of his misdiagnosed injury and get John Doe 59 to see him for repeated

        follow-up treatments. Due to his experiences with Dr. Strauss, John Doe 59 developed a

        fear and mistrust of doctors, as well as an aversion to going to the gym—it is simply too

        painful for John Doe 59 to be in doctor’s offices and gyms. John Doe 59 did not see a

        doctor for more than ten years after graduating from OSU. John Doe 59 is fearful for his

        children’s safety, especially when they must see a doctor. Dr. Strauss’s abuse had a

        profound effect on his comfort with his own body. It also affected his relationships with

        others, including his wife.

                                         JOHN DOE 60

 862.   John Doe 60 was a student at OSU from 1989 to 1992, and a member of OSU’s football

        team during that period. John Doe 60 attended OSU on a full athletic scholarship.

 863.   John Doe 60 relied on his scholarship to attend college.

 864.   John Doe 60 was a talented athlete. He was selected for the All-Big Ten Conference Team

        in 1992 and 1993. He entered the National Football League Draft after his junior year, in

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        1993.

 865.   While a student at OSU, John Doe 60 saw Dr. Strauss for annual pre-season physicals, as

        well as on four or five additional occasions for other medical examinations.

 866.   As a member of OSU’s football team, John Doe 60 was required to have a pre-season

        physical. He was referred to see Dr. Strauss by Dr. Bob Murphy.

 867.   All of John Doe 60’s physicals with Dr. Strauss occurred at the Woody Hayes facility on

        OSU’s campus. All of John Doe 60’s other examinations with Dr. Strauss occurred in Dr.

        Strauss’s office next to Larkins Hall.

 868.   John Doe 60 was alone with Dr. Strauss during each appointment.

 869.   During each of John Doe 60’s physicals with Dr. Strauss, Dr. Strauss instructed John Doe

        60 to remove his pants and underwear. He then fondled John Doe 60’s genitals and

        conducted a rectal exam.

 870.   When John Doe 60 saw Dr. Strauss for appointments other than pre-season physicals, Dr.

        Strauss performed a similar routine. He asked John Doe 60 to drop his underwear and

        groped John Doe 60’s genitals.

 871.   On one occasion, when John Doe 60 went to see Dr. Strauss for a cold, Dr. Strauss told

        John Doe 60 to pull down his pants. Dr. Strauss held John Doe 60’s genitals, then walked

        away to write down some notes. He came back and resumed holding John Doe 60’s penis

        again. Dr. Strauss did this several more times—walking away, and then returning to hold

        and fondle John Doe 60’s penis for ten to fifteen seconds at a time. John Doe 60 recalls

        thinking that Dr. Strauss’ behavior was incredibly strange.

 872.   During three of John Doe 60’s visits his sophomore year, John Doe 60 asked for money

        from Dr. Strauss to purchase items he needed for his young daughters, such as diapers. On

        each occasion, Dr. Strauss escalated his groping to the point where he fondled John Doe

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        60’s penis to erection, then stroked John Doe 60’s penis until he ejaculated. After doing

        so, Dr. Strauss gave John Doe 60 $40 or $50 each time. John Doe 60 felt as though Dr.

        Strauss had control over him.

 873.   During the examinations, Dr. Strauss would often ask John Doe 60, “How does that feel?”

        while leering at him.

 874.   While Dr. Strauss occasionally wore gloves during the examinations, he often did not.

 875.   Dr. Strauss’s examinations made John Doe 60 extremely uncomfortable, ashamed, and

        confused. He had difficulty processing what had happened to him and feared that others

        would think he was gay.

 876.   John Doe 60’s teammates had similar experiences with Dr. Strauss, but the teammates

        made light of their experiences and joked about the exams.

 877.   John Doe 60 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 878.   John Doe 60 did not recognize Dr. Strauss’s conduct as sexually abusive at the time.

 879.   While John Doe 60 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable during Dr. Strauss’s examinations, John

        Doe 60 did not understand or believe that Dr. Strauss had sexually abused him.

 880.   This is because, while John Doe 60 attended OSU, student-athletes openly joked about Dr.

        Strauss’s examinations, and John Doe 60 reasonably believed that OSU would not have

        made Dr. Strauss the athletic team doctor and required him and other athletes to see Dr.

        Strauss unless Dr. Strauss’s examinations were legitimate.

 881.   Until reading news coverage of the OSU investigation in 2018, John Doe 60 did not know,

        or have reason to know, that Dr. Strauss’s examinations of him and his teammates were

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        sexually abusive. Nor did he have reason to investigate whether OSU—in addition to Dr.

        Strauss—had harmed him.

 882.   In any event, even if, while John Doe 60 was an OSU student he had tried to inquire further

        into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

        controlled access to that information.

 883.   In short, until learning in 2018 about Dr. Strauss’s serial sexual abuse of OSU students,

        John Doe 60 did not know, or have reason to know, that Dr. Strauss had sexually abused

        him, that OSU had known about Dr. Strauss’s serial sexual abuse, or that OSU had failed

        to take appropriate steps to stop Dr. Strauss’s abuse.

 884.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 60 would not have been abused by Dr. Strauss.

 885.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 60 has suffered

        emotional and psychological damages. For example, John Doe 60 has a hard time trusting

        people, especially doctors. Dr. Strauss’s abuse has negatively affected his relationships

        with romantic partners. John Doe 60 also developed homophobia. Over the years, he has

        often had flashbacks about Dr. Strauss’s abuse, causing him significant trauma. John Doe

        60 has had to seek counseling to address these issues.

                                          JOHN DOE 61

 886.   John Doe 61 was a student at OSU from 1988 to 1992, and a member of OSU’s swim team

        from 1988 through 1991. John Doe 61 received a partial athletic scholarship.

 887.   John Doe 61 relied on his scholarship to attend college.

 888.   John Doe 61 saw Dr. Strauss for medical examinations three times while a student at OSU.

        He saw Dr. Strauss twice in 1988, once for a pre-season physical and again for a follow up

        appointment. He saw Dr. Strauss again later in his college career, for a cold or flu.

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 889.   John Doe 61 and Dr. Strauss were alone during each examination.

 890.   Dr. Strauss never wore gloves during any of his examinations of John Doe 61.

 891.   In the fall of 1988, John Doe 61 was instructed by OSU coaching staff to see Dr. Strauss

        for a team physical. At that appointment, Dr. Strauss told John Doe 61 that one of John

        Doe 61’s testicles was larger than the other and that John Doe 61 would have to schedule

        a follow up appointment with Dr. Strauss at the Student Health Clinic the following week,

        so that Dr. Strauss could examine him in an office environment.

 892.   The following week, John Doe 61 went to the Student Health Clinic for his follow-up

        appointment. He and Dr. Strauss were alone in an examination room.

 893.   Dr. Strauss instructed John Doe 61 to remove all of his clothing. He then retrieved a

        flashlight, turned off the lights, and got on his knees. He brought his face very close to John

        Doe 61’s groin and began examining John Doe 61’s genitals, pulling down John Doe 61’s

        scrotum and grabbing John Doe 61’s buttocks and penis. John Doe 61 could feel Dr.

        Strauss’s breath on his genitals.

 894.   The examination took about ten to fifteen minutes; John Doe 61 was deeply uncomfortable

        throughout. Toward the end, finding the examination unbearable, John Doe 61 said to Dr.

        Strauss, “Okay doc, that’s good.” Dr. Strauss responded that everything was fine, and

        ended the examination.

 895.   Sometime later in his college career, John Doe 61 came down with the cold or the flu. Dr.

        Strauss told John Doe 61 to visit his house for an appointment.

 896.   When John Doe 61 arrived at Dr. Strauss’s house, Dr. Strauss offered him an alcoholic

        drink. John Doe 61 declined.

 897.   Dr. Strauss told John Doe 61 to go upstairs into the large bedroom, to take off his clothing,

        and to wait for Dr. Strauss. John Doe 61 went upstairs and began to remove his clothing.

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        Halfway through disrobing, he thought to himself, “What am I doing?”

 898.   As John Doe 61 was putting his clothing back on, Dr. Strauss came into the bedroom, and

        said to John Doe 61, “What’s the matter, I was going to examine you?” John Doe 61

        responded that he was going home, and left Dr. Strauss’s house.

 899.   Dr. Strauss’s sexually abusive behavior towards John Doe 61 was not confined to medical

        examinations. Dr. Strauss regularly entered the locker rooms while John Doe 61 and his

        teammates were cleaning off, and watched John Doe 61 and his teammates showering. Dr.

        Strauss carried around a tub of Lubriderm lotion, which he called “Lubrisperm.” He

        regularly rubbed the Lubriderm lotion on John Doe 61’s fellow athletes’ bodies. Dr. Strauss

        rubbed Lubriderm on John Doe 61’s torso countless times.

 900.   Dr. Strauss frequently made inappropriate comments to John Doe 61. He commented on

        John Doe 61’s muscles, asked John Doe 61 whether he was on steroids, told John Doe 61

        he was a “physical specimen,” and asked John Doe 61 for graphic details about his sex

        life—including whether John Doe 61 had engaged in anal sex.

 901.   John Doe 61 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 902.   Dr. Strauss’s conduct made John Doe 61 deeply uncomfortable, but he did not recognize it

        as sexual abuse at the time.

 903.   In retrospect, John Doe 61 realizes that Dr. Strauss sexually abused and harassed him and

        his teammates. However, he did not know or have reason to know this until 2019, after

        Perkins Coie issued its report finding that Dr. Strauss’s examinations were sexual abusive.

 904.   While John Doe 61 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable during Dr. Strauss’s examinations, John

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        Doe 61 did not understand or believe that Dr. Strauss had sexually abused him.

 905.   This is because, while John Doe 61 attended OSU, student-athletes openly joked about Dr.

        Strauss’s examinations, and John Doe 61 reasonably believed that OSU would not have

        made Dr. Strauss the athletic team doctor and required him and other athletes to see Dr.

        Strauss unless Dr. Strauss’s examinations were legitimate.

 906.   Until reading Perkins Coie’s report in 2019, John Doe 61 did not know, or have reason to

        know, of OSU’s role in Dr. Strauss’s sexually abusive conduct or that other athletes had

        previously complained to OSU about Dr. Strauss’s abuse. Nor did he have reason to

        investigate whether OSU—in addition to Dr. Strauss—had harmed him.

 907.   This is because, in John Doe 61’s experience, Dr. Strauss’s conduct was common

        knowledge among trainers and coaches, but none of them seemed particularly concerned

        about it.

 908.   In any event, even if, while John Doe 61 was an OSU student he had tried to inquire further

        into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

        controlled access to that information.

 909.   In short, until learning about Dr. Strauss’s serial sexual abuse of OSU students and reading

        the Perkins Coie’s report in 2019, John Doe 61 did not know, or have reason to know, that

        Dr. Strauss had sexually abused him, that OSU had known about Dr. Strauss’s serial sexual

        abuse, or that OSU had failed to take appropriate steps to stop Dr. Strauss’s abuse.

 910.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 61 would not have been abused by Dr. Strauss.

 911.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 61 has suffered

        emotional and psychological damages. John Doe 61 has had a difficult time with romantic

        relationships and relationships with co-workers and friends. John Doe 61 worries about the

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        safety and well-being of his children in schools, camps, and general activities, wherever

        abuse may potentially occur, causing him great anxiety.

                                         JOHN DOE 62

 912.   John Doe 62 attended OSU from 1984 to 1989, and was a member of OSU’s soccer team

        from 1984 through 1986.

 913.   While at OSU, John Doe 62 saw Dr. Strauss for one pre-season physical during his

        freshman year and another examination during his sophomore year that was either a pre-

        season physical or an examination of a knee injury.

 914.   John Doe 62 was an 18-year-old freshman when he was abused by Dr. Strauss for the first

        time.

 915.   As a member of OSU’s soccer team, John Doe 62 was required to receive a pre-season

        physical in August 1984. The head coach of the soccer team scheduled John Doe 62 and

        his teammates to receive their physicals from Dr. Strauss.

 916.   One by one, the players entered a private exam room with Dr. Strauss.

 917.   When John Doe 62 entered the exam room, Dr. Strauss instructed him to remove his pants

        and underwear.

 918.   Dr. Strauss sat at eye level with John Doe 62’s genitals and told John Doe 62 that he needed

        to “look around down there.” He then examined John Doe 62’s genitals for an extended

        time, fondling John Doe 62’s penis and testicles for approximately two minutes. John Doe

        62 was shocked and did not know was going on.

 919.   Dr. Strauss did not wear gloves during the examination.

 920.   John Doe 62’s second examination with Dr. Strauss went much the same as the first. Dr.

        Strauss sat close to John Doe 62’s genitals and grabbed and fondled John Doe 62’s penis

        and testicles for about one to two minutes. John Doe 62 had no issue or injury related to

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        his genitals that needed examination. Dr. Strauss made John Doe 62 believe he was

        checking for a hernia and other things. At this time, John Doe 62 did not know what a

        hernia was and had no knowledge to dispute the examination.

 921.   Dr. Strauss’s examinations made John Doe 62 extremely uncomfortable, confused, and

        embarrassed.

 922.   After Dr. Strauss’s examinations, John Doe 62 avoided seeking treatment from Dr. Strauss

        for all other injuries he sustained. Instead, John Doe 62 either went to a student athletic

        trainer for treatment or avoided seeking medical treatment altogether.

 923.   John Doe 62’s teammates often joked about their experiences with Dr. Strauss. They

        frequently remarked that they did not want to get injured, otherwise they would have to see

        Dr. Strauss. On at least one occasion, one of John Doe 62’s teammates told him, “Dr.

        Strauss is playing with my balls.”

 924.   A few times after a practice, Dr. Strauss would shower with John Doe 62 and other

        members of the soccer team.

 925.   John Doe 62 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss.

 926.   At the time, no education about sexual abuse or harassment had ever been provided to John

        Doe 62 and he had no idea Dr. Strauss’s examinations could be considered sexual abuse or

        harassment. In retrospect, John Doe 62 realizes that Dr. Strauss sexually abused and

        harassed him and his teammates. However, he did not know or have reason to know this

        until 2019, when Perkins Coie issued its report finding that Dr. Strauss’s examinations

        were sexual abusive.

 927.   While John Doe 62 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable during Dr. Strauss’s examinations, John

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        Doe 62 did not understand or believe that Dr. Strauss had sexually abused him.

 928.   John Doe 62 reasonably believed that OSU would not have made Dr. Strauss the athletic

        team doctor and required him and other athletes to see Dr. Strauss unless Dr. Strauss’s

        examinations were legitimate.

 929.   Until reading Perkins Coie’s report in 2019, John Doe 62 did not know, or have reason to

        know, of OSU’s role in Dr. Strauss’s sexually abusive conduct or that other athletes had

        previously complained to OSU about Dr. Strauss’s abuse. Nor did he have reason to

        investigate whether OSU—in addition to Dr. Strauss—had harmed him.

 930.   After reading the Perkins Coie report in 2019 and after reading OSU’s admission of the

        sexual abuse in the Perkins Coie report, John Doe 62 for the first time realized he was

        sexually abused by Dr. Strauss.

 931.   For the first time after reading the Perkins Coie report in 2019, John Doe 62 realized that

        Dr. Strauss’s examinations had nothing to do with standard medical procedures.

 932.   For the first time after reading the Perkins Coie report, John Doe 62 realized that Dr. Strauss

        used his position of authority to sexually abuse him and other athletes under the guise of

        fake medical examinations, and that OSU knew about Dr. Strauss’s conduct at the time of

        John Doe 62’s examination.

 933.   In any event, even if, while John Doe 62 was an OSU student, he had tried to inquire further

        into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

        controlled access to that information.

 934.   In short, until learning about Dr. Strauss’s serial sexual abuse of OSU students and reading

        the Perkins Coie’s report in 2019, John Doe 62 did not know, or have reason to know, that

        Dr. Strauss had sexually abused him, that OSU had known about Dr. Strauss’s serial sexual

        abuse, or that OSU had failed to take appropriate steps to stop Dr. Strauss’s abuse.

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 935.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 62 would not have been abused by Dr. Strauss.

 936.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 62 suffered

        emotional and psychological damages. John Doe 62 considers Dr. Strauss’s abusive

        conduct to be his “first sexual experience,” and has suffered severe emotional and

        psychological anguish as a result. He feels deep shame and embarrassment to this day, and

        fears speaking to anyone about what happened to him. He has never allowed another doctor

        to examine his genitals. He has suffered from relationship and trust issues, and feels he has

        not been sufficiently caring, friendly, or compassionate towards others. He fears for his

        children’s safety when they are in the hands of institutions with power and authority, and

        did not allow his daughter to attend OSU for college this year.

                                          JOHN DOE 63

 937.   John Doe 63 was a student at OSU from 1977 to 1983, and a member of OSU’s wrestling

        team from 1977 to 1981. John Doe 63 received a partial athletic scholarship during his

        sophomore year.

 938.   John Doe 63 relied on his scholarship to attend college.

 939.   John Doe 63 saw Dr. Strauss once for medical treatment during his time at OSU. John Doe

        63 was a 19-year-old sophomore at the time.

 940.   During a wrestling practice session, Dr. Strauss approached John Doe 63. John Doe 63 had

        the flu at the time, and Dr. Strauss made a comment to John Doe 63 about his lackluster

        performance. Dr. Strauss told John Doe 63 that he would have to give him a medical

        examination.

 941.   Dr. Strauss brought John Doe 63 into a private room in Larkins Hall. The two were alone.

 942.   Dr. Strauss closed the door and told John Doe 63 to drop his shorts and jock strap. Dr.

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        Strauss began fondling John Doe 63’s genitals aggressively. He also groped John Doe 63

        on his back and arms. Throughout the exam, Dr. Strauss had a “creepy” expression on his

        face, as if mesmerized by John Doe 63’s body.

 943.   Dr. Strauss did not wear gloves during the exam.

 944.   Dr. Strauss’s conduct made John Doe 63 extremely uncomfortable, confused, and

        embarrassed. While John Doe 63 was an OSU student, he trusted that OSU would not allow

        him to be harmed. So, even though he felt uncomfortable during Dr. Strauss’s

        examinations, John Doe 63 did not understand or believe that Dr. Strauss had sexually

        abused him. When John Doe 63 walked out of the exam room and back into the training

        room, one of his friends looked up and laughed at him. John Doe 63 felt that his friends

        could immediately tell from his expression what had happened to him.

 945.   This type of reaction was not uncommon amongst John Doe 63 and his teammates. John

        Doe 63 and his teammates jokingly called Dr. Strauss “Dick Strauss.” John Doe 63 believes

        that his teammates also faced prolonged genital exams by Dr. Strauss and made light of

        their experiences. John Doe 63 and his teammates laughed at other teammates when they

        came out of appointments with Dr. Strauss.

 946.   Dr. Strauss regularly showered with the wrestling team. Dr. Strauss was usually the first

        one in the shower and the last one out after wrestling practice. He also regularly stood

        around the locker room before and after wrestling practice as the wrestlers were changing.

 947.   Dr. Strauss often approached John Doe 63 in the locker room while John Doe 63 undressed.

 948.   Some wrestlers were required to participate in a study conducted by Dr. Strauss on body

        fat in athletes. John Doe 63 was one of the wrestlers required to participate in the study.

        He is uncertain who decided which wrestlers were to participate. Dr. Strauss told John Doe

        63 to get into a submersion tank completely naked as part of the study. John Doe 63 recalls

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        Dr. Strauss ogling him throughout the study.

 949.   In 1978, during John Doe 63’s sophomore year, he suffered a concussion during practice

        in Larkins Hall. The trainers brought John Doe 63 to Dr. Strauss’s office adjacent to the

        wrestling room. Due to his concussion, John Doe 63 does not remember what Dr. Strauss

        did to him, and fears Dr. Strauss may have inappropriately touched him.

 950.   John Doe 63 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 951.   At the time of the abuse, John Doe 63 knew that Dr. Strauss’s actions were wrong.

        However, he did not recognize Dr. Strauss’s actions as sexual abuse at the time.

 952.   In retrospect, John Doe 63 realizes that Dr. Strauss sexually abused and harassed him and

        his teammates. However, he did not know or have reason to know this until 2018, when he

        saw media coverage of allegations against Dr. Strauss and OSU, around the time that OSU

        announced its investigation into allegations of sexual abuse against Dr. Strauss.

 953.   While John Doe 63 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable during Dr. Strauss’s examinations, John

        Doe 63 did not understand or believe that Dr. Strauss had sexually abused him.

 954.   This is because, while John Doe 63 attended OSU, student-athletes openly joked about Dr.

        Strauss’s examinations in front of OSU coaches and trainers, and John Doe 63 reasonably

        believed that OSU would not have made Dr. Strauss the athletic team doctor and required

        him and other athletes to see Dr. Strauss unless Dr. Strauss’s examinations were legitimate.

 955.   Until learning about the allegations against Dr. Strauss and OSU in 2018, John Doe 63 did

        not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive conduct

        or that other athletes had previously complained to OSU about Dr. Strauss’s abuse. Nor

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        did he have reason to investigate whether OSU—in addition to Dr. Strauss—had harmed

        him.

 956.   This is because, in John Doe 63’s experience, Dr. Strauss’s conduct was common

        knowledge among trainers and coaches, but none of them seemed particularly concerned

        about it.

 957.   In any event, even if, while John Doe 63 was an OSU student he had tried to inquire further

        into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

        controlled access to that information.

 958.   If OSU had taken meaningful action to address Dr. Strauss’s inappropriate behavior as

        observed by OSU employees, John Doe 63 would not have been abused by Dr. Strauss.

 959.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 63 has suffered

        emotional and psychological damages. Dr. Strauss’s abuse caused John Doe 63 to quit the

        wrestling team and cast a shadow over the remainder of his time at OSU. It caused him to

        enter a downward spiral of rage during which he developed an alcohol and drug problem,

        lasting until his early thirties. John Doe 63 feels as though Dr. Strauss’s abuse and the

        events it precipitated caused him to fall short of what he could have been in life. In addition,

        John Doe 63 developed a fear of doctors. Despite many injuries he sustained as a wrestler,

        John Doe 63 was reluctant to seek medical treatment, and refused to see another doctor

        while a student at OSU. In fact, John Doe 63 did not have a physical again until his mid-

        fifties, due largely to his experiences with Dr. Strauss. In 2019, after confronting the stress

        and trauma caused by Dr. Strauss, John Doe 63 developed a painful TMJ disorder that

        frequently causes his jaw to pop.

                                            JOHN DOE 64

 960.   John Doe 64 was a student at OSU from 1993 through 1998 and was a member of OSU’s

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        gymnastics team from 1993 to 1997. John Doe 64 received a partial athletic scholarship to

        attend OSU as a member of the gymnastics team.

 961.   John Doe 64 saw Dr. Strauss for the first time in the fall of 1993 for an annual physical.

 962.   John Doe 64 saw Dr. Strauss for an additional three annual physicals and three to four

        medical appointments between 1993 and 1996.

 963.   As a member of the gymnastics team, John Doe 64 was scheduled to have an annual

        physical with Dr. Strauss. He and his teammates went to Larkins Hall and waited to see

        Dr. Strauss individually. Each teammate was alone with Dr. Strauss in Dr. Strauss’s

        Larkins Hall office.

 964.   At each physical, Dr. Strauss instructed John Doe 64 to lower his pants and underwear

        halfway down his legs. Each time, Dr. Strauss sat on a chair with his face close to John

        Doe 64’s genitals and fondled and moved John Doe 64’s penis.

 965.   On each occasion, after fondling John Doe 64’s penis while John Doe 64’s pants were

        halfway down his legs, Dr. Strauss instructed John Doe 64 to “step out” of his pants and

        underwear. Dr. Strauss then conducted a more thorough examination where he continued

        to fondle John Doe 64’s penis and touch other areas of John Doe 64’s body, including his

        neck, arms, and nipples. Dr. Strauss asked if the areas he touched were painful or tender.

        During more than one physical, Dr. Strauss’s actions caused John Doe 64 to have an

        erection.

 966.   Dr. Strauss’s conduct at physicals was common knowledge. John Doe 64’s teammates

        referred to the more thorough portion of their physical examinations as “stepping out,” i.e.

        the men were told to step out of their pants and underwear.

 967.   Dr. Strauss repeatedly gave John Doe 64 “physicals” without a medical basis. On one

        occasion in the locker room, Dr. Strauss told John Doe 64 that he was “looking really fit”

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        and that he needed to feel John Doe 64’s nipples to make sure he wasn’t taking steroids.

        Dr. Strauss began feeling John Doe 64’s nipples and chest in the middle of the locker room.

 968.   From 1993 to 1996, John Doe 64 was sent to Dr. Strauss to treat gymnastics injuries on

        three to four occasions. At each appointment, Dr. Strauss insisted on conducting a physical

        in addition to treating the injury. On one occasion, John Doe 64 went to Dr. Strauss with a

        cut heel and Dr. Strauss performed a full physical. He required John Doe 64 to remove all

        of his clothes, then fondled John Doe 64’s penis and other body parts. Dr. Strauss also

        performed a full physical for a random drug test.

 969.   Dr. Strauss took advantage of excuses to touch John Doe 64 outside the exam room,

        including squeezing John Doe 64’s biceps and touching his stomach. Dr. Strauss frequently

        stood around the training room while John Doe 64 and his teammates were icing and

        heating their strained muscles. He sometimes rubbed John Doe 64’s legs and asked if they

        were sore.

 970.   Dr. Strauss frequently stood in the shower and stared at John Doe 64 and his teammates

        while they showered. Dr. Strauss also attended the gymnastics team’s practices and

        photographed the student-athletes in their uniforms.

 971.   John Doe 64 believed that Dr. Strauss’s behavior was not normal. However, he did not

        realize at the time that Dr. Strauss had sexually abused and harassed him and his

        teammates.

 972.   John Doe 64 did not report his discomfort with Dr. Strauss’s examination. He did not know

        that it was something he could complain about.

 973.   John Doe 64 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss.

 974.   In retrospect, John Doe 64 realizes that Dr. Strauss sexually abused and harassed him and

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        his teammates. However, he did not know or have reason to know this until 2018, when he

        learned about OSU’s investigation into allegations of abuse by Dr. Strauss and saw media

        coverage of the criminal sentencing of Michigan State University physician Larry Nassar.

 975.   While John Doe 64 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable during Dr. Strauss’s examinations, John

        Doe 64 did not understand or believe that Dr. Strauss had sexually abused him.

 976.   John Doe 64 reasonably believed that OSU would not have made Dr. Strauss the athletic

        team doctor and required him and other athletes to see Dr. Strauss unless Dr. Strauss’s

        examinations were legitimate.

 977.   Until learning in 2018 about OSU’s investigation into Dr. Strauss’s conduct, John Doe 64

        did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

        conduct or that other athletes had previously complained to OSU about Dr. Strauss’s abuse.

        Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—had

        harmed him.

 978.   In any event, even if, while John Doe 64 was an OSU student, he had tried to inquire further

        into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

        controlled access to that information.

 979.   In short, until learning in 2018 about Dr. Strauss’s serial sexual abuse of OSU students,

        John Doe 64 did not know, or have reason to know, that Dr. Strauss had sexually abused

        him, that OSU had known about Dr. Strauss’s serial sexual abuse, or that OSU had failed

        to take appropriate steps to stop Dr. Strauss’s abuse.

 980.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 64 would not have been abused by Dr. Strauss.

 981.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 64 has suffered

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        emotional and psychological damages. The abuse made it difficult for him to get through

        classes, which increased the pressure on him to remain eligible for his scholarship. Dr.

        Strauss’s abuse also caused him significant stress, which distracted from his athletic career.

        John Doe 64 also avoided medical professionals since graduating from OSU. In August

        2019, John Doe 64 visited a doctor for the first time since 1998. Looking back, John Doe

        64 feels betrayed by the school he loved and competed for. John Doe 64 could have

        competed at another school, but he chose to compete at OSU and encouraged friends to

        compete at OSU. He feels guilt over their potential suffering. Even more, John Doe 64 is

        upset that OSU let him down and let down the other survivors. They knew that Dr. Strauss

        was engaging in inappropriate behavior, but they did nothing to protect their students. He

        is infuriated that he had to suffer all these years because OSU failed to act.

                                          JOHN DOE 65

 982.   John Doe 65 was a student at OSU from 1996 to 2000.

 983.   While a student at OSU, John Doe 65 was examined by Dr. Strauss on one occasion in

        1996 at the OSU Student Health Center.

 984.   John Doe 65 visited the center once in 1996 and once in 1997 for separate injuries to his

        hand and to his knee. At his 1996 visit, John Doe 65 was sent to see Dr. Strauss for an X-

        ray of the injured area. John Doe 65 and Dr. Strauss were alone in the exam room.

 985.   At the X-ray appointment, Dr. Strauss told John Doe 65 to take off his clothes and put on

        a gown. He told John Doe 65 that he needed to do an exam. After John Doe 65 changed,

        Dr. Strauss grabbed his genitals in a heavy-handed grope. John Doe 65 asked Dr. Strauss

        what he was doing. Dr. Strauss looked at John Doe 65 with a blank expression and walked

        out of the room without a word.

 986.   When John Doe 65 exited the room, he mentioned to the female staff that Dr. Strauss was

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        strange. The female staff did not inquire further and instead gave him an odd look in

        response.

 987.   Dr. Strauss’s conduct during the exam made John Doe 65 very uncomfortable.

 988.   While he was a student at OSU, John Doe 65 did not know what to do about Dr. Strauss’s

        conduct. He was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss and did not believe there was any recourse for what happened

        to him.

 989.   In retrospect, John Doe 65 realizes that Dr. Strauss sexually abused and harassed him.

        However, he did not know or have reason to know this until after he learned about OSU’s

        investigation into allegations of abuse by Dr. Strauss.

 990.   In 2019, after John Doe 65 realized that Dr. Strauss had sexually abused him while he was

        an OSU student, John Doe 65 filed an online sexual misconduct report with OSU’s Title

        IX Office to report this.

 991.   While John Doe 65 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable during Dr. Strauss’s examinations, John

        Doe 65 did not understand or believe that Dr. Strauss had sexually abused him.

 992.   John Doe 65 reasonably believed that that OSU would not have made Dr. Strauss a

        university doctor unless Dr. Strauss’s examinations were legitimate.

 993.   Before learning about OSU’s 2018–19 investigation into Dr. Strauss’s conduct, John Doe

        65 did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

        conduct or that other students had previously complained to OSU about Dr. Strauss’s

        abuse. Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—

        had harmed him.

 994.   In any event, even if, while John Doe 65 was an OSU student, he had tried to inquire further

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        into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

        controlled access to that information.

 995.   If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 65 would not have been abused by Dr. Strauss.

 996.   As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 65 has suffered

        emotional and psychological damages. Since the exam, John Doe 65 has experienced

        anxiety and anger. He has suffered frequent negative thoughts and emotions relating to the

        abuse, wondering why this happened to him. He has suffered socially as well—he has been

        guarded and aloof in his personal relationships. He has lost trust in the medical community

        and sometimes feels uncomfortable around medical professionals.

                                          JOHN DOE 66

 997.   John Doe 66 was an undergraduate student at OSU from 1978 to 1982 and was a member

        of OSU’s soccer team from 1978 to 1979.

 998.   John Doe 66 saw Dr. Strauss for a thigh injury sometime during his freshman year at OSU,

        either in 1978 or 1979.

 999.   John Doe 66 met with Dr. Strauss at OSU’s Student Health Center. John Doe 66 and Dr.

        Strauss were alone in the exam room.

 1000. At the exam, Dr. Strauss put John Doe 66 on an examination table, lowered John Doe 66’s

        pants, and had John Doe 66 lift one of his legs in the air. Dr. Strauss then rubbed his hands

        up and down John Doe 66’s thighs to his groin, brushing against his genitals.

 1001. John Doe 66 was shocked by the examination and thought it was inappropriate. He avoided

        Dr. Strauss from then on.

 1002. After the exam, John Doe 66 began to avoid places on campus where he believed he might

        see Dr. Strauss. He felt as though the atmosphere on campus had become painful.

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 1003. Dr. Strauss frequently stood in the shower while John Doe 66 and his teammates washed

        off, staring at them. John Doe 66 saw Dr. Strauss fondle the genitals of two or three of his

        teammates in the shower.

 1004. On occasions when John Doe 66 and his teammates saw Dr. Strauss on campus they made

        eye contact with each other and walked in a direction away from Dr. Strauss. John Doe 66

        was afraid of Dr. Strauss but did not feel comfortable voicing his fear because Dr. Strauss

        was in a position of authority and was perceived as something of a god. He believes his

        teammates, particularly the freshmen and sophomores, shared his fear.

 1005. John Doe 66 believed that Dr. Strauss’s behavior was strange. However, he did not realize

        at the time that Dr. Strauss had sexually abused and harassed him and his teammates.

 1006. John Doe 66 was never informed or made aware of any OSU grievance procedure to

        complain about Dr. Strauss.

 1007. In retrospect, John Doe 66 realizes that Dr. Strauss sexually abused and harassed him and

        his teammates. However, he did not know or have reason to know this until 2019, when he

        learned about OSU’s investigation into allegations of abuse by Dr. Strauss.

 1008. While John Doe 66 was an OSU student, he trusted that OSU would not allow him to be

        harmed. So, even though he felt uncomfortable during Dr. Strauss’s examination, John Doe

        66 did not understand or believe that Dr. Strauss had sexually abused him.

 1009. John Doe 66 reasonably believed that OSU would not have made Dr. Strauss a university

        doctor unless Dr. Strauss’s examinations were legitimate.

 1010. Until learning in 2019 about OSU’s investigation into Dr. Strauss’s conduct, John Doe 66

        did not know, or have reason to know, of OSU’s role in Dr. Strauss’s sexually abusive

        conduct or that other athletes had previously complained to OSU about Dr. Strauss’s abuse.

        Nor did he have reason to investigate whether OSU—in addition to Dr. Strauss—had

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        harmed him.

 1011. In any event, even if, while John Doe 66 was an OSU student, he had tried to inquire further

        into OSU’s role in Dr. Strauss’s conduct, the inquiry would have been futile, as OSU

        controlled access to that information.

 1012. In short, until learning in 2019 about Dr. Strauss’s serial sexual abuse of OSU students,

        John Doe 66 did not know, or have reason to know, that Dr. Strauss had sexually abused

        him, that OSU had known about Dr. Strauss’s serial sexual abuse, or that OSU had failed

        to take appropriate steps to stop Dr. Strauss’s abuse.

 1013. If OSU had taken meaningful action to address prior reports of Dr. Strauss’s sexual abuse,

        John Doe 66 would not have been abused by Dr. Strauss.

 1014. As a result of Dr. Strauss’s abuse and OSU’s failure to prevent it, John Doe 66 has suffered

        emotional and psychological damages. John Doe 66 feels angry and betrayed by OSU

        regarding Dr. Strauss’s abuse towards him. He trusted OSU to protect him as a student, but

        instead he was made to feel powerless by a doctor that OSU had hired. He now no longer

        trusts medical professionals and feels the need to investigate a medical professional

        thoroughly before consenting to a medical appointment. John Doe 66 is also angry and hurt

        that OSU did nothing to improve its oversight in the years after his sexual abuse. He feels

        pain and anger that the abuse he suffered from Dr. Strauss also happened to other people,

        even as OSU was made aware of problems with Dr. Strauss.




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                                      CLAIMS FOR RELIEF

                                           COUNT I
                       Violation of Title IX, 20 U.S.C. § 1681(a), et seq.
         Creation of Sexually Hostile Culture/Heightened Risk of Sexual Harassment

 1015. Plaintiffs incorporate by reference the allegations in all previous paragraphs as if fully

        stated here.

 1016. Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. § 1681(a), states:

        “No person in the United States shall, on the basis of sex, be excluded from participation

        in, be denied the benefits of, or be subjected to discrimination under any education program

        or activity receiving Federal financial assistance . . . .”

 1017. Title IX is implemented through the Code of Federal Regulations. See 34 C.F.R. Part 106.

        34 C.F.R. § 106.8(b) provides: “. . . A recipient shall adopt and publish grievance

        procedures providing for prompt and equitable resolution of student and employee

        complaints alleging any action which would be prohibited by this part.”

 1018. As explained in Title IX guidance issued by the U.S. Department of Education’s Office for

        Civil Rights, sexual harassment of students is a form of sex discrimination covered by Title

        IX.

 1019. Sexual harassment is unwelcome conduct of a sexual nature, including unwelcome sexual

        advances, requests for sexual favors, and other verbal, nonverbal, or physical conduct of a

        sexual nature.

 1020. Title IX covers all persons subjected to discrimination in any program or activity of a

        school that receives any federal financial assistance, and covers sexual harassment—

        including sexual assault and sexual abuse—by school employees, students, and third

        parties.

 1021. Title IX requires OSU to promptly investigate all allegations of sexual harassment,

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        including sexual assault and abuse.

 1022. Dr. Strauss was an OSU employee whose actions were carried out as an OSU professor,

        OSU athletic team doctor, and physician at OSU.

 1023. Dr. Strauss’s sexual harassment of Plaintiffs (and others)—which included, among other

        things, fondling their testicles and penises, masturbating men to erection and ejaculation,

        drugging and anally raping them, digitally penetrating their rectums, touching their bodies

        in other inappropriate ways, making inappropriate comments about their bodies, and asking

        improper, sexualized questions—was sex discrimination under Title IX.

 1024. Dr. Strauss’s sexual harassment of Plaintiffs (and others) was rampant, occurring regularly

        on campus and sometimes at his home, for two decades.

 1025. OSU had actual knowledge of Dr. Strauss’s serial sexual harassment and permitted it to

        continue unchecked until 1996 and, even when OSU belatedly took action in 1996, it

        permitted him to remain employed through 1998, when OSU allowed Dr. Strauss to retire

        with emeritus status.

 1026. Throughout Dr. Strauss’s 20-year tenure at OSU, students, student-athletes, and coaches

        conveyed complaints and concerns to OSU administrators and employees about Dr.

        Strauss’s inappropriate conduct.

 1027. For decades, Strauss’ abuse was well known among at least fifty OSU employees in the

        athletic department. Multiple Student Health Directors also had information about Dr.

        Strauss abuse for years.

 1028. Specifically, OSU was notified about Dr. Strauss’s sexual harassment through OSU

        employees with authority to take corrective action to address it. These OSU employees

        include, but are not limited to: former Director of Student Health Services, Ted Grace,

        M.D.; former Head Team Physician/Medical Director of the OSU Sports Medicine and

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        Family Health Center Dr. John Lombardo; former Head Team Physician/Director of Sports

        Medicine Dr. Bob Murphy; former Athletic Director and Assistant University Vice

        President Andy Geiger; former Athletic Director Jim Jones; former Assistant Athletic

        Director Archie Griffin; former Athletic Director Hugh Hindman; Senior Associate

        Athletic Director Paul Krebs; former Assistant Athletic Director Larry Romanoff; former

        Associate Sports Information Director Steve Snapp; former Assistant Athletic Director

        Richard Delaney; Assistant Director of Student Athlete Support Services John Macko;

        former Co-Head Athletic Trainer Billy Hill; former Head Wrestling Coach Russ

        Hellickson; former Head Tennis Coach John Daly; former Head Track and Field Coach

        Frank Zubovich; former Head Swimming Coach Dick Sloan; former Head Wrestling

        Coach Chris Ford; former Head Gymnastics Coach Peter Kormann; and former Head

        Fencing Coach Charlotte Remenyik.

 1029. Many coaches at OSU had enormous power and responsibility. For example, when asked

        in 2011 whether he would dismiss then-football coach Jim Tressel (for conduct unrelated

        to Dr. Strauss’s abuse), the OSU president replied: "No, are you kidding? Let me just be

        very clear: I'm just hopeful the coach doesn't dismiss me.”47

 1030. OSU’s knowledge of Dr. Strauss’s sexual abuse is indisputable.

 1031. Both the Perkins Coie Report and the Working Group on Reviewing the Medical Board’s

        Handling of the Investigation Involving Richard Strauss concluded that for years, starting

        in Dr. Strauss’s first year of employment at OSU, OSU personnel—including Dr. Strauss’s

        supervisors in Student Health and the Athletic Department—had knowledge of Dr.

        Strauss’s sexual abuse of male students, based on reports made by students and OSU


 47
    Gee: No Tressel dismissal, The Columbus Dispatch (Mar. 8, 2011),
 https://www.youtube.com/watch?v=dCutRJvTK6c.

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        employees.

 1032. OSU was required to promptly investigate and address Plaintiffs’ (and others) allegations,

        reports and/or complaints of unwelcome, inappropriate touching and comments by Dr.

        Strauss, but OSU did not do so.

 1033. After Snyder-Hill notified former Director of Student Health Services, Dr. Ted Grace,

        about Dr. Strauss’s sexual abuse, Dr. Grace assured Snyder-Hill that OSU would document

        and retain any future complaints about Dr. Strauss. But OSU’s personnel file on Dr. Strauss

        does not even mention Snyder-Hill’s complaint.

 1034. Despite years of complaints, OSU did not take any steps to stop Dr. Strauss from treating—

        and abusing—students until January 1996. At that point, OSU belatedly placed Dr. Strauss

        on administrative leave and launched an investigation—though the investigation did not

        include the history of complaints about Strauss in Athletics. OSU held a hearing in June

        1996, without notifying the student complainants or permitting them to participate.

 1035. Even after OSU’s Athletics Department decided to terminate Dr. Strauss’s employment

        and Student Health Services decided not renew his appointment, OSU permitted Dr.

        Strauss’s faculty appointment as a tenured professor to continue, permitted him to retire,

        and granted him emeritus status when he retired. OSU also permitted Dr. Strauss to open

        an off-campus men’s clinic while he was on administrative leave and under investigation

        and to advertise for patients in the school newspaper.

 1036. OSU created and was deliberately indifferent to a sexually hostile culture within its

        education programs and activities, by, among other things:

               a.      Mishandling students’ reports about Dr. Strauss’s conduct and/or

                       discouraging students from reporting Dr. Strauss’s conduct;

               b.      Failing to promptly and appropriately investigate, remedy, and respond to

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                   complaints about Dr. Strauss’s conduct;

             c.    Promoting Dr. Strauss and increasing his access to OSU students, despite

                   students’ complaints about Dr. Strauss’s conduct;

             d.    Failing to adequately supervise Dr. Strauss, after learning that he posed a

                   substantial risk to the safety of male students and student-athletes;

             e.    Failing to take prompt and appropriate corrective action to prevent Dr.

                   Strauss from sexually harassing other students;

             f.    Requiring student-athletes to see Dr. Strauss for annual physicals and

                   medical treatment in order to participate in university sports and maintain

                   their athletic scholarships—even after student-athletes complained to

                   athletic directors, coaches, and trainers about the ways Dr. Strauss touched

                   them during medical examinations.

             g.    Threatening male athletes’ participation in OSU sports if they refused to get

                   physicals and/or medical treatment from Dr. Strauss;

             h.    Joking about Dr. Strauss’s conduct with student-athletes;

             i.    Permitting Dr. Strauss to ogle male student-athletes at Larkins Hall while

                   they showered;

             j.    Permitting Dr. Strauss to shower with student-athletes for hours at a time,

                   several times a day;

             k.    Falsely representing to at least one student who reported sexual harassment

                   by Dr. Strauss that there had been no prior complaints about Dr. Strauss and

                   that Student Health had only received positive comments about Dr. Strauss;

             l.    Permitting a toxic, sexualized culture to thrive at Larkins Hall, where a

                   cohort of older male “voyeurs” gathered to gawk at male student-athletes

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                   and masturbate while watching them shower.

             m.    Conducting a cabined investigation into Dr. Strauss’s abuse in 1996 that did

                   not include determining the scope of his abuse and did not include

                   examining his treatment of athletes;

             n.    Failing to notify those who complained about Dr. Strauss’s conduct about

                   the June 1996 disciplinary hearing and not permitting the complainants an

                   opportunity to testify at that hearing;

             o.    Covering up the scope of the abuse of Dr. Strauss by, on information and

                   belief, not telling anyone outside OSU that its investigation led OSU to

                   terminate Dr. Strauss’s employment with the Athletics Department, thereby

                   concealing from complainants and those who were victimized by Dr.

                   Strauss the truth about Dr. Strauss’s abuse and OSU’s indifference for over

                   two decades;

             p.    Covering up and concealing the scope of the abuse of Dr. Strauss by, on

                   information and belief, destroying the health records of those who Dr.

                   Strauss examined, even destroying documents after OSU launched an

                   investigation into Dr. Strauss’s abuse;

             q.    Allowing Dr. Strauss to continue his employment as a tenured professor

                   after OSU suspending him from seeing students at Student Health and in

                   Athletics and granting him the honorific of emeritus status when he retired;

             r.    Allowing Dr. Strauss continued access to students by approving his off-

                   campus men’s clinic and allowing him to advertise in the student

                   newspaper;

             s.    Failing to notify the Medical Board of Ohio about Dr. Strauss’s abuse; and

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                t.      Failing to notify law enforcement about Dr. Strauss’s abuse.


 1037. OSU’s creation of and deliberate indifference to the sexually hostile culture within its

        education programs and activities substantially increased the risk that Plaintiffs and others

        would be sexually harassed and abused.

 1038. The sexual harassment and abuse that Plaintiffs suffered was so severe, pervasive and

        objectively offensive that it effectively barred their access to educational opportunities and

        benefits, including a safe educational environment and appropriate medical care.

 1039. As a direct and proximate result of OSU’s creation of and deliberate indifference to a

        sexually hostile educational environment, which violated Title IX, Plaintiffs have suffered

        and continue to suffer damages and injuries.

                                            COUNT II
                        Violation of Title IX, 20 U.S.C. § 1681(a), et seq.
                       Deliberate Indifference to Prior Sexual Harassment

 1040. Plaintiffs incorporate by reference the allegations in all previous paragraphs as if fully

        stated here.

 1041. Before Dr. Strauss sexually harassed or abused most, if not all, of the Plaintiffs, OSU had

        actual knowledge of Dr. Strauss’s prior sexual harassment and abuse of male students at

        OSU.

 1042. “University personnel had knowledge of Strauss’ sexual abusive treatment of male student-

        patients as early as 1979,” within Dr. Strauss’s first year at OSU. Report at 1. “As early as

        1979, personnel in the University’s Sports Medicine program and Athletics Department

        were aware that Strauss was conducting genital examinations on male athletes that were

        unusually prolonged, and that Strauss refused to allow athletic training staff to be present.”

        Id. at 2.



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 1043. Strauss’s inappropriate sexual behavior was “broadly witnessed and discussed in the

        Athletics Department”; “[m]ore than 50 individuals who were members of the OSU

        Athletics Department staff” knew about Dr. Strauss’s inappropriate sexual conduct. Id. at

        88 (emphasis added). “[B]eing examined by Strauss was akin to being ‘hazed’ or was a

        ‘rite of passage.’” Id.

 1044. Between 1978 and 1996, numerous student-athletes complained to OSU administrators and

        staff about Dr. Strauss’s inappropriate conduct.

 1045. Based on Dr. Strauss’s prior conduct, OSU had actual knowledge of the substantial risk

        that Dr. Strauss would sexually harass other male students at OSU.

 1046. OSU officials, with the knowledge described above, had the authority to address the risk

        posed by Dr. Strauss, and had the authority to take corrective measures by, among other

        things, closely supervising Dr. Strauss, not allowing him to examine to examine students

        without another medical professional present, not allowing him to shower with student-

        athletes, or terminating his employment.

 1047. OSU’s failure to address the substantial risk posed by Dr. Strauss, given prior complaints

        and reports about his inappropriate conduct, was clearly unreasonable in light of the known

        circumstances.

 1048. By its acts and omissions, OSU was deliberately indifferent to the substantial risk that Dr.

        Strauss would sexually harass other male students at OSU.

 1049. As a result of OSU’s deliberate indifference, Plaintiffs were subjected to severe sexual

        harassment by Dr. Strauss, including sexual assault in the guise of medical care.

 1050. The sexual harassment that Plaintiffs suffered was so severe, pervasive, and objectively

        offensive that it deprived Plaintiffs of access to educational opportunities and benefits,

        including a safe educational environment and appropriate medical care.

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 1051. As a direct and proximate result of OSU’s deliberate indifference to Dr. Strauss’s prior

        sexual harassment of male students at OSU, which violated Title IX, Plaintiffs have

        suffered and continue to suffer damages and injuries.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that this Court:

               (a)    Enter judgment in favor of Plaintiffs on their discrimination claims under

                      Title IX;

               (b)    Enter judgment against Defendant The Ohio State University;

               (c)    Declare Defendant The Ohio State University’s conduct in violation of Title

                      IX of the Education Amendments of 1972;

               (d)    Award Plaintiffs compensatory damages in amounts to be established at

                      trial, including, without limitation, payment of Plaintiffs’ medical and other

                      expenses incurred as a consequence of the sexual abuse and/or harassment

                      and The Ohio State University’s deliberate indifference; damages for

                      deprivation of equal access to the educational opportunities and benefits

                      provided by The Ohio State University; and damages for past, present and

                      future emotional pain and suffering, ongoing mental anguish, loss of past,

                      present and future enjoyment of life, and loss of future earnings and earning

                      capacity;

               (e)    Award Plaintiffs pre-judgment and post-judgment interest;

               (f)    Award Plaintiffs their court costs and expenses, including attorneys’ fees,

                      pursuant to 42 U.S.C. § 1988(b); and

               (g)    Grant such other relief as this Court deems just and proper.




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                                        JURY DEMAND

       Plaintiffs demand a trial by jury on all issues in this Complaint.

 Date: November 7, 2019

                                                 Respectfully submitted,

                                                 By:   /s/ Scott E. Smith
                                                 SCOTT E. SMITH (0003749)
                                                 BRIAN R. NOETHLICH (0086933)
                                                 Scott Elliot Smith, LPA
                                                 5003 Horizons Drive, Suite 100
                                                 Columbus, Ohio 43220
                                                 Phone: 614.846.1700
                                                 Fax: 614.486.4987
                                                 E-Mail: ses@sestriallaw.com
                                                 E-Mail: brn@sestriallaw.com

                                                 Ilann M. Maazel (pro hac vice admission
                                                 pending)
                                                 Debra L. Greenberger (pro hac vice admission
                                                 pending)
                                                 Marissa R. Benavides (pro hac vice admission
                                                 pending)
                                                 600 Fifth Avenue
                                                 New York, New York 10020
                                                 Phone: (212) 763-5000
                                                 Fax: (212) 763-5001
                                                 E-Mail: imaazel@ecbalaw.com
                                                 E-Mail: dgreenberger@ecbalaw.com
                                                 E-Mail: mbenavides@ecbalaw.com

                                                 Adele P. Kimmel (pro hac vice admission
                                                 pending)
                                                 Alexandra Z. Brodsky (pro hac vice admission
                                                 pending)
                                                 PUBLIC JUSTICE, P.C.
                                                 1620 L Street, NW, Suite 630
                                                 Washington, DC 20036
                                                 Phone: (202) 797-8600
                                                 Fax: (202) 232-7203
                                                 E-mail: akimmel@publicjustice.net
                                                 E-mail: abrodsky@publicjustice.net
                                                 Attorneys for Plaintiffs
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